Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 1 of 178




                         EXHIBIT C
     Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 2 of 178

                                                                                                           36086772



                                    UNITED STATES DISTRICT COURT                                       Feb 22 2011
                                    EASTERN DISTRICT OF LOUISIANA                                       10:55PM



In re: Oil Spill by the Oil Rig “Deepwater
                                      :                              MDL No. 2179
       Horizon” in the Gulf of Mexico, on
                                      :
       April 20, 2010                 :                              SECTION: J
                                      :
This Document Relates To: All Actions :                              JUDGE BARBIER
                                                                     MAGISTRATE JUDGE SHUSHAN
                                      :
…………………………………………………... :

              BP P.L.C.’S RESPONSES AND OBJECTIONS TO DEFENDANT
          ANADARKO PETROLEUM CORPORATION’S INTERROGATORIES AND
                   REQUESTS FOR PRODUCTION OF DOCUMENTS

           Defendant BP p.l.c., by its undersigned Counsel, and, pursuant to Rules 26, 33, and 34 of

the Federal Rules of Civil Procedure, hereby submits the following responses and objections to

Anadarko’s Interrogatories and Requests for Production.

                                SPECIFIC RESPONSES AND OBJECTIONS

           BP p.l.c. responds as follows to Anadarko’s specific interrogatories and requests for

production, subject to and without waiving its general objections, each and every one of which

are specifically incorporated into each individual response below.1


INTERROGATORY NO. 1:

        Please IDENTIFY each PERSON to whom YOUR EMPLOYEES communicated or
sent COMMUNICATIONS or from whom they received COMMUNICATIONS, on or
before April 20, 2010, that any of the alarm systems on the DEEP WATER HORIZON were
inhibited or bypassed, IDENTIFY all other PERSONS involved in the COMMUNICATION
and DESCRIBE in detail the substance of each such COMMUNICATION and any response
to or result from such COMMUNICATION.

RESPONSE TO INTERROGATORY NO. 1:

           BP p.l.c. asserts its general objections.




1
    BP p.l.c.’s general objections are set forth at pages 15 - 27.
  Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 3 of 178




INTERROGATORY NO. 2:

       Please IDENTIFY each PERSON with whom YOUR EMPLOYEES communicated,
on or before April 20, 2010, REGARDING the functionality of each system on the DEEP
WATER HORIZON’S BOP and marine riser, including but not limited to the battery packs,
solenoid valves and coils, yellow and blue control pods, shear rams, bore rams, test rams,
choke/kill lines and valves, and annular preventers; IDENTIFY all other PERSONS
involved in those COMMUNICATIONS; and DESCRIBE in detail the substance of each
COMMUNICATION.

RESPONSE TO INTERROGATORY NO. 2:

       BP p.l.c. asserts its general objections.


INTERROGATORY NO. 3:

        Excluding the MACONDO WELL, please IDENTIFY and DESCRIBE in detail
(including, but not limited to, the name and location of the well, the date, and the
IDENTITY of YOUR well site leader and well team leader for each well identified) any and
all instances in YOUR drilling of DEEPWATER WELLS in the last 10 years in which YOU
directed YOUR cement contractor to proceed with a cement job when Opticem or similar
modeling showed the well would have a severe gas flow problem.

RESPONSE TO INTERROGATORY NO. 3:

       BP p.l.c. asserts its general objections.


INTERROGATORY NO. 4:

       Excluding the MACONDO WELL, please IDENTIFY and DESCRIBE in detail each
instance in the last 10 years in which an Opticem or similar modeling report indicated that,
with the number of centralizers YOU chose to use (and actually did use) in a well, there was
a severe gas flow problem, including but not limited to, the name and location of the well,
the date, the names of YOUR well site leader and well team leader for each well identified,
the number of centralizers used and the gas flow potential indicated by modeling.

RESPONSE TO INTERROGATORY NO. 4:

       BP p.l.c. asserts its general objections.


INTERROGATORY NO. 5:

       Excluding the MACONDO WELL, please IDENTIFY and DESCRIBE in detail
(including the name and location of the well, the date, and the IDENTITY of YOUR well

                                                   2
  Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 4 of 178




site leader and well team leader for each well identified) any and all instances in YOUR
drilling of DEEPWATER WELLS or use of MODUs in the last 10 years in which YOU had
no onshore real-time monitoring process to assess what was happening in the well on a
continuing basis.

RESPONSE TO INTERROGATORY NO. 5:

       BP p.l.c. asserts its general objections.


INTERROGATORY NO. 6:

        Excluding the MACONDO WELL, please IDENTIFY and DESCRIBE in detail
(including the name and location of the well, the date, and the IDENTITY of YOUR well
site leader and well team leader) any and all instances in YOUR drilling of DEEPWATER
WELLS or use of MODUs in the last 10 years in which YOU changed YOUR well site
leader within one week of the commencement of temporary abandonment procedures.

RESPONSE TO INTERROGATORY NO. 6:

       BP p.l.c. asserts its general objections.


INTERROGATORY NO. 7:

        Excluding the MACONDO WELL, please IDENTIFY and DESCRIBE in detail
(including the name and location of the well, the date, and the IDENTITY of YOUR well
site leader and well team leader) any and all instances in YOUR drilling of DEEPWATER
WELLS or use of MODUs in the last 10 years in which YOU failed to keep track of fluid
losses or gains in the well and the riser (including via monitoring of pit levels or of fluids
being pumped into the well and flowing out of the well).

RESPONSE TO INTERROGATORY NO. 7:

       BP p.l.c. asserts its general objections.


INTERROGATORY NO. 8:

        Excluding the MACONDO WELL, please IDENTIFY and DESCRIBE in detail
(including the name and location of the well, the date, and the IDENTITY of YOUR well
site leader and well team leader) any and all instances in YOUR drilling of DEEPWATER
WELLS or use of MODUs in the last 10 years in which YOU chose to use a long string in
lieu of a liner in a deep high-pressure well being installed in formations exhibiting different
pore pressures in the open-hole interval.



                                                   3
  Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 5 of 178




RESPONSE TO INTERROGATORY NO. 8:

      BP p.l.c. asserts its general objections.


INTERROGATORY NO. 9:

        Excluding the MACONDO WELL, please IDENTIFY and DESCRIBE in detail
(including the name and location of the well, the date, and the IDENTITY of YOUR well
site leader and well team leader) any and all instances in YOUR drilling of DEEPWATER
WELLS or use of MODUs in the last 10 years in which YOU did not conduct a full
bottoms-up circulation of drilling mud prior to cementing.

RESPONSE TO INTERROGATORY NO. 9:

      BP p.l.c. asserts its general objections.


INTERROGATORY NO. 10:

        Excluding the MACONDO WELL, please IDENTIFY and DESCRIBE in detail
(including the name and location of the well, the date, and the IDENTITY of YOUR well
site leader and well team leader) any and all instances in YOUR drilling of DEEPWATER
WELLS or use of MODUs in the last 10 years in which YOU used a pressure greater than
2000 psi to establish sufficient circulation to convert the float collar in preparation for
cementing.

RESPONSE TO INTERROGATORY NO. 10:

      BP p.l.c. asserts its general objections.


INTERROGATORY NO. 11:

        Excluding the MACONDO WELL, please IDENTIFY and DESCRIBE in detail 14
(including the name and location of the well, the date, and the IDENTITY of YOUR well
site leader and well team leader) any and all instances in YOUR drilling of DEEPWATER
WELLS or use of MODUs in the last 10 years in which YOU had to attempt more than five
(5) times to convert the float collar before it was declared converted prior to cementing.

RESPONSE TO INTERROGATORY NO. 11:

      BP p.l.c. asserts its general objections.




                                                  4
  Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 6 of 178




INTERROGATORY NO. 12:

       Excluding the MACONDO WELL, please IDENTIFY and DESCRIBE in detail any
and all instances in YOUR drilling of DEEPWATER WELLS or use of MODUs in the last
10 years in which YOU used nitrogen foamed cement, including the name and location of
the well, the date, the IDENTITY of YOUR well site leader and well team leader for each
well identified, and the length of time YOU permitted the cement to set prior to a negative
pressure test.

RESPONSE TO INTERROGATORY NO. 12:

       BP p.l.c. asserts its general objections.


INTERROGATORY NO. 13:

        Excluding the MACONDO WELL, please IDENTIFY and DESCRIBE in detail
(including the name and location of the well, the date, and the IDENTITY of YOUR well
site leader and well team leader for each well identified) any and all instances of drilling of
DEEPWATER WELLS or use of MODUs in the last 10 years in which YOU performed a
temporary abandonment procedure that differed from the one YOU actually submitted to,
and that was approved by, the US Minerals Management Service (MMS) or Bureau of
Ocean Energy Management (BOEM).

RESPONSE TO INTERROGATORY NO. 13:

       BP p.l.c. asserts its general objections.


INTERROGATORY NO. 14:

       Please IDENTIFY and DESCRIBE in detail every instance in which a temporary
abandonment procedure substantially like that performed on the MACONDO WELL
(including displacement to more than 2000’ below mud level before negative testing) on or
about April 19-20, 2010 was performed by YOU on any other DEEPWATER WELL,
including in YOUR response the name and location of the well, the date(s) the temporary
abandonment procedure was performed on such well, and the names of the well site leader
and well team leader for each such well identified.

RESPONSE TO INTERROGATORY NO. 14:

       BP p.l.c. asserts its general objections.




                                                   5
  Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 7 of 178




INTERROGATORY NO. 15:

     Please STATE whether, in YOUR view, the blind shear ram of the DEEP WATER
HORIZON BLOWOUT PREVENTER failed to operate properly during the INCIDENT and
DESCRIBE in detail the basis of YOUR answer.

RESPONSE TO INTERROGATORY NO. 15:

       BP p.l.c. asserts its general objections.


INTERROGATORY NO. 16:

      Please STATE the density of the base oil spacer fluid used during the MACONDO
WELL cement job performed on April 19 - 20, 2010; whether it was the correct density to
prevent inversion, and whether contamination occurred, and DESCRIBE in detail the basis
of YOUR answer.

RESPONSE TO INTERROGATORY NO. 16:

       BP p.l.c. asserts its general objections.


INTERROGATORY NO. 17:

       Please DESCRIBE in detail why YOUR EMPLOYEES decided not to spot heavy
mud (16.5 ppg or higher) in the rat hole prior to the MACONDO WELL cement job
performed on April 19-20, 2010, the data upon which they based that decision, and any
other basis for their decision, and IDENTIFY each PERSON who made or was involved in
that decision.

RESPONSE TO INTERROGATORY NO. 17:

       BP p.l.c. asserts its general objections.


INTERROGATORY NO. 18:

        Excluding the MACONDO WELL, please IDENTIFY and DESCRIBE in detail
(including the name and location of the well, the date, and the IDENTITY of YOUR well
site leader and well team leader for each well identified) any and all instances in YOUR
drilling of DEEPWATER WELLS or use of MODUs in the last 10 years in which YOU
have not spotted heavy mud (16.5 ppg or higher) in the rat hole prior to performing a cement
job on a final casing string.




                                                   6
  Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 8 of 178




RESPONSE TO INTERROGATORY NO. 18:

       BP p.l.c. asserts its general objections.


INTERROGATORY NO. 19:

        Please STATE whether the float collar was converted prior to the start of the
MACONDO WELL cement job that was performed on April 19 - 20, 2010 and DESCRIBE
in detail the reasons and basis for whatever action was taken or not taken in this respect.

RESPONSE TO INTERROGATORY NO. 19:

       BP p.l.c. asserts its general objections.


INTERROGATORY NO. 20:

        Please STATE whether, following the ninth attempt to convert the float collar, the
circulating pressure of the MACONDO WELL was lower than expected, including in
YOUR response the expected range of circulating pressure after conversion of the float
collar and the actual circulating pressure that was obtained.

RESPONSE TO INTERROGATORY NO. 20:

       BP p.l.c. asserts its general objections.


INTERROGATORY NO. 21:

       Please STATE whether the annular preventer did or did not seal around the drill pipe,
and whether the annular preventer allowed spacer to leak down below the annular preventer
during the first negative pressure test of April 20, 2010, and DESCRIBE in detail the basis
of YOUR answer.

RESPONSE TO INTERROGATORY NO. 21:

       BP p.l.c. asserts its general objections.


INTERROGATORY NO. 22:

       IDENTIFY which of YOUR EMPLOYEES communicated or transmitted your audit
report to TRANSOCEAN, on what date, and DESCRIBE in detail what TRANSOCEAN
did in response to that report, including what maintenance it performed, and any follow up
YOU requested.


                                                   7
  Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 9 of 178




RESPONSE TO INTERROGATORY NO. 22:

      BP p.l.c. asserts its general objections.


INTERROGATORY NO. 23:

       Please DESCRIBE all systems, procedures, or protocols in place so that BP would be
notified or otherwise made aware of any maintenance on, modifications to, or malfunctions
with any part of the DEEP WATER HORIZON or the BOP.

RESPONSE TO INTERROGATORY NO. 23:

      BP p.l.c. asserts its general objections.


INTERROGATORY NO. 24:

       Please DESCRIBE all information and instructions provided to Mr. Kaluza regarding
the role, purpose of, scope, and nature of his assignment on the DEEP WATER HORIZON,
who provided such information or instructions, and when such information or instructions
were provided.

RESPONSE TO INTERROGATORY NO. 24:

      BP p.l.c. asserts its general objections.


INTERROGATORY NO. 25:

       Please IDENTIFY any internal reorganizations that occurred within BP in 2009 or
2010 that involved personnel responsible for any activities RELATING TO the MACONDO
WELL or the DEEP WATER HORIZON. For each reorganization, please IDENTIFY the
reason for the reorganization and whose positions, titles, or job responsibilities were
changed and how they were changed, including any changes in the supervisor or person to
whom the individual reported.

RESPONSE TO INTERROGATORY NO. 25:

      BP p.l.c. asserts its general objections.




                                                  8
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 10 of 178




                  REQUEST FOR PRODUCTION OF DOCUMENTS

REQUEST FOR PRODUCTION NO. 1:

       With regard to activities involving the DEEPWATER HORIZON and the
MACONDO WELL, please produce all DOCUMENTS and COMMUNICATIONS
REGARDING, referencing or RELATING TO all participation, contribution, comment,
input, planning, evaluation and roles YOU played in the design and utilization of
approximately 400 barrels of lost circulation material spacer fluid “pills” as spacer during
the MACONDO WELL activities of April 19 - 20, 2010.

RESPONSE TO REQUEST FOR PRODUCTION NO. 1:

       BP p.l.c. asserts its general objections.


REQUEST FOR PRODUCTION NO. 2:

       Please produce any DOCUMENTS RELATING TO the DEEPWATER HORIZON or
the MACONDO WELL which were considered by YOU for transmission to but were not in
fact sent to the MMS or another GOVERNMENT agency between September 2009 and
April 20, 2010.

RESPONSE TO REQUEST FOR PRODUCTION NO. 2:

       BP p.l.c. asserts its general objections.


REQUEST FOR PRODUCTION NO. 3:

       Please produce any test conducted on the casing for the MACONDO WELL that was
not sent to the MMS or another GOVERNMENT agency.

RESPONSE TO REQUEST FOR PRODUCTION NO. 3:

       BP p.l.c. asserts its general objections.


REQUEST FOR PRODUCTION NO. 4:

       Please produce Mr. Robert Kaluza’s telephone records for April 20 and 21, 2010.

RESPONSE TO REQUEST FOR PRODUCTION NO. 4:

       BP p.l.c. asserts its general objections.




                                                   9
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 11 of 178




REQUEST FOR PRODUCTION NO. 5:

       Please produce Mr. Donald Vidrine’s telephone records for April 20 and 21, 2010.

RESPONSE TO REQUEST FOR PRODUCTION NO. 5:

       BP p.l.c. asserts its general objections.


REQUEST FOR PRODUCTION NO. 6:

      Please produce records of all telephone calls YOU received from anyone on board
the DEEP WATER HORIZON on April 20, 2010.

RESPONSE TO REQUEST FOR PRODUCTION NO. 6:

       BP p.l.c. asserts its general objections.


REQUEST FOR PRODUCTION NO. 7:

       Please produce all DOCUMENTS YOU prepared following the MACONDO WELL
control event of March 8, 2010 to acknowledge or address the response time recorded
during that event.

RESPONSE TO REQUEST FOR PRODUCTION NO. 7:

       BP p.l.c. asserts its general objections.


REQUEST FOR PRODUCTION NO. 8:

     Please produce all DOCUMENTS reviewed by YOU in connection with preparation
of YOUR responses to each of the Interrogatories set forth above.

RESPONSE TO REQUEST FOR PRODUCTION NO. 8:

       BP p.l.c. asserts its general objections.


REQUEST FOR PRODUCTION NO. 9:

       Please produce any and all diagrams or depictions of the well and/or drilling process
of the well that YOU used during the Marine Board of Investigation hearings.

RESPONSE TO REQUEST FOR PRODUCTION NO. 9:

       BP p.l.c. asserts its general objections.

                                               10
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 12 of 178




REQUEST FOR PRODUCTION NO. 10:

        Please produce a diagram of the mud pit layout on the DEEP WATER HORIZON,
indicating the location of the active and reserve pits.

RESPONSE TO REQUEST FOR PRODUCTION NO. 10:

      BP p.l.c. asserts its general objections.


REQUEST FOR PRODUCTION NO. 11:

      Please produce YOUR policies and procedures REGARDING use of the diverter
system on the DEEP WATER HORIZON and on YOUR other owned, contracted, or leased
deepwater drilling rigs.

RESPONSE TO REQUEST FOR PRODUCTION NO. 11:

      BP p.l.c. asserts its general objections.


REQUEST FOR PRODUCTION NO. 12:

       Please produce YOUR policies and procedures for the use of the annular preventer
during well control events on the DEEP WATER HORIZON and on YOUR other owned,
contracted, or leased deepwater drilling rigs.

RESPONSE TO REQUEST FOR PRODUCTION NO. 12:

      BP p.l.c. asserts its general objections.


REQUEST FOR PRODUCTION NO. 13:

      Please produce a copy of the flow diagram of the DEEP WATER HORIZON surface
mud system.

RESPONSE TO REQUEST FOR PRODUCTION NO. 13:

      BP p.l.c. asserts its general objections.


REQUEST FOR PRODUCTION NO. 14:

        Please produce all post-INCIDENT pictures, video recordings, X-rays, audio
recordings, samples, measurements and/or testing results of or for the DEEP WATER
HORIZON rig or any of its equipment or components, including but not limited to the riser,
drill pipe and BOP used in connection with the MACONDO WELL.
                                              11
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 13 of 178




RESPONSE TO REQUEST FOR PRODUCTION NO. 14:

       BP p.l.c. asserts its general objections.


REQUEST FOR PRODUCTION NO. 15:

       Please produce all post-INCIDENT pictures, video recordings, X-Rays, audio
recordings, samples, measurements and/or testing results of or for the MACONDO WELL
or any equipment or component used in connection with the MACONDO WELL, including
but not limited to the casing and casing hanger seal assembly.

RESPONSE TO REQUEST FOR PRODUCTION NO. 15:

       BP p.l.c. asserts its general objections.


REQUEST FOR PRODUCTION NO. 16:

      Please produce all raw data, in native format, that was input to produce the final, and
any earlier iteration, of the OLGA gas flow model discussed in BP’s September 8, 2010
Accident Investigation Report.

RESPONSE TO REQUEST FOR PRODUCTION NO. 16:

       BP p.l.c. asserts its general objections.


REQUEST FOR PRODUCTION NO. 17:

       Please produce all drafts or other iterations of the OLGA gas flow model produced in
connection with the investigation that culminated in BP’s September 8, 2010 Accident
Investigation Report.

RESPONSE TO REQUEST FOR PRODUCTION NO. 17:

       BP p.l.c. asserts its general objections.


REQUEST FOR PRODUCTION NO. 18:

       Please produce all DOCUMENTS, data, notes, tests, modeling studies or other
information, including but not limited to drafts of same, reviewed in connection with the
investigation conducted by BP that culminated in the September 8, 2010 Accident
Investigation Report.




                                               12
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 14 of 178




RESPONSE TO REQUEST FOR PRODUCTION NO. 18:

      BP p.l.c. asserts its general objections.


REQUEST FOR PRODUCTION NO. 19:

        Please produce all tests, data, models, measurements, results, logs,
COMMUNICATIONS, DOCUMENTS, or work, RELATED TO or done for YOU by CSI
since April 20, 2010, REGARDING the MACONDO WELL, including but not limited to
tests at actual measured bottom hole temperatures, tests on slurry strength, and numerical
models to estimate a bottom hole circulating temperature.

RESPONSE TO REQUEST FOR PRODUCTION NO. 19:

      BP p.l.c. asserts its general objections.


REQUEST FOR PRODUCTION NO. 20:

       Please produce all tests, data, models, measurements, results, logs,
COMMUNICATIONS, DOCUMENTS, or work, RELATED TO or done for YOU since
April 20, 2010, REGARDING the MACONDO WELL, including but not limited to “Well
Cat” numerical model estimations or runs of bottom hole circulating temperature.

RESPONSE TO REQUEST FOR PRODUCTION NO. 20:

      BP p.l.c. asserts its general objections.


REQUEST FOR PRODUCTION NO. 21:

    Please produce all DOCUMENTS RELATING TO the potential use of the DEEP
WATER HORIZON in connection with activities on the Nile or Kaskida wells.

RESPONSE TO REQUEST FOR PRODUCTION NO. 21:

      BP p.l.c. asserts its general objections.


REQUEST FOR PRODUCTION NO. 22:

       Please produce all COMMUNICATIONS CONCERNING the Kaskida or Nile wells
during April 2010.




                                              13
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 15 of 178




RESPONSE TO REQUEST FOR PRODUCTION NO. 22:

      BP p.l.c. asserts its general objections.


REQUEST FOR PRODUCTION NO. 23:

        Please produce all DOCUMENTS RELATING TO the type, shipment, delivery
and/or return of the centralizers ordered from WEATHERFORD for the MACONDO
WELL in April 2010, and to YOUR decision REGARDING return of these centralizers or
their use on rigs other than DEEP WATER HORIZON.

RESPONSE TO REQUEST FOR PRODUCTION NO. 23:

      BP p.l.c. asserts its general objections.


REQUEST FOR PRODUCTION NO. 24:

       Please produce all DOCUMENTS RELATING TO the use or potential use of Form-
aSet, Form-a-Squeeze, or any combination of the two, as a spacer in any well, including
DOCUMENTS discussing any benefits or risks associated with such use.

RESPONSE TO REQUEST FOR PRODUCTION NO. 24:

      BP p.l.c. asserts its general objections.


REQUEST FOR PRODUCTION NO. 25:

       Please produce all DOCUMENTS RELATING TO the required method of disposal
of unused Form-a-Set or Form-A-Squeeze material.

RESPONSE TO REQUEST FOR PRODUCTION NO. 25:

      BP p.l.c. asserts its general objections.


REQUEST FOR PRODUCTION NO. 26:

       Please produce all DOCUMENTS, COMMUNICATIONS or directions
REGARDING the use of the mud-gas separator on any rig operated by YOU in the event of
gas flow from a well.

RESPONSE TO REQUEST FOR PRODUCTION NO. 26:

      BP p.l.c. asserts its general objections.

                                              14
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 16 of 178




REQUEST FOR PRODUCTION NO. 27:

       Please produce all DOCUMENTS or COMMUNICATIONS RELATING TO the
potential for cement contamination in the MACONDO WELL.

RESPONSE TO REQUEST FOR PRODUCTION NO. 27:

       BP p.l.c. asserts its general objections.


REQUEST FOR PRODUCTION NO. 28:

       Please produce all DOCUMENTS RELATING TO THE COMMUNICATIONS
referenced in Interrogatory Nos. 1 and 2.

RESPONSE TO REQUEST FOR PRODUCTION NO. 28:

       BP p.l.c. asserts its general objections.


                                  GENERAL OBJECTIONS

       BP p.l.c. asserts the following objections to each and every one of Anadarko’s

interrogatories and requests for production including any definitions or instructions associated

therewith (collectively, “Anadarko’s Discovery Requests”).       These general objections are

incorporated by reference into each specific response set forth by BP p.l.c. and are neither

waived nor limited by any specific responses.

       1.     Defendant BP p.l.c. objects to all of Anadarko’s requests.         BP p.l.c. is a

corporation organized under the laws of England and Wales, which is publicly traded with its

headquarters in London, England.      BP p.l.c. did not own the MC 252 leasehold, had no

employees on the Deepwater Horizon, and was not a party to the drilling rig contract with

Transocean. BP p.l.c. does not directly conduct exploration and production activities and was

not directly involved in the events involving the Macondo Well or the incident. Accordingly, to

the best of its knowledge, with regard to almost all of Anadarko’s Discovery Requests, BP p.l.c.

does not have any meaningful set of information or documents responsive to plaintiffs’ requests

                                                15
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 17 of 178




not derivative and duplicative of that of BPA, BPAP, and/or BPXP, and BP p.l.c. directs

plaintiffs to the responses provided by those defendants.

       2.      BP p.l.c. objects to Anadarko’s Discovery Requests to the extent they call for

information, seek discovery, or attempt to impose any obligations beyond that permitted or

authorized by the Federal Rules of Civil Procedure or the Rules and Orders of this Court.

       3.      BP p.l.c. objects to Anadarko’s Discovery Requests to the extent they call for the

production of ESI in any manner other than required under Federal Rule of Civil Procedure 34,

the Rules and Orders of the Court, and ongoing negotiations and discussions among counsel.

       4.      BP p.l.c. objects to Anadarko’s Discovery Requests to the extent they seek

information or documents protected by the attorney-client privilege, the work-product doctrine,

the joint defense or common interest privilege, or any other applicable privilege, exemption, or

immunity. BP p.l.c. will identify specific documents withheld on these grounds in accordance

with the schedule set forth in, and provide the information required by, the Court’s Pretrial Order

#14, and such further Orders of the Court and ongoing negotiations and discussions among

counsel. BP p.l.c. incorporates its forthcoming privilege logs and all related information into this

general objection to the extent necessary to preserve against any waiver of any applicable

privilege or immunity from discovery.

       5.      BP p.l.c. objects to Anadarko’s Discovery Requests to the extent they seek

information or documents relating to the settlement or potential settlement of disputes on the

grounds that such information is not relevant to any party’s claim or defense, is not admissible at

trial and not reasonably calculated to lead to the discovery of admissible evidence, is protected

from disclosure and dissemination under Federal Rule of Evidence 408, and that discovery of




                                                16
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 18 of 178




such information would be prejudicial to the efforts of BP p.l.c. and any opposing parties to

resolve their disputes in a fair and efficient manner.

       6.      BP p.l.c. objects to Anadarko’s Discovery Requests to the extent they call for

information or documents not within BP p.l.c.’s possession, custody, or control. All responses

are made on behalf of BP p.l.c. only, are limited to information and documents within BP p.l.c.’s

possession, custody, or control.

       7.      BP p.l.c. objects to Anadarko’s Discovery Requests to the extent they are unduly

burdensome, duplicative, premature, oppressive, and/or overbroad, including, without limitation,

as to subject matter and/or time period, and where compliance with specific requests would be

unreasonably difficult as well as prohibitively expensive or time-consuming.

       8.      BP p.l.c. objects to Anadarko’s Discovery Requests to the extent they are not

limited to information or documents relevant to any party’s claim or defense, or to the extent

they seek discovery of information or documents not admissible at trial and not reasonably

calculated to lead to the discovery of admissible evidence, including, but not limited to, requests

seeking information or documents concerning other incidents, accidents, or other events at BP

facilities or locations other than the Macondo Well or that are otherwise unrelated to the

Deepwater Horizon.

       9.      BP p.l.c. objects to Anadarko’s Discovery Requests to the extent they seek the

disclosure of information or documents that contain or constitute trade secrets, proprietary

information, or other confidential business information without appropriate restrictions on

disclosure and dissemination that are embodied in a protective order entered by the Court.

       10.     BP p.l.c. objects to Anadarko’s Discovery Requests to the extent they seek the

disclosure of information or documents that would violate the rights of privacy of third parties,



                                                 17
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 19 of 178




or any similar judicially recognized protection or privilege, including, but not limited to,

restrictions imposed in connection with proceedings before the MBI, and the protections of the

Health Insurance Portability and Accountability Act (“HIPAA”), or that would result in

disclosure of any confidential information or conduct without appropriate restrictions on

disclosure and dissemination that are embodied in a protective order entered by the Court.

        11.    BP p.l.c. objects to the requests to the extent they seek documents already in the

possession of Anadarko or equally available to Anadarko from sources other than BP p.l.c.,

including publicly available sources.

        12.    BP p.l.c. objects to Anadarko’s “Definitions” to the extent they seek to impose

any meaning or interpretation onto the requests other than that evident from the plain and

ordinary meaning of the words used therein. BP p.l.c. further objects to, and will read and

respond to, Anadarko’s “Definitions” (labeled to correspond to Anadarko’s list) as follows:

               (i)     Anadarko’s definition of “Deepwater Horizon” is vague and overbroad; it

includes any equipment used in connection with the exploration for or production of oil. BP

p.l.c. will read and respond to Anadarko’s requests with the understanding that the term

“Deepwater Horizon” means the vessel of that name and that, unless expressly otherwise

specified, concerns the operation of the Deepwater Horizon in connection with the Macondo

Well.

               (j)     Anadarko’s definition of “Macondo Well” is vague and overbroad; it

includes a broad geographic area and is not limited to any well, much less the well at issue in this

litigation. BP p.l.c. will read and respond to Anadarko’s requests with the understanding that the

term “Macondo Well” means the MC 252 #1 Macondo Well.

               (k)     Anadarko’s definition of “Deepwater Well” is unobjectionable.



                                                18
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 20 of 178




               (l)      Anadarko’s definition of “incident” is overly narrow; it is limited to the

explosion that occurred on the Deepwater Horizon.           BP p.l.c. will read and respond to

Anadarko’s requests with the understanding that the term “Incident” means the loss of control of

the Macondo Well and the explosions and fire aboard, and resulting sinking of, the Deepwater

Horizon.

                (m)     Anadarko’s definitions of “BOP” and “blowout preventer” is vague and

overbroad; they include any equipment used to control any well. BP p.l.c. will read and respond

to Anadarko’s requests with the understanding that the terms “BOP” and “blowout preventer”

means a blowout preventer like the one in use at the Macondo Well at the time of the incident.

               (n)      Anadarko’s definition of “Deepwater Horizon Blowout Preventer” is

unobjectionable.

                (o)     Anadarko’s definitions of “you,” “your,” and “BP” are extremely vague

and overbroad; they include a vast array of entities that have had no involvement whatsoever in

the events giving rise to this litigation, and confusingly and improperly sweep in hundreds of

thousands of individuals as opposed to the corporate entities that have been named as defendants

in this litigation. BP p.l.c. will read and respond to Anadarko’s requests with the understanding

that the terms you,” “your,” and “BP” means BP p.l.c.

               (p, q, r,)      Anadarko’s definitions of “Cameron,” “Weatherford,” and

“Transocean,” are similarly vague, overbroad, and confusing. BP p.l.c. will read and respond to

Anadarko’s requests with the understanding that these terms refer to the respective corporate

entities commonly referred to by these names that have been named in this litigation and played

some role in the events relevant to this litigation.




                                                  19
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 21 of 178




               (s)    Anadarko’s definition of “person” is vague and overbroad; it includes any

number of things that are not people in any sense of the word. BP p.l.c. will read and respond to

Anadarko’s requests with the understanding that the term “person” means a person.

              (t)     Anadarko’s definition of “employee” is vague and overbroad; it includes

any number of persons who were or are not employees. BP p.l.c. will read and respond to

Anadarko’s requests with the understanding that the term “employee” means an employee.

              (u)     Anadarko’s definition of “government” is vague and overbroad; it

includes a bewildering array of entities as well as any number of people who are “the

government.” BP p.l.c. will read and respond to Anadarko’s requests with the understanding that

the term “government” means the U.S. federal government or the government of a U.S. state,

including any branch or agency thereof.

               (v)    Anadarko’s definition of “communication” is vague and overbroad; it

includes practically everything written or said by any person, regardless of whether it was

actually communicated in any meaningful sense. BP p.l.c. will read and respond to Anadarko’s

requests with the understanding that the term “communication” means talking to someone or

sending them a message of some sort.

               (w)    Anadarko’s definition of “meeting” is vague and overbroad; it includes

any number of things that no person would reasonably conclude constitute a meeting, such as a

casual greeting exchanged in a hallway, sending an e-mail, or posting a message on a bulletin

board. BP p.l.c. will read and respond to Anadarko’s requests with the understanding that the

term “meeting” refers to a gathering of two or more people. It does not include electronic

communications unless specified.




                                               20
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 22 of 178




               (x)    Anadarko’s definition of “document” is improper to the extent it includes

items outside the scope of Federal Rule of Civil Procedures 34(a)(1)(A). BP p.l.c. will read and

respond to Anadarko’s requests with the understanding that the term “document” means the

items listed in Federal Rule of Civil Procedure 34(a)(1)(A).

               (y)    Anadarko’s definition of “electronically stored information” or “ESI” is

improper to the extent it includes items outside the scope of Federal Rule of Civil Procedures

34(a)(1)(A). BP p.l.c. will read and respond to Anadarko’s requests with the understanding that

the term “electronically stored information” or “ESI” means the electronically stored information

listed in Federal Rule of Civil Procedure 34(a)(1)(A).

               (z)    Anadarko’s definition of “computer” is vague and overbroad; it includes

every device that processes or stores information, including any number of things that no person

would reasonably conclude constitute a computer, such as a clock, voice recorder, camera, or cell

phone. BP p.l.c. will read and respond to Anadarko’s requests with the understanding that the

term “computer” means a mainframe, desktop, laptop, or tablet computer.

               (aa)   Anadarko’s definition of “control” is improper to the extent it seeks to

impose any obligation on BP p.l.c. beyond that imposed under Federal Rule of Civil Procedure

34(a)(1). BP p.l.c. will read and respond to Anadarko’s requests with the understanding that the

term “control” means “possession, custody, or control” as used in Federal Rule of Civil

Procedure 34(a)(1).

               (bb)   Anadarko’s definitions of “relating to,” “related to,” “regarding,”

“concerning,” and “with respect to,” are vague and overbroad; they render these and innumerable

other words void of any independent meaning. BP p.l.c. will read and respond to Anadarko’s




                                               21
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 23 of 178




requests with the understanding that these terms have their plain and ordinary meaning in

standard English usage.

               (cc, dd, ee)    Anadarko’s definition of “identify” is overbroad; it includes a

request for detailed information far beyond whatever may be reasonably necessary to distinguish

one individual, one document, or any ESI, from any other. BP p.l.c. will read and respond to

Anadarko’s requests with the understanding that the term “identify” means, in the context of an

individual, an individual’s name, and where the context reasonably requires, his or her employer

and title, and in the context of a document or ESI, a Bates number or other available information

necessary to isolate the document or ESI.

               (ff)    Anadarko’s definition of “describe” is overbroad; it includes a request for

detailed information far beyond whatever may be reasonably necessary to accurately give a

description. BP p.l.c. will read and respond to Anadarko’s requests with the understanding that

the term “describe” means to provide a concise description reasonably calculated to allow the

identification of a thing or its characteristics relevant for purposes of this litigation as the context

requires.

               (gg)    Anadarko’s definition of “state” is overbroad; it includes a request for

detailed information far beyond whatever may be reasonably necessary to accurately make a

statement. BP p.l.c. will read and respond to Anadarko’s requests with the understanding that

the term “state” means to truthfully and accurately provide Anadarko with knowledge or

information.

               (hh)    Anadarko’s definitions of “basis,” “bases,” “sources,” “sources of

knowledge,” “sources of information,” or “source(s) of information or belief” are overbroad; it

includes a request for detailed information far beyond whatever may be reasonably necessary to



                                                  22
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 24 of 178




accurately identify the source or basis of a statement. BP p.l.c. will read and respond to

Anadarko’s requests with the understanding that the terms “basis,” “bases,” “sources,” “sources

of knowledge,” “sources of information,” or “source(s) of information or belief” mean to

identify, when possible and appropriate, the person(s) with direct knowledge about the provided

information and the identity of a corresponding document.

               (ii)   Anadarko’s definitions of “and” and “or” is vague, overbroad, and

confusing; they render the words equivalent and therefore deprive them of independent meaning

and inconsistent with standard English usage. BP p.l.c. will read and respond to Anadarko’s

requests with the understanding that the term “and” means and, and the term “or” means or.

               (jj)   Anadarko’s definition of “any” is vague, overbroad, and confusing; it

renders the word unnecessarily ambiguous and necessarily converts many of Anadarko’s

requests into nonsensical requests for duplicative information. BP p.l.c. will read and respond to

Anadarko’s requests with the understanding that the term “any” means any.

               (kk)   Anadarko’s definition of “including” is unobjectionable.

               (ll)   Anadarko’s definitions of “each” and “every” is vague, overbroad, and

confusing; they render the words equivalent and therefore deprive them of independent meaning

and inconsistent with standard English usage. BP p.l.c. will read and respond to Anadarko’s

requests with the understanding that the term “each” means each and the term “every” means

every.

               (mm) Anadarko’s instruction to treat all nouns and pronouns as plural nouns and

pronouns is vague, overbroad, and confusing; it renders many of Anadarko’s requests

unnecessarily nonsensical, contorted, and duplicative.      BP p.l.c. will read and respond to

Anadarko’s requests as written, not as imagined to give the “broadest possible application.”



                                               23
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 25 of 178




               (nn)    Anadarko’s instruction to treat all verbs as possessing all possible tenses is

vague, overbroad, and confusing; it renders many of Anadarko’s requests unnecessarily

nonsensical, contorted, and duplicative. BP p.l.c. will read and respond to Anadarko’s requests

as written, not as imagined to give the “broadest possible application.”

               (oo)    Anadarko’s instruction to treat all terms of a specific gender as referring to

all genders is vague, overbroad, and confusing; it renders many of Anadarko’s requests

unnecessarily nonsensical, contorted, and duplicative.       BP p.l.c. will read and respond to

Anadarko’s requests as written, not as imagined to give the “broadest possible application.”

               (pp)    Anadarko’s instruction to treat all terms as if they encompass all

grammatical variations of the term is vague, overbroad, and confusing; it renders many of

Anadarko’s requests unnecessarily nonsensical, contorted, and duplicative. BP p.l.c. will read

and respond to Anadarko’s requests as written, not as imagined under instructions to set aside

standard English usage.

       13.     These responses are made without waiving, in any manner, BP p.l.c.’s right to

object to the use of any information or documents provided in response to these requests at any

trial or evidentiary hearing on grounds of privilege, relevance, materiality, authenticity, hearsay,

or any other ground permitted by any applicable law or rule.

       14.     To the extent BP p.l.c. states it will produce documents in response to the

requests, BP p.l.c. will produce such documents on a rolling basis with such reasonable speed as

BP p.l.c. can locate and process them, without sacrificing a meaningful review for

responsiveness, privilege, and confidentiality, as this is the only feasible and physically possible

method given the scope and breadth of the requests.




                                                24
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 26 of 178




       15.     To the extent that BP p.l.c. responds that it will search for and produce responsive

documents, BP p.l.c. is only undertaking to make a good faith effort to conduct a reasonable

search of non-privileged documents of the files and records of those individuals likely to have

meaningful information responsive to a requests as maintained in the ordinary course of

business, and/or to apply a reasonable set of search terms to similar available collections of ESI

as maintained in the ordinary course of business reasonably likely to yield a meaningful amount

of information responsive to a request. BP p.l.c. is not offering or promising to search for and

produce every document or piece of information that may exist in the possession, custody, or

control of any of its tens of thousands of employees and agents where any such items are not

included within the results of a reasonable search as described above.

       16.      BP p.l.c. objects to Anadarko’s requests to the extent that they are not limited to a

reasonable time period as unreasonable, overbroad, and calling for the production of documents

with little or no relevance to this litigation or any respect for the practicalities of resolving it. BP

p.l.c. will read and respond to Anadarko’s requests with the understanding that the term “relevant

time period” means January 1, 2009 through April 20, 2010, unless: (i) the request clearly seeks

specific, available, relevant information that pre-dates January 1, 2009 (e.g., rig audits of the

Deepwater Horizon); and (ii) the request clearly seeks relevant information or documents that

post-date the incident, in which case and to which extent, the time period is, or includes as the

context requires, April 20, 2010 through November 8, 2010, or November 30, 2010, with regard

to certain requests seeking information related to environmental issues. In addition, when used

in reference to the operation of the Deepwater Horizon, the Transocean Marianas, the blowout

preventer, or any other equipment that was used in connection with work that did not involve the

Macondo Well, BP p.l.c. will read and respond to Anadarko’s requests with the understanding



                                                  25
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 27 of 178




that the term “relevant time period” means the period of time during which the rig or equipment

referred to was used at the site of the Macondo Well, prior to and including April 20, 2010 as

stated above.    Notwithstanding the above, however, BP p.l.c. may respond to Anadarko’s

requests that seek specific, relevant, identifiable documents generated prior to the time frames set

forth above, but in no event will BP p.l.c. undertake to search for or produce documents

generated prior to January 1, 2006.

       17.      BP p.l.c.’s decision, now or in the future, to provide information or documents

notwithstanding the objectionable nature of any of the definitions or instructions, or the

document requests themselves, should not be construed as: (a) a stipulation that the material is

relevant or admissible, (b) a waiver of BP p.l.c.’s general objections or the objections asserted in

response to specific requests, or (c) an agreement that requests for similar information will be

treated in a similar manner.

       18.      BP p.l.c. reserves the right to modify, amend, or supplement its responses, which

are made based on the current status of its knowledge, understanding, belief, and searches for

documents. The investigation of facts and information relating to these requests is continuing,

and, therefore, these responses are not intended as an admission or a representation that

additional information or documents do not exist.

Dated: February 22, 2011                             Respectfully submitted,

                                                     By: /s/ J. Andrew Langan, P.C.

                                                     Richard C. Godfrey, P.C.
                                                     J. Andrew Langan, P.C.
                                                     Wendy Bloom, P.C.
                                                     Timothy A. Duffy, P.C.
                                                     Kirkland & Ellis LLP
                                                     300 North LaSalle Street
                                                     Chicago, IL 60654
                                                     312-862-2000 (Tel)

                                                26
Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 28 of 178




                                        312-862-2200 (Fax)

                                        and

                                        Don K. Haycraft (Bar #14361)
                                        R. Keith Jarrett (Bar #16984)
                                        LISKOW & LEWIS
                                        701 Poydras Street, Suite 5000
                                        New Orleans, Louisiana 70139-5099
                                        Telephone: (504) 581-7979
                                        Facsimile: (504) 556-4108

                                        and

                                        Robert C. “Mike” Brock
                                        Covington & Burling LLP
                                        1201 Pennsylvania Avenue, NW
                                        Washington, DC 20004-2401
                                        202-662-5985

                                        Attorneys for BP p.l.c.




                                   27
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 29 of 178




                               CERTIFICATE OF SERVICE

       I hereby certify that the above and foregoing response has been served on All Counsel by

electronically uploading the same to Lexis Nexis File & Serve in accordance with Pretrial Order

No. 12, which will send a notice in accordance with the procedures established in MDL 2179, on

this 22nd day of February, 2011.

                                                     /s/ J. Andrew Langan, P.C.___
    Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 30 of 178

                                                                                                           36086782



                                    UNITED STATES DISTRICT COURT                                       Feb 22 2011
                                    EASTERN DISTRICT OF LOUISIANA                                       10:55PM



In re: Oil Spill by the Oil Rig “Deepwater
                                      :                              MDL No. 2179
       Horizon” in the Gulf of Mexico, on
                                      :
       April 20, 2010                 :                              SECTION: J
                                      :
This Document Relates To: All Actions :                              JUDGE BARBIER
                                                                     MAGISTRATE JUDGE SHUSHAN
                                      :
…………………………………………………... :

                     BP P.L.C.’S RESPONSES AND OBJECTIONS TO
               DEFENDANT MOEX OFFSHORE 2007 LLC’S INTERROGATORIES
                   AND REQUESTS FOR PRODUCTION OF DOCUMENTS

           Defendant BP p.l.c., by its undersigned Counsel, and, pursuant to Rules 26, 33, and 34 of

the Federal Rules of Civil Procedure, hereby submits the following responses and objections to

MOEX’s Interrogatories and Requests for Production.

                                SPECIFIC RESPONSES AND OBJECTIONS

           BP p.l.c. responds as follows to MOEX’s specific interrogatories and requests for

production, subject to and without waiving their general objections, each and every one of which

are specifically incorporated into each individual response below.1


INTERROGATORY NO. 1:

       Please IDENTIFY every BP EMPLOYEE or other PERSON associated with BP who
concluded that the second, or any subsequent, negative pressure test at the MACONDO WELL
on April 20, 2010, was “successful” and DESCRIBE in detail each and every reason for such
conclusion.

RESPONSE TO INTERROGATORY NO. 1:

           BP p.l.c. asserts its general objections.




1
    BP p.l.c.’s general objections are set forth at pages 14 - 26.
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 31 of 178




INTERROGATORY NO. 2:

        Please IDENTIFY every BP EMPLOYEE or other PERSON associated with BP who
concluded that the difference in pressure of 1400 psi between the drill pipe and the DEEP
WATER HORIZON’S BLOWOUT PREVENTER’S kill line during the second negative pressure
test on April 20, 2010 was the result of “bladder effect.”

RESPONSE TO INTERROGATORY NO. 2:

       BP p.l.c. asserts its general objections.


INTERROGATORY NO. 3:

       Please IDENTIFY and DESCRIBE every policy or standard practice existing at BP prior
to April 21, 2010 that ensured that any and all of BP’s decisions about drilling operations or
temporary abandonment of deep sea wells did not favor cost or schedule considerations over
potential risks to safety.

RESPONSE TO INTERROGATORY NO. 3:

       BP p.l.c. asserts its general objections.


INTERROGATORY NO. 4:

      Please IDENTIFY who at BP made the decision to displace to seawater at 3,367’ below
mud level prior to performing a negative pressure test on the MACONDO WELL, and
DESCRIBE in detail the basis of his/her/their decision.

RESPONSE TO INTERROGATORY NO. 4:

       BP p.l.c. asserts its general objections.


INTERROGATORY NO. 5:

       Please IDENTIFY all PERSONS with whom Robert Kaluza or Donald Vidrine spoke by
telephone on April 20 and 21, 2010 REGARDING conditions on the DEEP WATER HORIZON
and DESCRIBE in detail the time and the substance of each such conversation.

RESPONSE TO INTERROGATORY NO. 5:

       BP p.l.c. asserts its general objections.




                                                   2
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 32 of 178




INTERROGATORY NO. 6:

     Please STATE whether YOU believe that the initial flow of hydrocarbons into the
MACONDO WELL on April 20, 2010 did or did not come through the shoe track barrier and
DESCRIBE in detail the basis for YOUR belief.

RESPONSE TO INTERROGATORY NO. 6:

       BP p.l.c. asserts its general objections.


INTERROGATORY NO. 7:

      Please STATE whether YOU believe there was hydrocarbon flow through the seal
assembly during the INCIDENT on April 20, 2010, and DESCRIBE in detail the basis for
YOUR belief.

RESPONSE TO INTERROGATORY NO. 7:

       BP p.l.c. asserts its general objections.


INTERROGATORY NO. 8:

         Please STATE why YOU did not perform a float collar test after cementing to determine
or understand whether there was a barrier, to hydrocarbons flow up the wellbore, and
DESCRIBE what procedure YOU were following (if CFR 250.404-5, please STATE what part
of this regulation YOU feel YOU fulfilled and how).

RESPONSE TO INTERROGATORY NO. 8:

       BP p.l.c. asserts its general objections.


INTERROGATORY NO. 9:

       Please DESCRIBE in detail why there was no monitoring of the mud pits on the DEEP
WATER HORIZON on April 20, 2010 during all or any part of the period of time from 13:28
hours (when the offloading to the supply vessel M/V Damon Bankston began) to 21:10 hours
(when the returns were routed overboard), and specifically IDENTIFY the period of time during
which monitoring did not occur.

RESPONSE TO INTERROGATORY NO. 9:

       BP p.l.c. asserts its general objections.




                                                   3
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 33 of 178




INTERROGATORY NO. 10:

     Please DESCRIBE each and every step taken to control or shut in the MACONDO
WELL on April 20, 2010, giving the time of day each such step was taken and by whom.

RESPONSE TO INTERROGATORY NO. 10:

      BP p.l.c. asserts its general objections.


INTERROGATORY NO. 11:

        Please IDENTIFY and DESCRIBE in detail YOUR well control and well shut-in
protocols and DESCRIBE in detail what those protocols state REGARDING how to respond to
loss of well control.

RESPONSE TO INTERROGATORY NO. 11:

      BP p.l.c. asserts its general objections.


INTERROGATORY NO. 12:

        Please IDENTIFY every PERSON who made the decision on April 20, 2010 to divert
flow from the MACONDO WELL through the mud gas separator rather than the starboard
diverter and DESCRIBE in detail the basis for that decision.

RESPONSE TO INTERROGATORY NO. 12:

      BP p.l.c. asserts its general objections.


INTERROGATORY NO. 13:

      Please IDENTIFY who, if anyone, attempted to operate the emergency disconnect system
on April 20, 2010, prior to the first explosion on the DEEP WATER HORIZON, or after, and
DESCRIBE in detail the reasons for doing so or not doing so.

RESPONSE TO INTERROGATORY NO. 13:

      BP p.l.c. asserts its general objections.


INTERROGATORY NO. 14:

       Please IDENTIFY which of YOUR EMPLOYEES were informed of or involved with
planning for temporary-well abandonment procedures for the MACONDO WELL from March 1
through April 20, 2010, DESCRIBE in detail their roles in the planning, and DESCRIBE in
                                                  4
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 34 of 178




detail any changes, recommendations or misgivings about those procedures that were
communicated by or to YOUR EMPLOYEES, and by and to whom.

RESPONSE TO INTERROGATORY NO. 14:

       BP p.l.c. asserts its general objections.


INTERROGATORY NO. 15:

        Beginning with the MACONDO WELL temporary abandonment procedures, plan and/or
steps discussed by YOUR EMPLOYEES by email or otherwise on April 12, 2010, DESCRIBE
in detail each temporary abandonment procedure, plan and/or step YOU decided upon or
changed between April 12 and the April 20th explosion on the DEEP WATER HORIZON, and
the specific reasons for and basis on which YOU changed or revised each such procedure, plan
and/or step.

RESPONSE TO INTERROGATORY NO. 15:

       BP p.l.c. asserts its general objections.


INTERROGATORY NO. 16:

        Please DESCRIBE in detail all “kicks” experienced on the DEEP WATER HORIZON or
with the MACONDO WELL from February 1, 2010 through April 20, 2010; IDENTIFY each
PERSON who experienced, monitored and/or reported such kicks; and DESCRIBE in detail all
actions taken in response to such kicks.

RESPONSE TO INTERROGATORY NO. 16:

       BP p.l.c. asserts its general objections.


INTERROGATORY NO. 17:

       Please STATE whether it has been YOUR policy or standard procedure since 2000 that
closing the annular preventer should be the first step taken during well control events on the
DEEPWATER HORIZON and on the other deepwater drilling rigs leased, contracted, or used by
YOU and, if so, DESCRIBE in detail the basis for the policy and/or procedure.

RESPONSE TO INTERROGATORY NO. 17:

       BP p.l.c. asserts its general objections.




                                                   5
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 35 of 178




INTERROGATORY NO. 18:

        Please DESCRIBE in detail all follow-up steps that YOU took following YOUR 2009
audit of the DEEP WATER HORIZON (including the DEEP WATER HORIZON BLOWOUT
PREVENTER), that showed TRANSOCEAN was behind on maintenance of certain items on the
DEEP WATER HORIZON and that the BOP had not been inspected or certified for a number of
years, to ensure that the DEEP WATER HORIZON BLOWOUT PREVENTER maintenance had
been brought up-to-date and was appropriate.

RESPONSE TO INTERROGATORY NO. 18:

       BP p.l.c. asserts its general objections.


INTERROGATORY NO. 19:

       Please IDENTIFY the companies that provided service for any COMMUNICATIONS
devices, including but not limited to telephones, cellular phones, smart phones, and Blackberries,
that were in the possession of any PERSONS aboard the DEEP WATER HORIZON or the M/V
Damon Bankston on April 20 and 21, 2010, and the telephone numbers for each such device.

RESPONSE TO INTERROGATORY NO. 19:

       BP p.l.c. asserts its general objections.


INTERROGATORY NO. 20:

       Please IDENTIFY, for the month of April 2010, the type of device by which any of
YOUR EMPLOYEES on the DEEP WATER HORIZON communicated with anyone on shore
(wireless phone, satellite phone, Blackberries, or any similar devices), the telephone number of
that device, and the COMMUNICATIONS provider for that telephone number, and the
PERSON to whom that device belonged or was assigned.

RESPONSE TO INTERROGATORY NO. 20:

       BP p.l.c. asserts its general objections.


INTERROGATORY NO. 21:

       Did YOU confirm that all relevant lab test results had been obtained and considered by
the HALLIBURTON in-house cementing engineer before cement placement proceeded at the
MACONDO WELL, and if so, DESCRIBE in detail how you performed that confirmation
including the IDENTITY of all COMMUNICATIONS or DOCUMENTS RELATED TO such
confirmation.


                                                   6
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 36 of 178




RESPONSE TO INTERROGATORY NO. 21:

      BP p.l.c. asserts its general objections.


INTERROGATORY NO. 22:

      DESCRIBE in detail what quality assurance YOU did to ensure that potential flaws and
weaknesses in the cement slurry design for the MACONDO WELL were identified.

RESPONSE TO INTERROGATORY NO. 22:

      BP p.l.c. asserts its general objections.


INTERROGATORY NO. 23:

    DESCRIBE in detail what lab tests of the cement YOU reviewed and relied upon for the
MACONDO WELL, and DESCRIBE in detail why you did not ask for further tests.

RESPONSE TO INTERROGATORY NO. 23:

      BP p.l.c. asserts its general objections.


INTERROGATORY NO. 24:

      DESCRIBE in detail why YOUR MACONDO WELL team allowed the cement
placement to proceed on April 19 and 20, 2010 after your review of lab tests and results.

RESPONSE TO INTERROGATORY NO. 24:

      BP p.l.c. asserts its general objections.


                   REQUEST FOR PRODUCTION OF DOCUMENTS

REQUEST FOR PRODUCTION NO. 1:

     Please produce all DOCUMENTS reviewed by YOU in connection with preparation of
YOUR responses to each of the Interrogatories set forth above.

RESPONSE TO REQUEST FOR PRODUCTION NO. 1:

      BP p.l.c. asserts its general objections.




                                                  7
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 37 of 178




REQUEST FOR PRODUCTION NO. 2:

       Please produce all DOCUMENTS RELATING TO required or recommended practices to
prevent or minimize pollution during the course of drilling or operating a well.

RESPONSE TO REQUEST FOR PRODUCTION NO. 2:

       BP p.l.c. asserts its general objections.


REQUEST FOR PRODUCTION NO. 3:

       Please produce all DOCUMENTS RELATING TO planned activities, and activities
undertaken, on the DEEP WATER HORIZON during the period from April 14 through April 25,
2010.

RESPONSE TO REQUEST FOR PRODUCTION NO. 3:

       BP p.l.c. asserts its general objections.


REQUEST FOR PRODUCTION NO. 4:

        Please produce all DOCUMENTS reflecting, or considered by YOU in connection with,
pre-cement job evaluation of the design and volume of cement to be used for the final production
casing string.

RESPONSE TO REQUEST FOR PRODUCTION NO. 4:

       BP p.l.c. asserts its general objections.


REQUEST FOR PRODUCTION NO. 5:

       Please produce all DOCUMENTS reflecting, or considered by YOU in connection with,
pre-cement job evaluation of the potential for contamination of the cement job for the final
production casing string.

RESPONSE TO REQUEST FOR PRODUCTION NO. 5:

       BP p.l.c. asserts its general objections.


REQUEST FOR PRODUCTION NO. 6:

       Please produce all DOCUMENTS reflecting, or considered by YOU in connection with,
pre-cement job evaluation of the amount of time that should elapse in order to permit the cement


                                                   8
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 38 of 178




job on the final casing string to strengthen before commencing further operations on the
MACONDO WELL.

RESPONSE TO REQUEST FOR PRODUCTION NO. 6:

       BP p.l.c. asserts its general objections.


REQUEST FOR PRODUCTION NO. 7:

       Please produce all DOCUMENTS reflecting policies, practices or procedures for when
(and under what circumstances) and how a float collar should be tested to determine whether it
has converted properly or has been damaged during conversion attempts.

RESPONSE TO REQUEST FOR PRODUCTION NO. 7:

       BP p.l.c. asserts its general objections.


REQUEST FOR PRODUCTION NO. 8:

        WITH RESPECT TO the MACONDO WELL, please produce all DOCUMENTS
reflecting discussion, or evaluation, of whether there was, or would be, sufficient differential
pressure between the cement in the final casing string and the fluid in the annulus to determine
whether the float collar was properly converted.

RESPONSE TO REQUEST FOR PRODUCTION NO. 8:

       BP p.l.c. asserts its general objections.


REQUEST FOR PRODUCTION NO. 9:

        Please produce all DOCUMENTS reflecting policies, practices or procedures
REGARDING displacement of kill weight mud to seawater before a well has successfully passed
a negative test.

RESPONSE TO REQUEST FOR PRODUCTION NO. 9:

       BP p.l.c. asserts its general objections.


REQUEST FOR PRODUCTION NO. 10:

       Please produce all DOCUMENTS reflecting policies, practices or procedures in
connection with, or concerns or issues REGARDING, the conduct of simultaneous activities on a



                                                   9
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 39 of 178




rig, MODU or platform that might interfere with or prevent monitoring of fluid gains or losses in
a well.

RESPONSE TO REQUEST FOR PRODUCTION NO. 10:

       BP p.l.c. asserts its general objections.


REQUEST FOR PRODUCTION NO. 11:

      Please produce all of YOUR temporary abandonment plans, and drafts of such plans, for
any DEEPWATER WELL in the Gulf of Mexico during the last ten years.

RESPONSE TO REQUEST FOR PRODUCTION NO. 11:

       BP p.l.c. asserts its general objections.


REQUEST FOR PRODUCTION NO. 12:

      Please produce all DOCUMENTS discussing, or reflecting, evaluation by YOU of a
change from a long string design to a tie-back with liner during the course of drilling any
DEEPWATER WELL in the Gulf of Mexico during the last ten years.

RESPONSE TO REQUEST FOR PRODUCTION NO. 12:

       BP p.l.c. asserts its general objections.


REQUEST FOR PRODUCTION NO. 13:

       Please produce all DOCUMENTS discussing, reflecting or RELATING TO YOUR
decision not to conduct a cement bond log for the MACONDO WELL and DOCUMENTS
RELATING TO or IDENTIFYING any PERSONS involved in that decision

RESPONSE TO REQUEST FOR PRODUCTION NO. 13:

       BP p.l.c. asserts its general objections.


REQUEST FOR PRODUCTION NO. 14:

       Please produce all DOCUMENTS evidencing or RELATING TO YOUR internal rules
and procedures for deepwater drilling of wells.

RESPONSE TO REQUEST FOR PRODUCTION NO. 14:

       BP p.l.c. asserts its general objections.
                                                   10
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 40 of 178




REQUEST FOR PRODUCTION NO. 15:

         Please produce all DOCUMENTS, including invoices, RELATING TO YOUR response
activities RELATED TO the spill resulting from the INCIDENT.

RESPONSE TO REQUEST FOR PRODUCTION NO. 15:

      BP p.l.c. asserts its general objections.


REQUEST FOR PRODUCTION NO. 16:

       Please produce all DOCUMENTS RELATING TO training of YOUR engineers who
design DEEPWATER WELLS, including but not limited to training required before being hired
by BP as well as training given by or at BP after hire.

RESPONSE TO REQUEST FOR PRODUCTION NO. 16:

      BP p.l.c. asserts its general objections.


REQUEST FOR PRODUCTION NO. 17:

       Please produce all DOCUMENTS RELATING TO training of YOUR personnel who act
as well site leaders on DEEPWATER WELLS, including but not limited to training required
before being hired by BP as well as training given by or at BP after hire.

RESPONSE TO REQUEST FOR PRODUCTION NO. 17:

      BP p.l.c. asserts its general objections.


REQUEST FOR PRODUCTION NO. 18:

       Please produce all DOCUMENTS RELATING TO training of YOUR personnel who act
as well team leaders on DEEPWATER WELLS, including but not limited to training required
before being hired by BP as well as training given by or at BP after hire.

RESPONSE TO REQUEST FOR PRODUCTION NO. 18:

      BP p.l.c. asserts its general objections.


REQUEST FOR PRODUCTION NO. 19:

        Please produce all DOCUMENTS RELATING TO the qualifications of YOUR
personnel who designed the MACONDO WELL or modified its design during drilling, or acted
as well site leaders or well team leaders.
                                                  11
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 41 of 178




RESPONSE TO REQUEST FOR PRODUCTION NO. 19:

       BP p.l.c. asserts its general objections.


REQUEST FOR PRODUCTION NO. 20:

       Please produce all DOCUMENTS RELATING TO the specific training of YOUR
personnel, before or after hire by BP, who designed the MACONDO WELL or modified its
design during drilling, or acted as well site leaders or well team leaders.

RESPONSE TO REQUEST FOR PRODUCTION NO. 20:

       BP p.l.c. asserts its general objections.


REQUEST FOR PRODUCTION NO. 21:

        Please produce all telephone logs or records that YOU have, or have obtained from the
companies that provided service, for the month of April 2010 that relate to any
COMMUNICATIONS devices used by any of YOUR EMPLOYEE on the DEEP WATER
HORIZON to communicate with anyone on shore (wireless phone, satellite phone, Blackberries,
or any similar devices).

RESPONSE TO REQUEST FOR PRODUCTION NO. 21:

       BP p.l.c. asserts its general objections.


REQUEST FOR PRODUCTION NO. 22:

        Please produce all DOCUMENTS that are or RELATE TO internal discussions
(including emails) about what YOU would be or would not be telling MOEX OFFSHORE,
MOEX USA or ANADARKO about the drilling process, conditions, changes, progress, or
problems at the MACONDO WELL, prior to May 1, 2010.

RESPONSE TO REQUEST FOR PRODUCTION NO. 22:

       BP p.l.c. asserts its general objections.


REQUEST FOR PRODUCTION NO. 23:

        Please produce all DOCUMENTS that are or RELATE TO “stop the job” incidents
called for by BP EMPLOYEES or by other workers on MODU rigs used, leased, or contracted
by BP that RELATED TO well kicks, to movement of mud on the rig (either between pits or
overboard).

                                                   12
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 42 of 178




RESPONSE TO REQUEST FOR PRODUCTION NO. 23:

       BP p.l.c. asserts its general objections.


REQUEST FOR PRODUCTION NO. 24:

        WITH RESPECT TO YOUR December 8, 2010 response to PLAINTIFFS’ Interrogatory
No. 29, please produce all DOCUMENTS that are or RELATE TO internal discussions
(including emails) YOU had REGARDING “BLOWOUT PREVENTER[s] that did not seal a
well as intended” (whether RELATING TO the Ixtoc I well, the Silvertip well, the AC 901 well,
the WR 543 well, or any other well that had issues with BLOWOUT PREVENTERS).

RESPONSE TO REQUEST FOR PRODUCTION NO. 24:

       BP p.l.c. asserts its general objections.


REQUEST FOR PRODUCTION NO. 25:

        Please produce all DOCUMENTS that RELATE TO other DEEPWATER WELLS
drilled by YOU in the last 10 years in which YOU displaced to seawater before locking down the
hanger.

RESPONSE TO REQUEST FOR PRODUCTION NO. 25:

       BP p.l.c. asserts its general objections.


REQUEST FOR PRODUCTION NO. 26:

     Please produce all DOCUMENTS that are or RELATE TO approval YOU obtained from
MMS to displace to seawater and set a cement plug at about 8367 feet (+/-3300’ BML) WITH
RESPECT TO the MACONDO WELL.

RESPONSE TO REQUEST FOR PRODUCTION NO. 26:

       BP p.l.c. asserts its general objections.


REQUEST FOR PRODUCTION NO. 27:

        Please produce all DOCUMENTS that are or RELATE TO requests YOU have made to
MMS to displace to seawater and set a cement plug at +/-3300 feet BML WITH RESPECT TO
any DEEPWATER WELL YOU have drilled other than the MACONDO WELL, including but
not limited to any denials of such requests.


                                                   13
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 43 of 178




RESPONSE TO REQUEST FOR PRODUCTION NO. 27:

       BP p.l.c. asserts its general objections.


REQUEST FOR PRODUCTION NO. 28:

       Please produce all DOCUMENTS pertaining to who has authority on YOUR MODU
operations to deviate from YOUR written drilling plans or procedures.

RESPONSE TO REQUEST FOR PRODUCTION NO. 28:

       BP p.l.c. asserts its general objections.


REQUEST FOR PRODUCTION NO. 29:

        Please produce any and all interview notes reflecting statements by Mark Hafle following
the INCIDENT, including but not limited to interviews conducted by or on behalf of the BP
investigation team.

RESPONSE TO REQUEST FOR PRODUCTION NO. 29:

       BP p.l.c. asserts its general objections.


REQUEST FOR PRODUCTION NO. 30:

        To the extent not previously produced, please produce any DOCUMENTS RELATING
TO any activities at or affecting the MACONDO WELL, including but not limited to, any
investigations; observations; instructions; assessments; development of protocols, procedures, or
“lessons learned” analyses; audits; self-evaluations; summaries of activities, logs, and guidance
documents.

RESPONSE TO REQUEST FOR PRODUCTION NO. 30:

       BP p.l.c. asserts its general objections.


                                   GENERAL OBJECTIONS

       BP p.l.c. asserts the following objections to each and every one of MOEX’s

interrogatories and requests for production including any definitions or instructions associated

therewith (collectively, “MOEX’s Discovery Requests”).           These general objections are


                                                   14
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 44 of 178




incorporated by reference into each specific response set forth by BP p.l.c. and are neither

waived nor limited by any specific responses.

       1.      Defendant BP p.l.c. objects to all of MOEX’s requests. BP p.l.c. is a corporation

organized under the laws of England and Wales, which is publicly traded with its headquarters in

London, England. BP p.l.c. did not own the MC 252 leasehold, had no employees on the

Deepwater Horizon, and was not a party to the drilling rig contract with Transocean. BP p.l.c.

does not directly conduct exploration and production activities and was not directly involved in

the events involving the Macondo Well or the incident.          Accordingly, to the best of its

knowledge, with regard to almost all of MOEX’s Discovery Requests, BP p.l.c. does not have

any meaningful set of information or documents responsive to plaintiffs’ requests not derivative

and duplicative of that of BPA, BPAP, and/or BPXP, and BP p.l.c. directs plaintiffs to the

responses provided by those defendants.

       2.      BP p.l.c. objects to MOEX’s Discovery Requests to the extent they call for

information, seek discovery, or attempt to impose any obligations beyond that permitted or

authorized by the Federal Rules of Civil Procedure or the Rules and Orders of this Court.

       3.      BP p.l.c. objects to MOEX’s Discovery Requests to the extent they call for the

production of ESI in any manner other than required under Federal Rule of Civil Procedure 34,

the Rules and Orders of the Court, and ongoing negotiations and discussions among counsel.

       4.      BP p.l.c. objects to MOEX’s Discovery Requests to the extent they seek

information or documents protected by the attorney-client privilege, the work-product doctrine,

the joint defense or common interest privilege, or any other applicable privilege, exemption, or

immunity. BP p.l.c. will identify specific documents withheld on these grounds in accordance

with the schedule set forth in, and provide the information required by, the Court’s Pretrial Order



                                                15
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 45 of 178




#14, and such further Orders of the Court and ongoing negotiations and discussions among

counsel. BP p.l.c. incorporates its forthcoming privilege logs and all related information into this

general objection to the extent necessary to preserve against any waiver of any applicable

privilege or immunity from discovery.

       5.      BP p.l.c. objects to MOEX’s Discovery Requests to the extent they seek

information or documents relating to the settlement or potential settlement of disputes on the

grounds that such information is not relevant to any party’s claim or defense, is not admissible at

trial and not reasonably calculated to lead to the discovery of admissible evidence, is protected

from disclosure and dissemination under Federal Rule of Evidence 408, and that discovery of

such information would be prejudicial to the efforts of BP p.l.c. and any opposing parties to

resolve their disputes in a fair and efficient manner.

       6.      BP p.l.c. objects to MOEX’s Discovery Requests to the extent they call for

information or documents not within BP p.l.c.’s possession, custody, or control. All responses

are made on behalf of BP p.l.c. only, are limited to information and documents within BP p.l.c.’s

possession, custody, or control.

       7.      BP p.l.c. objects to MOEX’s Discovery Requests to the extent they are unduly

burdensome, duplicative, premature, oppressive, and/or overbroad, including, without limitation,

as to subject matter and/or time period, and where compliance with specific requests would be

unreasonably difficult as well as prohibitively expensive or time-consuming.

       8.      BP p.l.c. objects to MOEX’s Discovery Requests to the extent they are not limited

to information or documents relevant to any party’s claim or defense, or to the extent they seek

discovery of information or documents not admissible at trial and not reasonably calculated to

lead to the discovery of admissible evidence, including, but not limited to, requests seeking



                                                 16
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 46 of 178




information or documents concerning other incidents, accidents, or other events at BP facilities

or locations other than the Macondo Well or that are otherwise unrelated to the Deepwater

Horizon.

       9.      BP p.l.c. objects to MOEX’s Discovery Requests to the extent they seek the

disclosure of information or documents that contain or constitute trade secrets, proprietary

information, or other confidential business information without appropriate restrictions on

disclosure and dissemination that are embodied in a protective order entered by the Court.

       10.     BP p.l.c. objects to MOEX’s Discovery Requests to the extent they seek the

disclosure of information or documents that would violate the rights of privacy of third parties,

or any similar judicially recognized protection or privilege, including, but not limited to,

restrictions imposed in connection with proceedings before the MBI, and the protections of the

Health Insurance Portability and Accountability Act (“HIPAA”), or that would result in

disclosure of any confidential information or conduct without appropriate restrictions on

disclosure and dissemination that are embodied in a protective order entered by the Court.

       11.     BP p.l.c. objects to the requests to the extent they seek documents already in the

possession of MOEX or equally available to MOEX from sources other than BP p.l.c., including

publicly available sources.

       12.     BP p.l.c. objects to MOEX’s “Definitions” to the extent they seek to impose any

meaning or interpretation onto the requests other than that evident from the plain and ordinary

meaning of the words used therein. BP p.l.c. further objects to, and will read and respond to,

MOEX’s “Definitions” (labeled to correspond to MOEX’s list) as follows:

               (i)    MOEX’s definition of “Deepwater Horizon” is vague and overbroad; it

includes any equipment used in connection with the exploration for or production of oil. BP



                                               17
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 47 of 178




p.l.c. will read and respond to MOEX’s requests with the understanding that the term

“Deepwater Horizon” means the vessel of that name and that, unless expressly otherwise

specified, concerns the operation of the Deepwater Horizon in connection with the Macondo

Well.

               (j)     MOEX’s definition of “Macondo Well” is vague and overbroad; it

includes a broad geographic area and is not limited to any well, much less the well at issue in this

litigation. BP p.l.c. will read and respond to MOEX’s requests with the understanding that the

term “Macondo Well” means the MC 252 #1 Macondo Well.

                (l)    MOEX’s definition of “incident” is overly narrow; it is limited to the

explosion that occurred on the Deepwater Horizon. BP p.l.c. will read and respond to MOEX’s

requests with the understanding that the term “Incident” means the loss of control of the

Macondo Well and the explosions and fire aboard, and resulting sinking of, the Deepwater

Horizon.

                (m)    MOEX’s definitions of “BOP” and “blowout preventer” is vague and

overbroad; they include any equipment used to control any well. BP p.l.c. will read and respond

to MOEX’s requests with the understanding that the terms “BOP” and “blowout preventer”

means a blowout preventer like the one in use at the Macondo Well at the time of the incident.

               (n)     MOEX’s definition of “Deepwater Horizon Blowout Preventer” is

unobjectionable.

                (o)    MOEX’s definitions of “you,” “your,” and “BP” are extremely vague and

overbroad; they include a vast array of entities that have had no involvement whatsoever in the

events giving rise to this litigation, and confusingly and improperly sweep in hundreds of

thousands of individuals as opposed to the corporate entities that have been named as defendants



                                                18
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 48 of 178




in this litigation. BP p.l.c. will read and respond to MOEX’s requests with the understanding

that the terms you,” “your,” and “BP” means BP p.l.c.

               (p, q, r,)      MOEX’s       definitions   of   “Cameron,”   “Weatherford,”   and

“Transocean,” are similarly vague, overbroad, and confusing. BP p.l.c. will read and respond to

MOEX’s requests with the understanding that these terms refer to the respective corporate

entities commonly referred to by these names that have been named in this litigation and played

some role in the events relevant to this litigation.

                (s)     MOEX’s definition of “person” is vague and overbroad; it includes any

number of things that are not people in any sense of the word. BP p.l.c. will read and respond to

MOEX’s requests with the understanding that the term “person” means a person.

               (t)      MOEX’s definition of “employee” is vague and overbroad; it includes any

number of persons who were or are not employees. BP p.l.c. will read and respond to MOEX’s

requests with the understanding that the term “employee” means an employee.

               (u)      MOEX’s definition of “government” is vague and overbroad; it includes a

   bewildering array of entities as well as any number of people who are “the government.” BP

   p.l.c. will read and respond to MOEX’s requests with the understanding that the term

   “government” means the U.S. federal government or the government of a U.S. state,

   including any branch or agency thereof.

                (v)     MOEX’s definition of “communication” is vague and overbroad; it

includes practically everything written or said by any person, regardless of whether it was

actually communicated in any meaningful sense. BP p.l.c. will read and respond to MOEX’s

requests with the understanding that the term “communication” means talking to someone or

sending them a message of some sort.



                                                  19
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 49 of 178




               (w)    MOEX’s definition of “meeting” is vague and overbroad; it includes any

number of things that no person would reasonably conclude constitute a meeting, such as a

casual greeting exchanged in a hallway, sending an e-mail, or posting a message on a bulletin

board. BP p.l.c. will read and respond to MOEX’s requests with the understanding that the term

“meeting” refers to a gathering of two or more people.          It does not include electronic

communications unless specified.

               (x)    MOEX’s definition of “document” is improper to the extent it includes

items outside the scope of Federal Rule of Civil Procedures 34(a)(1)(A). BP p.l.c. will read and

respond to MOEX’s requests with the understanding that the term “document” means the items

listed in Federal Rule of Civil Procedure 34(a)(1)(A).

               (y)    MOEX’s definition of “electronically stored information” or “ESI” is

improper to the extent it includes items outside the scope of Federal Rule of Civil Procedures

34(a)(1)(A). BP p.l.c. will read and respond to MOEX’s requests with the understanding that the

term “electronically stored information” or “ESI” means the electronically stored information

listed in Federal Rule of Civil Procedure 34(a)(1)(A).

               (z)    MOEX’s definition of “computer” is vague and overbroad; it includes

every device that processes or stores information, including any number of things that no person

would reasonably conclude constitute a computer, such as a clock, voice recorder, camera, or cell

phone. BP p.l.c. will read and respond to MOEX’s requests with the understanding that the term

“computer” means a mainframe, desktop, laptop, or tablet computer.

               (aa)   MOEX’s definition of “control” is improper to the extent it seeks to

impose any obligation on BP p.l.c. beyond that imposed under Federal Rule of Civil Procedure

34(a)(1). BP p.l.c. will read and respond to MOEX’s requests with the understanding that the



                                               20
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 50 of 178




term “control” means “possession, custody, or control” as used in Federal Rule of Civil

Procedure 34(a)(1).

               (bb)    MOEX’s definitions of “relating to,” “related to,” “regarding,”

“concerning,” and “with respect to,” are vague and overbroad; they render these and innumerable

other words void of any independent meaning. BP p.l.c. will read and respond to MOEX’s

requests with the understanding that these terms have their plain and ordinary meaning in

standard English usage.

               (cc, dd, ee)     MOEX’s definition of “identify” is overbroad; it includes a request

for detailed information far beyond whatever may be reasonably necessary to distinguish one

individual, one document, or any ESI, from any other. BP p.l.c. will read and respond to

MOEX’s requests with the understanding that the term “identify” means, in the context of an

individual, an individual’s name, and where the context reasonably requires, his or her employer

and title, and in the context of a document or ESI, a Bates number or other available information

necessary to isolate the document or ESI.

               (ff)     MOEX’s definition of “describe” is overbroad; it includes a request for

detailed information far beyond whatever may be reasonably necessary to accurately give a

description. BP p.l.c. will read and respond to MOEX’s requests with the understanding that the

term “describe” means to provide a concise description reasonably calculated to allow the

identification of a thing or its characteristics relevant for purposes of this litigation as the context

requires.

               (gg)    MOEX’s definition of “state” is overbroad; it includes a request for

detailed information far beyond whatever may be reasonably necessary to accurately make a




                                                  21
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 51 of 178




statement. BP p.l.c. will read and respond to MOEX’s requests with the understanding that the

term “state” means to truthfully and accurately provide MOEXwith knowledge or information.

              (hh)    MOEX’s definitions of “basis,” “bases,” “sources,” “sources of

knowledge,” “sources of information,” or “source(s) of information or belief” are overbroad; it

includes a request for detailed information far beyond whatever may be reasonably necessary to

accurately identify the source or basis of a statement. BP p.l.c. will read and respond to

MOEX’s requests with the understanding that the terms “basis,” “bases,” “sources,” “sources of

knowledge,” “sources of information,” or “source(s) of information or belief” mean to identify,

when possible and appropriate, the person(s) with direct knowledge about the provided

information and the identity of a corresponding document.

              (ii)    MOEX’s definitions of “and” and “or” is vague, overbroad, and

confusing; they render the words equivalent and therefore deprive them of independent meaning

and inconsistent with standard English usage. BP p.l.c. will read and respond to MOEX’s

requests with the understanding that the term “and” means and, and the term “or” means or.

              (jj)    MOEX’s definition of “any” is vague, overbroad, and confusing; it renders

the word unnecessarily ambiguous and necessarily converts many of MOEX’s requests into

nonsensical requests for duplicative information. BP p.l.c. will read and respond to MOEX’s

requests with the understanding that the term “any” means any.

              (kk)    MOEX’s definition of “including” is unobjectionable.

              (ll)    MOEX’s definitions of “each” and “every” is vague, overbroad, and

confusing; they render the words equivalent and therefore deprive them of independent meaning

and inconsistent with standard English usage. BP p.l.c. will read and respond to MOEX’s




                                              22
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 52 of 178




requests with the understanding that the term “each” means each and the term “every” means

every.

                 (mm) MOEX’s instruction to treat all nouns and pronouns as plural nouns and

pronouns is vague, overbroad, and confusing; it renders many of MOEX’s requests unnecessarily

nonsensical, contorted, and duplicative. BP p.l.c. will read and respond to MOEX’s requests as

written, not as imagined to give the “broadest possible application.”

                 (nn)   MOEX’s instruction to treat all verbs as possessing all possible tenses is

vague, overbroad, and confusing; it renders many of MOEX’s requests unnecessarily

nonsensical, contorted, and duplicative. BP p.l.c. will read and respond to MOEX’s requests as

written, not as imagined to give the “broadest possible application.”

                 (oo)   MOEX’s instruction to treat all terms of a specific gender as referring to

all genders is vague, overbroad, and confusing; it renders many of MOEX’s requests

unnecessarily nonsensical, contorted, and duplicative.       BP p.l.c. will read and respond to

MOEX’s requests as written, not as imagined to give the “broadest possible application.”

                 (pp)   MOEX’s instruction to treat all terms as if they encompass all

grammatical variations of the term is vague, overbroad, and confusing; it renders many of

MOEX’s requests unnecessarily nonsensical, contorted, and duplicative. BP p.l.c. will read and

respond to MOEX’s requests as written, not as imagined under instructions to set aside standard

English usage.

         13.     These responses are made without waiving, in any manner, BP p.l.c.’s right to

object to the use of any information or documents provided in response to these requests at any

trial or evidentiary hearing on grounds of privilege, relevance, materiality, authenticity, hearsay,

or any other ground permitted by any applicable law or rule.



                                                23
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 53 of 178




       14.     To the extent BP p.l.c. states it will produce documents in response to the

requests, BP p.l.c. will produce such documents on a rolling basis with such reasonable speed as

BP p.l.c. can locate and process them, without sacrificing a meaningful review for

responsiveness, privilege, and confidentiality, as this is the only feasible and physically possible

method given the scope and breadth of the requests.

       15.     To the extent that BP p.l.c. responds that it will search for and produce responsive

documents, BP p.l.c. is only undertaking to make a good faith effort to conduct a reasonable

search of non-privileged documents of the files and records of those individuals likely to have

meaningful information responsive to a requests as maintained in the ordinary course of

business, and/or to apply a reasonable set of search terms to similar available collections of ESI

as maintained in the ordinary course of business reasonably likely to yield a meaningful amount

of information responsive to a request. BP p.l.c. is not offering or promising to search for and

produce every document or piece of information that may exist in the possession, custody, or

control of any of its tens of thousands of employees and agents where any such items are not

included within the results of a reasonable search as described above.

       16.      BP p.l.c. objects to MOEX’s requests to the extent that they are not limited to a

reasonable time period as unreasonable, overbroad, and calling for the production of documents

with little or no relevance to this litigation or any respect for the practicalities of resolving it. BP

p.l.c. will read and respond to MOEX’s requests with the understanding that the term “relevant

time period” means January 1, 2009 through April 20, 2010, unless: (i) the request clearly seeks

specific, available, relevant information that pre-dates January 1, 2009 (e.g., rig audits of the

Deepwater Horizon); and (ii) the request clearly seeks relevant information or documents that

post-date the incident, in which case and to which extent, the time period is, or includes as the



                                                  24
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 54 of 178




context requires, April 20, 2010 through November 8, 2010, or November 30, 2010, with regard

to certain requests seeking information related to environmental issues. In addition, when used

in reference to the operation of the Deepwater Horizon, the Transocean Marianas, the blowout

preventer, or any other equipment that was used in connection with work that did not involve the

Macondo Well, BP p.l.c. will read and respond to MOEX’s requests with the understanding that

the term “relevant time period” means the period of time during which the rig or equipment

referred to was used at the site of the Macondo Well, prior to and including April 20, 2010 as

stated above. Notwithstanding the above, however, BP p.l.c. may respond to MOEX’s requests

that seek specific, relevant, identifiable documents generated prior to the time frames set forth

above, but in no event will BP p.l.c. undertake to search for or produce documents generated

prior to January 1, 2006.

       17.     BP p.l.c.’s decision, now or in the future, to provide information or documents

notwithstanding the objectionable nature of any of the definitions or instructions, or the

document requests themselves, should not be construed as: (a) a stipulation that the material is

relevant or admissible, (b) a waiver of BP p.l.c.’s general objections or the objections asserted in

response to specific requests, or (c) an agreement that requests for similar information will be

treated in a similar manner.

       18.     BP p.l.c. reserves the right to modify, amend, or supplement its responses, which

are made based on the current status of its knowledge, understanding, belief, and searches for

documents. The investigation of facts and information relating to these requests is continuing,

and, therefore, these responses are not intended as an admission or a representation that

additional information or documents do not exist.




                                                25
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 55 of 178




Dated: February 22, 2011                 Respectfully submitted,

                                         By: /s/ J. Andrew Langan, P.C.

                                         Richard C. Godfrey, P.C.
                                         J. Andrew Langan, P.C.
                                         Wendy Bloom, P.C.
                                         Timothy A. Duffy, P.C.
                                         Kirkland & Ellis LLP
                                         300 North LaSalle Street
                                         Chicago, IL 60654
                                         312-862-2000 (Tel)
                                         312-862-2200 (Fax)

                                         and

                                         Don K. Haycraft (Bar #14361)
                                         R. Keith Jarrett (Bar #16984)
                                         LISKOW & LEWIS
                                         701 Poydras Street, Suite 5000
                                         New Orleans, Louisiana 70139-5099
                                         Telephone: (504) 581-7979
                                         Facsimile: (504) 556-4108

                                         and

                                         Robert C. “Mike” Brock
                                         Covington & Burling LLP
                                         1201 Pennsylvania Avenue, NW
                                         Washington, DC 20004-2401
                                         202-662-5985

                                         Attorneys for BP p.l.c.




                                    26
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 56 of 178




                               CERTIFICATE OF SERVICE

       I hereby certify that the above and foregoing response has been served on All Counsel by

electronically uploading the same to Lexis Nexis File & Serve in accordance with Pretrial Order

No. 12, which will send a notice in accordance with the procedures established in MDL 2179, on

this 22nd day of February, 2011.

                                                     /s/ J. Andrew Langan, P.C.___
    Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 57 of 178

                                                                                                           36086788



                                   UNITED STATES DISTRICT COURT                                        Feb 22 2011
                                   EASTERN DISTRICT OF LOUISIANA                                        10:55PM



In re: Oil Spill by the Oil Rig “Deepwater
                                      :                                  MDL No. 2179
       Horizon” in the Gulf of Mexico, on
                                      :
       April 20, 2010                 :                                  SECTION: J
                                      :
This Document Relates To: All Actions :                                  JUDGE BARBIER
                                                                         MAGISTRATE JUDGE SHUSHAN
                                      :
…………………………………………………... :

           THE BP PARTIES’ RESPONSES AND OBJECTIONS TO DEFENDANT
          ANADARKO PETROLEUM CORPORATION’S INTERROGATORIES AND
                   REQUESTS FOR PRODUCTION OF DOCUMENTS

           Defendants BP America Inc. (“BPA”), BP America Production Company (“BPAP”), and

BP Exploration & Production Inc. (“BPXP”) (collectively, “the BP Parties”), by their

undersigned Counsel, and, pursuant to Rules 26, 33, and 34 of the Federal Rules of Civil

Procedure, hereby submit the following responses and objections to Anadarko’s Interrogatories

and Requests for Production.

                               SPECIFIC RESPONSES AND OBJECTIONS

           The BP Parties respond as follows to Anadarko’s specific interrogatories and requests for

production, subject to and without waiving their general objections, each and every one of which

are specifically incorporated into each individual response below.1


INTERROGATORY NO. 1:

        Please IDENTIFY each PERSON to whom YOUR EMPLOYEES communicated or
sent COMMUNICATIONS or from whom they received COMMUNICATIONS, on or
before April 20, 2010, that any of the alarm systems on the DEEP WATER HORIZON were
inhibited or bypassed, IDENTIFY all other PERSONS involved in the COMMUNICATION
and DESCRIBE in detail the substance of each such COMMUNICATION and any response
to or result from such COMMUNICATION.




1
    The BP Parties’ general objections are set forth at pages 48 - 59.
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 58 of 178




RESPONSE TO INTERROGATORY NO. 1:

       The BP Parties object to this interrogatory because it is overbroad and unduly

burdensome to the extent it seeks every single communication that any of the alarm systems

on the Deepwater Horizon were inhibited or bypassed without regard to the relevance of

such communications to the claims or defenses of any party. Further, the BP Parties object

to this interrogatory because it is overbroad and unduly burdensome to the extent it seeks

information about the alarm systems that is likely more readily available from other parties

in the litigation, such as Transocean Deepwater, Inc., Transocean Holdings, LLC, and

Transocean Offshore Deepwater Drilling, Inc. (collectively, “the Transocean Defendants”),

who owned and operated the Deepwater Horizon. The BP Parties also object because the

terms “alarm systems,” “inhibited,” and “bypassed” are vague, ambiguous and undefined

and could be read to call for irrelevant information unrelated to the Macondo Well or the

Incident.

       Subject to their specific and general objections, the BP Parties state that the report

entitled “Follow Up Rig Audit, Marine Assurance Audit and Out of Service Period” (“BP

September 2009 Audit Report”) disclosed that the ESD fault and inhibit alarm conditions

were indicated on the bridge fire and gas panel, and that control of alarms, defeats, and

bypasses was not well managed. Individuals who sent or received the September 2009

Audit Report on or before April 20, 2010, may have been aware of these findings. In

addition, the burden of deriving or ascertaining the identities of the individuals who sent or

received the September 2009 Audit Report is substantially the same for Anadarko as it is for

the BP Parties, and the BP Parties therefore refer Anadarko to their response to Interrogatory




                                              2
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 59 of 178




No. 22 and to the September 2009 Audit Report produced in accordance with Federal Rule

of Civil Procedure 33(d).

       To the extent Anadarko’s interrogatory seeks additional information, the BP Parties

object on the grounds that it is overbroad, unreasonable, unduly burdensome, and seeks

information not relevant to the claims or defenses of any party.


INTERROGATORY NO. 2:

       Please IDENTIFY each PERSON with whom YOUR EMPLOYEES communicated,
on or before April 20, 2010, REGARDING the functionality of each system on the DEEP
WATER HORIZON’S BOP and marine riser, including but not limited to the battery packs,
solenoid valves and coils, yellow and blue control pods, shear rams, bore rams, test rams,
choke/kill lines and valves, and annular preventers; IDENTIFY all other PERSONS
involved in those COMMUNICATIONS; and DESCRIBE in detail the substance of each
COMMUNICATION.

RESPONSE TO INTERROGATORY NO. 2:

       The BP Parties object to this interrogatory on the grounds that it is overbroad and

unduly burdensome because, among other things, it seeks identification of “each person”

with whom employees of the BP Parties communicated, and all other persons involved in

such communications, “regarding the functionality of the BOP and marine riser” for the

Deepwater Horizon and all “other [people] involved in [such] communications” without

limitation as to when such communication occurred and whether such communication was

relevant and reasonably calculated to the discovery of admissible evidence. The BP Parties

further object to this interrogatory as overbroad and unduly burdensome to the extent it

requests that the BP Parties “describe in detail the substance of each communication.”

       Subject to their specific and general objections, and in accordance with Federal Rule

of Civil Procedure 33(d) the BP Parties refer Anadarko to their responses to Interrogatory

No. 31 and Requests for Production No. 131, in The BP Parties Responses and Objections to


                                              3
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 60 of 178




Plaintiffs’ Interrogatories, Requests for Production, and Requests for Admission, served on

All Counsel on December 8, 2010, as the burden of deriving or ascertaining the answer to

this interrogatory is substantially the same for Anadarko as it is for the BP Parties.

       To the extent Anadarko’s interrogatory seeks additional information, the BP Parties

object on the grounds that it is overbroad, unreasonable, unduly burdensome, and seeks

information not relevant to the claims or defenses of any party.


INTERROGATORY NO. 3:

        Excluding the MACONDO WELL, please IDENTIFY and DESCRIBE in detail
(including, but not limited to, the name and location of the well, the date, and the
IDENTITY of YOUR well site leader and well team leader for each well identified) any and
all instances in YOUR drilling of DEEPWATER WELLS in the last 10 years in which YOU
directed YOUR cement contractor to proceed with a cement job when Opticem or similar
modeling showed the well would have a severe gas flow problem.

RESPONSE TO INTERROGATORY NO. 3:

       The BP Parties object to this interrogatory on the grounds that (i) Anadarko’s use of the

phrases “deepwater wells,” “similar modeling” and “severe gas flow problem” is vague,

ambiguous, and undefined; and (ii) it is overbroad, unreasonable, and unduly burdensome.

       Subject to their specific and general objections, the BP Parties will conduct a search of

non-privileged documents for Halliburton Opticem reports for cement jobs on the production of

wells in the Gulf of Mexico that show a calculation of the gas flow potential (“GFP”) value that

correlates to a “severe” rating on Halliburton’s scale where that cement job was executed as

described, and will produce responsive documents identified as a result of that search.

Accordingly, the burden of deriving or ascertaining the answer to this interrogatory is

substantially the same for Anadarko as it is for the BP Parties, and the BP Parties therefore refer

Anadarko to these documents in accordance with Federal Rule of Civil Procedure 33(d).



                                                4
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 61 of 178




       To the extent Anadarko’s interrogatory seeks additional information, the BP Parties

object on the grounds that it is overbroad, unreasonable, unduly burdensome, and seeks

information not relevant to the claims or defenses of any party.


INTERROGATORY NO. 4:

       Excluding the MACONDO WELL, please IDENTIFY and DESCRIBE in detail each
instance in the last 10 years in which an Opticem or similar modeling report indicated that,
with the number of centralizers YOU chose to use (and actually did use) in a well, there was
a severe gas flow problem, including but not limited to, the name and location of the well,
the date, the names of YOUR well site leader and well team leader for each well identified,
the number of centralizers used and the gas flow potential indicated by modeling.

RESPONSE TO INTERROGATORY NO. 4:

       The BP Parties object to this interrogatory on the grounds that (i) Anadarko’s use of the

phrases “similar modeling report” and “severe gas flow problem” is vague, ambiguous, and

undefined; and (ii) it is overbroad, unreasonable, and unduly burdensome.

       Subject to their specific and general objections, the BP Parties will conduct a search of

non-privileged documents for Halliburton Opticem reports for cement jobs on the production

interval of wells in the Gulf of Mexico that show a calculation of the gas flow potential (“GFP”)

value that correlates to a “severe” rating on Halliburton’s scale where that cement job was

executed as described, and will produce responsive documents identified as a result of that

search. Accordingly, the burden of deriving or ascertaining the answer to this interrogatory is

substantially the same for Anadarko as it is for the BP Parties, and the BP Parties therefore refer

Anadarko to these documents in accordance with Federal Rule of Civil Procedure 33(d).

       To the extent Anadarko’s interrogatory seeks additional information, the BP Parties

object on the grounds that it is overbroad, unreasonable, unduly burdensome, and seeks

information not relevant to the claims or defenses of any party.



                                                5
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 62 of 178




INTERROGATORY NO. 5:

        Excluding the MACONDO WELL, please IDENTIFY and DESCRIBE in detail
(including the name and location of the well, the date, and the IDENTITY of YOUR well
site leader and well team leader for each well identified) any and all instances in YOUR
drilling of DEEPWATER WELLS or use of MODUs in the last 10 years in which YOU had
no onshore real-time monitoring process to assess what was happening in the well on a
continuing basis.

RESPONSE TO INTERROGATORY NO. 5:

       The BP Parties object on the grounds that this interrogatory is overbroad,

unreasonable, unduly burdensome, and seeks information not relevant to the claims or

defenses of any party. The BP Parties further object to this interrogatory on the grounds that

the term “assess” and the phrases “real-time monitoring process” and “on a continuing

basis” are vague and ambiguous.


INTERROGATORY NO. 6:

        Excluding the MACONDO WELL, please IDENTIFY and DESCRIBE in detail
(including the name and location of the well, the date, and the IDENTITY of YOUR well
site leader and well team leader) any and all instances in YOUR drilling of DEEPWATER
WELLS or use of MODUs in the last 10 years in which YOU changed YOUR well site
leader within one week of the commencement of temporary abandonment procedures.

RESPONSE TO INTERROGATORY NO. 6:

       The BP Parties object on the grounds that this interrogatory is overbroad,

unreasonable, unduly burdensome, and seeks information not relevant to the claims or

defenses of any party.


INTERROGATORY NO. 7:

        Excluding the MACONDO WELL, please IDENTIFY and DESCRIBE in detail
(including the name and location of the well, the date, and the IDENTITY of YOUR well
site leader and well team leader) any and all instances in YOUR drilling of DEEPWATER
WELLS or use of MODUs in the last 10 years in which YOU failed to keep track of fluid
losses or gains in the well and the riser (including via monitoring of pit levels or of fluids
being pumped into the well and flowing out of the well).

                                              6
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 63 of 178




RESPONSE TO INTERROGATORY NO. 7:

         The BP Parties object on the grounds that this interrogatory is overbroad,

unreasonable, unduly burdensome, not reasonably likely to lead to the discovery of

admissible evidence, and seeks information not relevant to the claims or defenses of any

party.    The BP Parties further object to this request to the extent that it purports to

mischaracterize the conduct of various activities on the well as being conducted primarily by

BP or BP personnel, when in fact those activities are conducted by employees of the rig

owner and/or other specialized third party personnel. The BP Parties also object that this

interrogatory calls for information outside of BP’s possession, custody, or control and/or

requires BP to ascertain information that is equally available (or unavailable) to Anadarko

because such information is in the hands of third parties. In addition, the BP Parties object

to this interrogatory as argumentative to the extent that it assumes BP had a non-delegable

responsibility to monitor at every moment the flow of fluids into and out of the well and/or

assumes BP has not properly delegated such a responsibility, if any, and/or assumes that

third parties, including the rig operator or persons providing mud logging services, did not

properly assume the responsibility to monitor the inflow and outflow of fluids from the well.

         Subject to their specific and general objections, the BP Parties will conduct a

reasonable search of non-privileged documents related to the lack of monitoring fluid losses

or gains in the well and the riser, and will produce responsive documents identified as a

result of that search pursuant to Federal Rule of Civil Procedure 33 on the grounds that

whether BP "failed to keep track of fluid losses or gains in the well" will be as easily

ascertainable to the requesting party as the BP Parties.




                                               7
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 64 of 178




       To the extent Anadarko’s interrogatory seeks additional information, the BP Parties

object on the grounds that it is overbroad, unreasonable, unduly burdensome, and seeks

information not relevant to the claims or defenses of any party.


INTERROGATORY NO. 8:

        Excluding the MACONDO WELL, please IDENTIFY and DESCRIBE in detail
(including the name and location of the well, the date, and the IDENTITY of YOUR well
site leader and well team leader) any and all instances in YOUR drilling of DEEPWATER
WELLS or use of MODUs in the last 10 years in which YOU chose to use a long string in
lieu of a liner in a deep high-pressure well being installed in formations exhibiting different
pore pressures in the open-hole interval.

RESPONSE TO INTERROGATORY NO. 8:

       The BP Parties object to identifying and describing in detail any and all instances of

drilling deepwater wells or use of MODUs in the last 10 years in which BP chose to use a

long string liner in a deep high-pressure well being installed in formations exhibiting

different pore pressures in the open-hole interval without regard to the location of the well.

The BP Parties object to this interrogatory as vague and ambiguous to the extent that it

implies there is a choice to use a long string “in lieu” of a liner. The BP Parties further

object to this interrogatory to the extent that “installed in formations exhibiting different

pore pressures in the open-hole interval” is vague and ambiguous.

       Subject to their specific and general objections, the BP Parties state that they are

analyzing available information and will identify deepwater wells drilled in the Gulf of

Mexico in the last five years where the production casing used in the well was a long string

or production casing. In addition, the burden of deriving or ascertaining the answer to

portions of this interrogatory is substantially the same for Anadarko as it is for the BP

Parties as information related to well designs in the Gulf of Mexico is publicly available



                                              8
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 65 of 178




through the BOEMRE; further the BP Parties refer Anadarko to documents previously

produced at BP-HZN-BLY00000001 to BP-HZN-BLY00000372.

         To the extent that Anadarko’s interrogatory seeks additional information, the BP

Parties object on the grounds that it is overbroad, unduly burdensome, and seeks information

not relevant to the claims or defenses of any party.


INTERROGATORY NO. 9:

        Excluding the MACONDO WELL, please IDENTIFY and DESCRIBE in detail
(including the name and location of the well, the date, and the IDENTITY of YOUR well
site leader and well team leader) any and all instances in YOUR drilling of DEEPWATER
WELLS or use of MODUs in the last 10 years in which YOU did not conduct a full
bottoms-up circulation of drilling mud prior to cementing.

RESPONSE TO INTERROGATORY NO. 9:

         The BP Parties object to this interrogatory on the grounds that (i) Anadarko’s use of the

phrases “deepwater wells” and “use of MODUs” is vague, ambiguous, and undefined; and (ii) it

is overbroad, unreasonable, and unduly burdensome.

         Subject to their specific and general objections, the BP Parties will conduct a search of

non-privileged documents for post-job reports for cement jobs on the production interval of wells

in the Gulf of Mexico since January 1, 2009 where a full bottoms-up circulation of drilling mud

was not conducted before cementing, and will produce responsive documents identified as a

result of that search. Accordingly, the burden of deriving or ascertaining the answer to this

interrogatory is substantially the same for Anadarko as it is for the BP Parties, and the BP Parties

therefore refer Anadarko to these documents in accordance with Federal Rule of Civil Procedure

33(d).




                                                 9
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 66 of 178




       To the extent Anadarko’s interrogatory seeks additional information, the BP Parties

object on the grounds that it is overbroad, unreasonable, unduly burdensome, and seeks

information not relevant to the claims or defenses of any party.


INTERROGATORY NO. 10:

        Excluding the MACONDO WELL, please IDENTIFY and DESCRIBE in detail
(including the name and location of the well, the date, and the IDENTITY of YOUR well
site leader and well team leader) any and all instances in YOUR drilling of DEEPWATER
WELLS or use of MODUs in the last 10 years in which YOU used a pressure greater than
2000 psi to establish sufficient circulation to convert the float collar in preparation for
cementing.

RESPONSE TO INTERROGATORY NO. 10:

       The BP Parties object on the grounds that (i) Anadarko’s use of the phrases “deepwater

wells,” “use of MODUs” and “used a pressure greater than 2000 psi to establish sufficient

circulation to convert the float collar” is vague, ambiguous, and undefined; and (ii) it is

overbroad, unreasonable, and unduly burdensome.

       Subject to their specific and general objections, the BP Parties will conduct a search of

non-privileged documents for post-job reports for cement jobs on the production interval of wells

in the Gulf of Mexico since January 1, 2009 where the float equipment was converted at a

pressure greater than 2000 psi, and will produce responsive documents identified as a result of

that search. Accordingly, the burden of deriving or ascertaining the answer to this interrogatory

is substantially the same for Anadarko as it is for the BP Parties, and the BP Parties therefore

refer Anadarko to these documents in accordance with Federal Rule of Civil Procedure 33(d).

       To the extent Anadarko’s interrogatory seeks additional information, the BP Parties

object on the grounds that it is overbroad, unreasonable, unduly burdensome, and seeks

information not relevant to the claims or defenses of any party.



                                                10
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 67 of 178




INTERROGATORY NO. 11:

        Excluding the MACONDO WELL, please IDENTIFY and DESCRIBE in detail
(including the name and location of the well, the date, and the IDENTITY of YOUR well
site leader and well team leader) any and all instances in YOUR drilling of DEEPWATER
WELLS or use of MODUs in the last 10 years in which YOU had to attempt more than five
(5) times to convert the float collar before it was declared converted prior to cementing.

RESPONSE TO INTERROGATORY NO. 11:

         The BP Parties object on the grounds that (i) Anadarko’s use of the phrases “deepwater

wells,” “use of MODUs” and “attempt more than five (5) times to convert the float collar before

it was declared converted” is vague, ambiguous, and undefined; and (ii) it is overbroad,

unreasonable, and unduly burdensome.

         Subject to their specific and general objections, the BP Parties will conduct a search of

non-privileged documents for post-job reports for cement jobs on the production interval of wells

in the Gulf of Mexico since January 1, 2009 where the pressure was increased more than five

times in an attempt to convert the float collar, and will produce responsive documents identified

as a result of that search. Accordingly, the burden of deriving or ascertaining the answer to this

interrogatory is substantially the same for Anadarko as it is for the BP Parties, and the BP Parties

therefore refer Anadarko to these documents in accordance with Federal Rule of Civil Procedure

33(d).

         To the extent Anadarko’s interrogatory seeks additional information, the BP Parties

object on the grounds that it is overbroad, unreasonable, unduly burdensome, and seeks

information not relevant to the claims or defenses of any party.


INTERROGATORY NO. 12:

       Excluding the MACONDO WELL, please IDENTIFY and DESCRIBE in detail any
and all instances in YOUR drilling of DEEPWATER WELLS or use of MODUs in the last
10 years in which YOU used nitrogen foamed cement, including the name and location of
the well, the date, the IDENTITY of YOUR well site leader and well team leader for each

                                                11
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 68 of 178




well identified, and the length of time YOU permitted the cement to set prior to a negative
pressure test.

RESPONSE TO INTERROGATORY NO. 12:

       The BP Parties object to this interrogatory on the grounds that it is overbroad,

unreasonable, and unduly burdensome.

       Subject to their specific and general objections, the BP Parties will conduct a search of

non-privileged documents for post-job reports for cement jobs on the production interval of wells

in the Gulf of Mexico since January 1, 2009 where nitrogen foamed cement was used, and will

produce responsive documents identified as a result of that search. Accordingly, the burden of

deriving or ascertaining the answer to this interrogatory is substantially the same for Anadarko as

it is for the BP Parties, and the BP Parties therefore refer Anadarko to these documents in

accordance with Federal Rule of Civil Procedure 33(d).

       To the extent Anadarko’s interrogatory seeks additional information, the BP Parties

object on the grounds that it is overbroad, unreasonable, unduly burdensome, and seeks

information not relevant to the claims or defenses of any party.


INTERROGATORY NO. 13:

        Excluding the MACONDO WELL, please IDENTIFY and DESCRIBE in detail
(including the name and location of the well, the date, and the IDENTITY of YOUR well
site leader and well team leader for each well identified) any and all instances of drilling of
DEEPWATER WELLS or use of MODUs in the last 10 years in which YOU performed a
temporary abandonment procedure that differed from the one YOU actually submitted to,
and that was approved by, the US Minerals Management Service (MMS) or Bureau of
Ocean Energy Management (BOEM).

RESPONSE TO INTERROGATORY NO. 13:

       The BP Parties object on the grounds that this interrogatory is overbroad,

unreasonable, unduly burdensome, and seeks information not relevant to the claims or

defenses of any party.

                                                12
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 69 of 178




INTERROGATORY NO. 14:

       Please IDENTIFY and DESCRIBE in detail every instance in which a temporary
abandonment procedure substantially like that performed on the MACONDO WELL
(including displacement to more than 2000’ below mud level before negative testing) on or
about April 19-20, 2010 was performed by YOU on any other DEEPWATER WELL,
including in YOUR response the name and location of the well, the date(s) the temporary
abandonment procedure was performed on such well, and the names of the well site leader
and well team leader for each such well identified.

RESPONSE TO INTERROGATORY NO. 14:

       The BP Parties object to this request as vague and ambiguous in seeking procedures

“substantially like” that performed at the Macondo Well.

       Subject to their specific and general objections, the BP Parties will produce

temporary abandonment procedures which BP has previously produced to the National

Commission on the Deepwater Horizon Oil Spill and Offshore Drilling, namely those

temporary abandonment procedures filed with the Bureau of Ocean Energy Management,

Regulation and Enforcement (BOEM) from 2005 through 2010 for deepwater wells in the

Gulf of Mexico (BP-HZN-OSC-00005668 - BP-HZN-OSC-00006249).

       To the extent Anadarko’s interrogatory seeks additional information, the BP Parties

object on the grounds that it is overbroad, unreasonable, unduly burdensome, and seeks

information not relevant to the claims or defenses of any party.


INTERROGATORY NO. 15:

     Please STATE whether, in YOUR view, the blind shear ram of the DEEP WATER
HORIZON BLOWOUT PREVENTER failed to operate properly during the INCIDENT and
DESCRIBE in detail the basis of YOUR answer.

RESPONSE TO INTERROGATORY NO. 15:

       The BP Parties object to this interrogatory on the grounds that Anadarko’s use of the

phrase “failed to operate properly” in this interrogatory is vague, ambiguous, and undefined,


                                              13
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 70 of 178




and could call for more than one interpretation. Furthermore, the BP Parties object to this

interrogatory as premature to the extent it seeks opinions and information that are the

subject of expert testimony and to the extent it seeks opinions and information regarding the

Deepwater Horizon before the inspection of the blowout preventer by the Joint Investigation

Team is complete and while inspection and analysis is continuing.

       Subject to their specific and general objections, the BP Parties state as follows: Based

on presently available information, it is understood that the blind shear ram of the

Deepwater Horizon blowout preventer did not seal the Macondo well on or after April 20,

2010. At this time, given the ongoing BOP Forensic Inspection and the unavailability of the

BOP to the BP Parties for inspection outside of the BOP Forensic Inspection process, it

would be premature for the BP Parties to express a view regarding whether and to what

extent the blind shear ram operated properly. The BP Parties reserve the right under Fed. R.

Civ. P. 26(e) to supplement, amend, or change this response after sufficient time for

discovery of additional bases or supporting facts.

       To the extent Anadarko’s interrogatory seeks additional information, the BP Parties

object on the grounds that it is overbroad, unreasonable, unduly burdensome, and seeks

information not relevant to the claims or defenses of any party.


INTERROGATORY NO. 16:

      Please STATE the density of the base oil spacer fluid used during the MACONDO
WELL cement job performed on April 19 - 20, 2010; whether it was the correct density to
prevent inversion, and whether contamination occurred, and DESCRIBE in detail the basis
of YOUR answer.

RESPONSE TO INTERROGATORY NO. 16:

       The BP Parties object to this interrogatory on the grounds that it is comprised of multiple

discrete subparts that count as individual interrogatories under Fed. R. Civ. P. 33. The BP

                                               14
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 71 of 178




Parties object to this interrogatory because Anadarko’s use of the phrases “correct density to

prevent inversion” and “whether contamination occurred” is vague, ambiguous, and undefined.

The BP Parties further object that this information is in the possession, custody and control of

Halliburton.

       Subject to their specific and general objections, the BP Parties state that in accordance

with its April 18, 2010 job recommendation, Halliburton pumped 6.7 pound per gallon base oil

as a spacer. The BP Parties will supplement their response to this interrogatory after they have

an opportunity to seek discovery from Halliburton on the modeling that it performed on use of

6.7 pound per gallon base oil as a spacer.

       To the extent Anadarko’s interrogatory seeks additional information, the BP Parties

object on the grounds that it is overbroad, unreasonable, unduly burdensome, and seeks

information not relevant to the claims or defenses of any party.


INTERROGATORY NO. 17:

       Please DESCRIBE in detail why YOUR EMPLOYEES decided not to spot heavy
mud (16.5 ppg or higher) in the rat hole prior to the MACONDO WELL cement job
performed on April 19-20, 2010, the data upon which they based that decision, and any
other basis for their decision, and IDENTIFY each PERSON who made or was involved in
that decision.

RESPONSE TO INTERROGATORY NO. 17:

       The BP Parties object to this interrogatory because Anadarko’s use of the phrase “spot

heavy mud” is vague, ambiguous, and undefined.

       Subject to their specific and general objections, on information and belief, the BP Parties

state that the BP wells team decided not to spot heavy mud (16.5 ppg or higher) based on, among

other things, the measured pressure profile of the Macondo well and the difficulty of placing a

small pill of heavy mud in the rathole. The BP Parties state that they have produced the well


                                                15
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 72 of 178




data at Bates Nos. BP-HZN-MBI00021177; BP-HZN-MBI00021179; BP-HZN-MBI00019413;

BP-HZN-MBI00019414;          BP-HZN-MBI0019415;          BP-HZN-MBI00139647          -   BP-HZN-

MBI00139651; BP-HZN-MBI00193578 - BP-HZN-MBI00193587; BP-HZN-MBI00190522 -

00192367; BP-HZN-MBI00193200 - 00193440; BP-HZN-2179MDL00001784 - BP-HZN-

2179MDL00048887; BP-HZN-2179MDL00057851 - BP-HZN-2179MDL00059941; and BP-

HZN-2179MDL00060032 - BPHZN-2179MDL00060047; BP-HZN-BLY00000202; BP-HZN-

BLY00000203.        Accordingly, the burden of deriving or ascertaining the answer to this

interrogatory is substantially the same for Anadarko as it is for the BP Parties, and the BP Parties

therefore refer Anadarko to these documents in accordance with Federal Rule of Civil Procedure

33(d).

         To the extent Anadarko’s interrogatory seeks additional information, the BP Parties

object on the grounds that it is overbroad, unreasonable, unduly burdensome, and seeks

information not relevant to the claims or defenses of any party.


INTERROGATORY NO. 18:

        Excluding the MACONDO WELL, please IDENTIFY and DESCRIBE in detail
(including the name and location of the well, the date, and the IDENTITY of YOUR well
site leader and well team leader for each well identified) any and all instances in YOUR
drilling of DEEPWATER WELLS or use of MODUs in the last 10 years in which YOU
have not spotted heavy mud (16.5 ppg or higher) in the rat hole prior to performing a cement
job on a final casing string.

RESPONSE TO INTERROGATORY NO. 18:

         The BP Parties object on the grounds that (i) Anadarko’s use of the phrases “spotted

heavy mud,” “deepwater well” and “use of MODUs” is vague, ambiguous, and undefined; and

(ii) it is overbroad, unreasonable, and unduly burdensome.

         Subject to their specific and general objections, the BP Parties will conduct a search of

non-privileged documents for drilling programs for production intervals of wells in the Gulf of

                                                16
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 73 of 178




Mexico since January 1, 2009, where heavy mud (16.5 ppg or higher) was not placed in the rat

hole before performing a cement job, and will produce responsive documents identified as a

result of that search. Accordingly, the burden of deriving or ascertaining the answer to this

interrogatory is substantially the same for Anadarko as it is for the BP Parties, and the BP Parties

therefore refer Anadarko to these documents in accordance with Federal Rule of Civil Procedure

33(d).

         To the extent Anadarko’s interrogatory seeks additional information, the BP Parties

object on the grounds that it is overbroad, unreasonable, unduly burdensome, and seeks

information not relevant to the claims or defenses of any party.


INTERROGATORY NO. 19:

        Please STATE whether the float collar was converted prior to the start of the
MACONDO WELL cement job that was performed on April 19 - 20, 2010 and DESCRIBE
in detail the reasons and basis for whatever action was taken or not taken in this respect.

RESPONSE TO INTERROGATORY NO. 19:

         The BP Parties object to this interrogatory on the grounds that it is comprised of multiple

discrete subparts that count as individual interrogatories under Fed. R. Civ. P. 33. The BP

Parties object on the grounds that (i) Anadarko’s use of the phrase “the reasons and basis for

whatever action was taken or not taken in this respect” is vague, ambiguous, and undefined; and

(ii) it is overbroad, unreasonable, and unduly burdensome.

         Subject to their specific and general objections, the BP Parties state that they have

produced documents at Bates Nos. BP-HZN-BLY00000001 - BP-HZN-BLY00000760; BP-

HZN-2179MDL00321876 describing the actions taken and the conversion of the float collar.

Accordingly, the burden of deriving or ascertaining the answer to this interrogatory is




                                                 17
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 74 of 178




substantially the same for Anadarko as it is for the BP Parties, and the BP Parties therefore refer

Anadarko to these documents in accordance with Federal Rule of Civil Procedure 33(d).

       To the extent Anadarko’s interrogatory seeks additional information, the BP Parties

object on the grounds that it is overbroad, unreasonable, unduly burdensome, and seeks

information not relevant to the claims or defenses of any party.


INTERROGATORY NO. 20:

        Please STATE whether, following the ninth attempt to convert the float collar, the
circulating pressure of the MACONDO WELL was lower than expected, including in
YOUR response the expected range of circulating pressure after conversion of the float
collar and the actual circulating pressure that was obtained.

RESPONSE TO INTERROGATORY NO. 20:

       The BP Parties object to this interrogatory on the grounds that it is comprised of multiple

discrete subparts that count as individual interrogatories under Fed. R. Civ. P. 33. The BP

Parties object to this interrogatory on the grounds that (i) Anadarko’s’ use of the phrase

“expected range of circulating pressure” is vague, ambiguous, and undefined; and (ii) it is

overbroad, unreasonable, and unduly burdensome.

       Subject to their specific and general objections, the BP Parties state that following the

ninth attempt to convert the float equipment on April 19, 2010, at 16:20, the circulation pressure

of 340 psi did not match modeling results of 570 psi at a pump rate of four barrels per minute.

       To the extent Anadarko’s interrogatory seeks additional information, the BP Parties

object on the grounds that it is overbroad, unreasonable, unduly burdensome, and seeks

information not relevant to the claims or defenses of any party.


INTERROGATORY NO. 21:

      Please STATE whether the annular preventer did or did not seal around the drill pipe,
and whether the annular preventer allowed spacer to leak down below the annular preventer

                                                18
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 75 of 178




during the first negative pressure test of April 20, 2010, and DESCRIBE in detail the basis
of YOUR answer.

RESPONSE TO INTERROGATORY NO. 21:

       The BP Parties object to this interrogatory as calling for a conclusive answer to a

request for which no definitive answer can be known. The BP Parties further object to the

extent that this interrogatory calls for information likely in the possession of other parties,

e.g., the Transocean personnel that worked to set up and monitor the negative pressure test

on April 20, 2010.

       Subject to their specific and general objections, the BP Parties state as follows: In

preparation for the negative test, mud in the boost line, choke line, kill line, drill pipe and

upper part of the production casing was displaced to seawater.         To provide separation

between the mud and the seawater in the casing, a spacer was pumped down the drill pipe

ahead of the seawater. The annular preventer was then closed to isolate the hydrostatic head

of the fluids in the riser from the well. Based on real-time data and pump volumes, it is

possible that the annular preventer may not have sealed around the drill pipe, and may have

resulted in heavy spacer leaking down past the annular preventer.

       To the extent Anadarko’s interrogatory seeks additional information, the BP Parties

object on the grounds that it is overbroad, unreasonable, unduly burdensome, and seeks

information not relevant to the claims or defenses of any party.


INTERROGATORY NO. 22:

       IDENTIFY which of YOUR EMPLOYEES communicated or transmitted your audit
report to TRANSOCEAN, on what date, and DESCRIBE in detail what TRANSOCEAN
did in response to that report, including what maintenance it performed, and any follow up
YOU requested.




                                              19
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 76 of 178




RESPONSE TO INTERROGATORY NO. 22:

       The BP Parties object to this interrogatory because the terms “your audit report” and

“follow up” as used in this interrogatory are vague, ambiguous and undefined because,

among other things, the terms are not limited to any particular audits or any subject matter.

The BP Parties also object to this interrogatory as overbroad and unduly burdensome to the

extent it seeks information beyond the BP Parties’ control or knowledge and that is more

readily available from other parties to this litigation, including information relating to

actions taken by employees of other entities including the Transocean Defendants.

       Subject to their specific and general objections, the BP Parties state that the identities

of the BP employees who communicated or transmitted the BP September 2009 Audit

Report to Transocean, the date on which such communication or transmittal occurred, and

the follow up requested by BP on the audit findings are recorded in electronic

communications. Detailed information about the actions taken by Transocean employees in

response to the report is likely more readily available from the Transocean Defendants.

Nonetheless, to the extent this information is recorded in electronic communications, the BP

Parties have produced or will produce such communications in their possession. In addition,

the burden of deriving or ascertaining the answer to this interrogatory is substantially the

same for Anadarko as it is for the BP Parties, and the BP Parties therefore refer Anadarko to

the following documents in accordance with Federal Rule of Civil Procedure 33(d):

       BP-HZN-2179MDL00095246-BP-HZN-2179MDL00095247

       BP-HZN-2179MDL00095248-BP-HZN-2179MDL00095307

       BP-HZN-2179MDL00095308-BP-HZN-2179MDL00095366

       BP-HZN-2179MDL00095367-BP-HZN-2179MDL00095425



                                              20
Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 77 of 178




    BP-HZN-2179MDL00340713

    BP-HZN-2179MDL00340714

    BP-HZN-2179MDL00340255

    BP-HZN-2179MDL00340256

    BP-HZN-2179MDL00349001

    BP-HZN-2179MDL00349002

    BP-HZN-2179MDL00357339

    BP-HZN-2179MDL00357340

    BP-HZN-2179MDL00028728

    BP-HZN-2179MDL00028729

    BP-HZN-2179MDL00028730

    BP-HZN-2179MDL00028731

    BP-HZN-2179MDL00096163

    BP-HZN-2179MDL00096164

    BP-HZN-2179MDL00096165

    BP-HZN-2179MDL00096235

    BP-HZN-2179MDL00096236

    BP-HZN-2179MDL00096237

    BP-HZN-2179MDL00033637

    BP-HZN-2179MDL00033638

    BP-HZN-2179MDL00372058

    BP-HZN-2179MDL00372059-BP-HZN-2179MDL00372060.




                                   21
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 78 of 178




       The BP Parties further state that BP’s efforts to verify Transocean’s progress on

closing out the recommendations from BP’s September 2009 Audit include, but are not

limited to, the following:


   •   Angel Rodriguez, a Marine Advisor with BP’s Gulf of Mexico Marine Group, followed-

       up with Transocean to verify Transocean’s progress on closing out the marine findings

       from the September 2009 Audit by: (i) visiting the Deepwater Horizon in October 2009

       and March 2010; (ii) attending numerous daily morning meetings with Transocean’s Rig

       Manager Paul Johnson and BP’s Wells Team Leader Alexander John Guide to discuss

       the audit findings; and (iii) contacting the Deepwater Horizon’s Captain on a bi-weekly

       basis to get an update on Transocean’s progress towards closing out the audit findings.


   •   In December 2009, BP’s Marine Advisor Angel Rodriguez, BP’s Wells Team Leader

       Alexander John Guide, and BP’s Drilling Engineer Brett Cocales met with Transocean’s

       Rig Manager Paul Johnson to further discuss Transocean’s progress on closing out audit

       items.


   •   BP’s Wells Manager Alexander John Guide spoke with Transocean’s Rig Manager Paul

       Johnson approximately once every week to ten days about the progress Transocean was

       making on the audit findings.


   •   BP’s Wells Manager Alexander John Guide visited the Deepwater Horizon once a month

       with Transocean’s Rig Manager Paul Johnson to assess Transocean’s progress with

       closeout of the September 2009 Audit recommendations.




                                               22
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 79 of 178




       To the extent Anadarko’s interrogatory seeks additional information, the BP Parties

object on the grounds that it is overbroad, unreasonable, unduly burdensome, and seeks

information not relevant to the claims or defenses of any party.


INTERROGATORY NO. 23:

       Please DESCRIBE all systems, procedures, or protocols in place so that BP would be
notified or otherwise made aware of any maintenance on, modifications to, or malfunctions
with any part of the DEEP WATER HORIZON or the BOP.

RESPONSE TO INTERROGATORY NO. 23:

       The BP Parties object to this interrogatory because it is overbroad and unduly

burdensome to the extent it seeks a description of all systems, procedures, or protocols at any

time without regard to whether information about such systems, procedures, or protocols is

reasonable calculated to lead to the discovery of admissible evidence. The BP Parties also object

to this interrogatory as overbroad and unduly burdensome to the extent it seeks information more

readily available from other parties in this litigation, such as Transocean, who owned, operated

and performed most maintenance on the Deepwater Horizon and its blowout preventer. Further,

the BP Parties object to this interrogatory because the terms “systems,” “procedures,” or

“protocols” are vague, ambiguous, and undefined and could be read to call for irrelevant

information unrelated to the Macondo Well or the Incident.


INTERROGATORY NO. 24:

       Please DESCRIBE all information and instructions provided to Mr. Kaluza regarding
the role, purpose of, scope, and nature of his assignment on the DEEP WATER HORIZON,
who provided such information or instructions, and when such information or instructions
were provided.




                                               23
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 80 of 178




RESPONSE TO INTERROGATORY NO. 24:

       The BP Parties object to this interrogatory on the grounds that it is vague,

ambiguous, and overbroad.

       Subject to and without waiving their specific and general objections, the BP Parties

state that based on a review of documents, Mr. Kaluza received information and instructions

regarding the role, purpose, scope, and nature of his assignment on the Deepwater Horizon

through emails from, among others, Alexander John Guide (including BP-HZN-

MBI00171854 and BP-HZN-2179MDL00317359), Don Vidrine (including BP-HZN-

MBI00255306-7, BP-HZN-MBI00255314-15, BP-HZN-2179MDL00048841,                    BP-HZN-

MBI00255316, BP-HZN-MBI00255327 and BP-HZN-MBI00089411), Ronnie Sepulvado

(including BP-HZN-MBI00199336, BP-HZN-MBI00088756, BP-HZN-MBI00127163, BP-

HZN-MBI00171864 and BP-HZN-MBI00171869) and Brian Morel (including BP-HZN-

MBI00255049, BP-HZN-MBI00171861, BP-HZN-MBI00088857, BP-HZN-MBI00089416

and BP-HZN-MBI00128690). He also received information regarding the state of the rig

and progress on the well from morning meetings with rig personnel.

       To the extent Anadarko’s interrogatory seeks additional information, the BP Parties

object on the grounds that it is overbroad, unreasonable, unduly burdensome, and seeks

information not relevant to the claims or defenses of any party.


INTERROGATORY NO. 25:

       Please IDENTIFY any internal reorganizations that occurred within BP in 2009 or
2010 that involved personnel responsible for any activities RELATING TO the MACONDO
WELL or the DEEP WATER HORIZON. For each reorganization, please IDENTIFY the
reason for the reorganization and whose positions, titles, or job responsibilities were
changed and how they were changed, including any changes in the supervisor or person to
whom the individual reported.



                                              24
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 81 of 178




RESPONSE TO INTERROGATORY NO. 25:

       Subject to their specific and general objections, the BP Parties will conduct a

reasonable search of non-privileged documents for: 1) organizational charts that describe the

structure of the engineering and operations personnel assigned to the Drilling and

Completions (D&C) function in the Gulf of Mexico (GOM) Strategic Performance Unit

(SPU) in 2009; 2) organizational charts that describe the structure of the engineering and

operations personnel assigned to the D&C function in the GOM SPU as of April 2010; 3)

the November 2009 GOM D&C Operating Plan and Local OMS manual, which includes a

RACI chart describing the roles and responsibilities of GOM D&C personnel; and 4) the

GOM Exploration and Appraisal Communication Plan dated September 2009 (Rev. 3),

which addresses project organization and accountability for the Macondo Well, and will

produce responsive documents identified as a result of that search.

       To the extent Anadarko’s interrogatory seeks additional information, the BP Parties

object on the grounds that it is overbroad, unreasonable, unduly burdensome, and seeks

information not relevant to the claims or defenses of any party.


                  REQUEST FOR PRODUCTION OF DOCUMENTS

REQUEST FOR PRODUCTION NO. 1:

       With regard to activities involving the DEEPWATER HORIZON and the
MACONDO WELL, please produce all DOCUMENTS and COMMUNICATIONS
REGARDING, referencing or RELATING TO all participation, contribution, comment,
input, planning, evaluation and roles YOU played in the design and utilization of
approximately 400 barrels of lost circulation material spacer fluid “pills” as spacer during
the MACONDO WELL activities of April 19 - 20, 2010.

RESPONSE TO REQUEST FOR PRODUCTION NO. 1:

       The BP Parties object to this request on the grounds that it seeks documents likely

more readily available from other parties in the litigation, such as M-I Swaco or the

                                              25
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 82 of 178




Transocean Defendants, and it purports to call for information beyond the BP Parties’

control or knowledge. The BP Parties object to this request that it is overbroad and unduly

burdensome to the extent that it seeks the production of “all” documents and

communications when a subset would suffice. The BP Parties object to this request to the

extent that “lost circulation material spacer fluid ‘pills’ as spacer” is vague and ambiguous.

       Subject to their specific and general objections, the BP Parties will conduct a

reasonable search of non-privileged documents regarding, referencing or relating to the

approximately 400 barrels of lost circulation material spacer fluid pills as spacer during the

Macondo Well activities of April 19-20, 2010 and will produce responsive documents

identified as a result of that search, including documents already produced in response to

Request for Production Nos. 65, 73, 122, 143, and 201 in The BP Parties’ Responses and

Objections to Plaintiffs’ Interrogatories, Requests for Production, and Requests for

Admission, served on All Counsel on December 8, 2010.

       To the extent Anadarko’s request seeks additional documents, the BP Parties object

on the grounds that it is overbroad, unreasonable, unduly burdensome and seeks information

not relevant to the claims or defenses of any party.


REQUEST FOR PRODUCTION NO. 2:

       Please produce any DOCUMENTS RELATING TO the DEEPWATER HORIZON or
the MACONDO WELL which were considered by YOU for transmission to but were not in
fact sent to the MMS or another GOVERNMENT agency between September 2009 and
April 20, 2010.

RESPONSE TO REQUEST FOR PRODUCTION NO. 2:

       The BP Parties object to this request to the extent that it purports to call for the

production of documents subject to attorney-client privilege. The BP Parties further object

to this request as vague as to the meaning of “considered by you for transmission” and

                                              26
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 83 of 178




burdensome as the documents sought by way of this request would not be kept in the way

described and are likely difficult to identify.

         Subject to their specific and general objections, the BP Parties will conduct a

reasonable search of non-privileged documents for draft MMS submissions that were not

ultimately submitted to the MMS, and will produce responsive documents identified as a

result of that search.

       To the extent Anadarko’s request seeks additional documents, the BP Parties object

on the grounds that it is overbroad, unreasonable, unduly burdensome, and seeks

information not relevant to the claims or defenses of any party.


REQUEST FOR PRODUCTION NO. 3:

       Please produce any test conducted on the casing for the MACONDO WELL that was
not sent to the MMS or another GOVERNMENT agency.

RESPONSE TO REQUEST FOR PRODUCTION NO. 3:

       The BP Parties object to this request on the grounds that it is overbroad and unduly

burdensome to the extent it seeks documents related to “any test” conducted on the casing

for the Macondo Well that was not sent to the MMS or any other government agent.

       Subject to their specific and general objections, the BP Parties will conduct a

reasonable search of non-privileged documents for any test conducted on the casing for the

Macondo Well that was not sent to the MMS or any other government agency, and will

produce responsive documents identified as a result of that search, if any.

       To the extent Anadarko’s request seeks additional documents, the BP Parties object

on the grounds that it is overbroad, unreasonable, unduly burdensome, and seeks

information not relevant to the claims or defenses of any party.



                                                  27
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 84 of 178




REQUEST FOR PRODUCTION NO. 4:

       Please produce Mr. Robert Kaluza’s telephone records for April 20 and 21, 2010.

RESPONSE TO REQUEST FOR PRODUCTION NO. 4:

       The BP Parties object to this request to the extent it calls for the BP Parties to

produce documents outside of its possession, custody, or control. The BP Parties object to

this request as ambiguous as to “Mr. Robert Kaluza’s telephone records.”

       Subject to their specific and general objections, the BP Parties will conduct a search

of non-privileged documents for records of Mr. Kaluza’s telephone calls made to or from

the BP telephone lines aboard the Deepwater Horizon, and will produce responsive

documents identified as a result of that search.

       To the extent Anadarko’s request seeks additional documents, the BP Parties object

on the grounds that it is overbroad, unreasonable, unduly burdensome, and seeks

information not relevant to the claims or defenses of any party.


REQUEST FOR PRODUCTION NO. 5:

       Please produce Mr. Donald Vidrine’s telephone records for April 20 and 21, 2010.

RESPONSE TO REQUEST FOR PRODUCTION NO. 5:

       The BP Parties object to this request to the extent it calls for the BP Parties to

produce documents outside of its possession, custody, or control. The BP Parties object to

this request as ambiguous as to “Mr. Donald Vidrine’s telephone records.”

       Subject to their specific and general objections, the BP Parties will conduct a search

of non-privileged documents for records of Mr. Vidrine’s telephone calls made to or from

the BP telephone lines aboard the Deepwater Horizon, and will produce responsive

documents identified as a result of that search.


                                              28
    Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 85 of 178




        To the extent Anadarko’s request seeks additional documents, the BP Parties object

on the grounds that it is overbroad, unreasonable, unduly burdensome, and seeks

information not relevant to the claims or defenses of any party.


REQUEST FOR PRODUCTION NO. 6:

      Please produce records of all telephone calls YOU received from anyone on board
the DEEP WATER HORIZON on April 20, 2010.

RESPONSE TO REQUEST FOR PRODUCTION NO. 6:

        The BP Parties object to this request as overbroad and unduly burdensome to the

extent it seeks documents beyond the possession or control of the BP Parties, and to the

extent it seeks documents likely more readily available from other entities.

        Subject to their specific and general objections, the BP Parties refer Plaintiffs to: (1)

a log of all calls made to or from the BP-managed telephone lines on the Deepwater

Horizon on April 20 and 21, 2010, previously produced at BP-HZN-MBI00170830;2 and (2)

a log of all the calls to or from the BP Satellite Handheld telephones on the Deepwater

Horizon on April 20 and 21, 2010, previously produced at BP-HZN-MBI00143375. The BP

Parties do not have access to records for telephone lines that are not managed by the BP

Parties.

        To the extent Anadarko’s request seeks additional documents, the BP Parties object

on the grounds that it is overbroad, unreasonable, unduly burdensome, and seeks

information not relevant to the claims or defenses of any party.



2
  The BP Parties understand that the time stamps on the phone log spreadsheet are represented as GMT minus 1
hour. Because Daylight Saving Time was in effect on this date/time in United States, subtracting four hours from
the time stamps provides the equivalent Central Time. Due to a small variance in clock settings on the
telecommunication provider’s equipment, we understand that the actual conversion may be minus 3 hours, 55
minutes to align with BP's system clocks, but the BP Parties makes no representation as to the exact accuracy of the
time entries.

                                                        29
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 86 of 178




REQUEST FOR PRODUCTION NO. 7:

       Please produce all DOCUMENTS YOU prepared following the MACONDO WELL
control event of March 8, 2010 to acknowledge or address the response time recorded
during that event.

RESPONSE TO REQUEST FOR PRODUCTION NO. 7:

       The BP Parties object to this request on the grounds that it is overbroad and unduly

burdensome to the extent it seeks “all” documents prepared following the Macondo well

control event of March 8, 2010.

       Subject to their specific and general objections, the BP Parties will conduct a

reasonable search of non-privileged documents for any documents prepared relating to the

response timing following the Macondo well control event of March 8, 2010, and will

produce responsive documents identified as a result of that search, including documents

already produced at BP-HZN-BLY00000001 to BP-HZN-BLY00000192, BP-HZN-

2179MDL00015694 to BP-HZN-2179MDL00015698 and documents produced in response

to Request for Production Nos. 142 and 231 in The BP Parties’ Responses and Objections to

Plaintiffs’ Interrogatories, Requests for Production, and Requests for Admission, served on

All Counsel on December 8, 2010.

       To the extent Anadarko’s request seeks additional documents, the BP Parties object

on the grounds that it is overbroad, unreasonable, unduly burdensome, and seeks

information not relevant to the claims or defenses of any party.


REQUEST FOR PRODUCTION NO. 8:

     Please produce all DOCUMENTS reviewed by YOU in connection with preparation
of YOUR responses to each of the Interrogatories set forth above.




                                              30
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 87 of 178




RESPONSE TO REQUEST FOR PRODUCTION NO. 8:

       The BP parties object to this request on the grounds that it is unreasonable, vague,

overbroad, and unduly burdensome in that it seeks the production of every document

identified in connection with the BP Parties extensive efforts to preserve, collect, and review

information regardless of the content of such documents, and that it seeks documents that

are either being produced in response to other specific requests or documents that are

necessarily irrelevant, not responsive to any specific request, and/or for which the BP Parties

have stated objections to producing in either their general objections or in response to

specific requests.


REQUEST FOR PRODUCTION NO. 9:

       Please produce any and all diagrams or depictions of the well and/or drilling process
of the well that YOU used during the Marine Board of Investigation hearings.

RESPONSE TO REQUEST FOR PRODUCTION NO. 9:

       Subject to their specific and general objections, the BP Parties will conduct a

reasonable search of non-privileged documents for diagrams or depictions of the well and/or

drilling process of the well that BP used during the Marine Board of Investigation hearings,

and will produce responsive documents identified as a result of that search.

       To the extent Anadarko’s request seeks additional documents, the BP Parties object

on the grounds that it is overbroad, unreasonable, unduly burdensome, and seeks

information not relevant to the claims or defenses of any party.


REQUEST FOR PRODUCTION NO. 10:

        Please produce a diagram of the mud pit layout on the DEEP WATER HORIZON,
indicating the location of the active and reserve pits.



                                              31
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 88 of 178




RESPONSE TO REQUEST FOR PRODUCTION NO. 10:

       The BP Parties object to this request to the extent that it is vague and ambiguous for

the relevant time period as the “location of active and reserve pits” is controlled by rig

personnel and fluctuates at various times. The BP Parties object to this request on the

grounds that it seeks documents likely more readily available from other parties in the

litigation, such as the Transocean Defendants or M-I Swaco, and it purports to call for

information beyond the BP Parties’ control or knowledge.


REQUEST FOR PRODUCTION NO. 11:

      Please produce YOUR policies and procedures REGARDING use of the diverter
system on the DEEP WATER HORIZON and on YOUR other owned, contracted, or leased
deepwater drilling rigs.

RESPONSE TO REQUEST FOR PRODUCTION NO. 11:

       The BP Parties object to this request on the grounds that it seeks documents likely

more readily available from other parties in this litigation, such as the Transocean

Defendants as the party whose Well Control Handbook governed the well control actions on

the Deepwater Horizon and whose personnel was primarily responsible for monitoring and

undertaking well control actions on board the Deepwater Horizon.


REQUEST FOR PRODUCTION NO. 12:

       Please produce YOUR policies and procedures for the use of the annular preventer
during well control events on the DEEP WATER HORIZON and on YOUR other owned,
contracted, or leased deepwater drilling rigs.

RESPONSE TO REQUEST FOR PRODUCTION NO. 12:

       The BP Parties object to this request on the grounds that Anadarko’s use of the words

“policies,” “procedures,” and “well control events” in this request is vague, ambiguous, and

undefined, and could call for more than one interpretation. The BP Parties further object to

                                             32
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 89 of 178




this request as overbroad, unduly burdensome and not reasonably calculated to lead to the

discovery of admissible evidence to the extent it seeks production of policies and procedures

for other “deepwater drilling rigs” that the BP Parties own, contract or lease. The BP Parties

further object to this interrogatory to the extent it implies that the policies and procedures of

the BP Parties govern the use of the annular preventer during a well control event for the

Deepwater Horizon and all other deepwater drilling rigs that they contract or lease.

          Subject to their specific and general objections, the BP Parties will conduct a

reasonable search of non-privileged documents for policies and procedures relating to the

use of the annular preventer during well control events generally, and specifically on the

Deepwater Horizon, and will produce responsive documents identified as a result of that

search.

          To the extent Anadarko’s request seeks additional documents, the BP Parties object

on the grounds that it is overbroad, unreasonable, unduly burdensome, and seeks

information not relevant to the claims or defenses of any party.


REQUEST FOR PRODUCTION NO. 13:

      Please produce a copy of the flow diagram of the DEEP WATER HORIZON surface
mud system.

RESPONSE TO REQUEST FOR PRODUCTION NO. 13:

          The BP Parties object to this request on the grounds that it seeks documents likely

more readily available from other parties in the litigation, such as the Transocean

Defendants or M-I Swaco, and it purports to call for information beyond the BP Parties’

control or knowledge. The BP Parties object to this request to the extent that it is vague and

ambiguous for the relevant time period as the flow of the surface mud system is controlled

by rig personnel and fluctuates at various times.

                                               33
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 90 of 178




REQUEST FOR PRODUCTION NO. 14:

        Please produce all post-INCIDENT pictures, video recordings, X-rays, audio
recordings, samples, measurements and/or testing results of or for the DEEP WATER
HORIZON rig or any of its equipment or components, including but not limited to the riser,
drill pipe and BOP used in connection with the MACONDO WELL.

RESPONSE TO REQUEST FOR PRODUCTION NO. 14:

       The BP Parties object that the definition of Deepwater Horizon is vague, ambiguous,

unreasonable and unduly burdensome, in part because it includes “any vessel, vehicle,

aircraft, or other equipment used in connection with the process of drilling, developing,

exploring and/or producing oil and gas resources.” The BP Parties further object that the

request for all “pictures, video recordings, x-rays, audio recordings, samples, measurements,

and/or testing results of or for” is overbroad and unduly burdensome because the use of “all”

in conjunction with “of or for” makes the category of items requested unbounded. The BP

Parties have already substantially produced the requested material to Anadarko on

November 15, 2010 in the BP Parties’ responses to Request for Production No. 1 and

Request for Production No. 11 in the Plaintiffs’ Omnibus Discovery Requests on All

Defendants, along with the documents and/or ESI produced by the BP Parties in conjunction

therewith, and the BP Parties' production of documents and/or ESI on December 23, 2010 in

Volume 4 (“BPMDL2179VOL000004”). Anadarko’s request fails to define clearly what

additional or unique pictures, video recordings, x-rays, audio recordings, samples,

measurements, and/or testing results they seek beyond those already produced.

       To the extent Anadarko’s request seeks additional documents or other materials

beyond what the BP Parties have already produced, the BP Parties object on the grounds

that it is overbroad, unreasonable, unduly burdensome, and seeks information not relevant to

the claims or defenses of any party, nor likely to lead to the discovery of relevant


                                             34
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 91 of 178




information. For example, with respect to “all pictures,” this request is so broad that the BP

Parties first would have to search the files of several thousand custodians identified thus far

to identify if any pictures and other electronic picture files exist and then follow-up with

these custodians to determine whether any of the pictures initially located are potentially

responsive to this request. Similarly, with respect to “all video recordings,” the BP Parties

to date have collected approximately 4,300 pieces of remotely operated vehicle (ROV)

media representing 112 terabytes of data. This request is so broad that the BP Parties cannot

determine which, if any, of these pieces of media are potentially responsive to this request

without a detailed review of each item to determine what it contains. Such review without

further detailed guidance from Anadarko regarding what should be produced is unduly

burdensome.

       The BP Parties further object that this request is unreasonable and could subject the

BP Parties to inconsistent legal obligations to the extent it can be read to require the

production of equipment or other items that were produced to the U.S. government pursuant

to one or more subpoenas, this Court’s Orders, or other obligations. The BP Parties also

object that this request could be interpreted to require the production of equipment or other

items that are subject to this Court’s Orders authorizing BP to reuse, recycle, or otherwise

dispose of such equipment and other items. The BP Parties further object that this request

could be interpreted to require the production of samples of drilling mud, cement resin

(powdered cement), oil, and other items collected post-Incident that exist in limited

quantities and are subject to this Court’s preservation orders and other preservation

requirements, including letters from government entities asking one or more BP Parties to

confirm that they have preserved and will continue to preserve tangible objects relevant to



                                              35
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 92 of 178




the Incident. BP is willing to make samples available for inspection and testing by parties to

this litigation, but only after such parties agree to appropriate test protocols and/or data

sharing arrangements developed through multi-party discussions or other means. The BP

Parties also object that this request seeks information or documents protected by the

attorney-client privilege or the work product doctrine and therefore protected from

discovery.

          Subject to their specific and general objections, the BP Parties will conduct a

reasonable search for non-privileged results and supporting data of any post-Incident

physical testing performed by the BP Parties on the Deepwater Horizon rig, its riser, its drill

pipe, and its BOP, and will produce responsive documents identified as a result of that

search.

          To the extent Anadarko’s request seeks additional documents, the BP Parties object

on the grounds that it is overbroad, unreasonable, unduly burdensome, and seeks

information not relevant to the claims or defenses of any party.


REQUEST FOR PRODUCTION NO. 15:

       Please produce all post-INCIDENT pictures, video recordings, X-Rays, audio
recordings, samples, measurements and/or testing results of or for the MACONDO WELL
or any equipment or component used in connection with the MACONDO WELL, including
but not limited to the casing and casing hanger seal assembly.

RESPONSE TO REQUEST FOR PRODUCTION NO. 15:

          The BP Parties object that the request for all “pictures, video recordings, x-rays,

audio recordings, samples, measurements, and/or testing results of or for” is overbroad and

unduly burdensome because the use of “all” in conjunction with “of or for” makes the

category of items requested unbounded. The BP Parties have already substantially produced

the requested material to Anadarko on November 15, 2010 in the BP Parties’ responses to

                                              36
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 93 of 178




Request for Production No. 1 and Request for Production No. 11 in Plaintiffs’ Omnibus

Discovery Requests on All Defendants, along with the documents and/or ESI produced by

the BP Parties in conjunction therewith, and the BP Parties' production of documents and/or

ESI on December 23, 2010 in Volume 4 (“BPMDL2179VOL000004”). Anadarko’s request

fails to define clearly what additional or unique pictures, video recordings, x-rays, audio

recordings samples, measurements, and/or testing results they seek beyond those already

produced.

       To the extent Anadarko’s request seeks additional documents or other materials

beyond what BP has already produced, the BP Parties object on the grounds that it is

overbroad, unreasonable, unduly burdensome, and seeks information not relevant to the

claims or defenses of any party, nor likely to lead to the discovery of relevant information.

To the extent Anadarko’s request seeks additional documents or other materials beyond

what BP has already produced, the BP Parties object on the grounds that it is overbroad,

unreasonable, unduly burdensome, and seeks information not relevant to the claims or

defenses of any party, nor likely to lead to the discovery of relevant information. For

example, with respect to “all pictures,” this request is so broad that the BP Parties first

would have to search the files of several thousand custodians identified thus far to identify if

any pictures and other electronic picture files exist and then follow-up with these custodians

to determine whether any of the pictures initially located are potentially responsive to this

request. Similarly, with respect to “all video recordings,” the BP Parties to date have

collected approximately 4,300 pieces of remotely operated vehicle (ROV) media

representing 112 terabytes of data. This request is so broad that the BP Parties cannot

determine which, if any, of these pieces of media are potentially responsive to this request



                                              37
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 94 of 178




without a detailed review of each item to determine what it contains. Such review without

further detailed guidance from Anadarko regarding what should be produced is unduly

burdensome.

       The BP Parties further object that this request is unreasonable and could subject the

BP Parties to inconsistent legal obligations to the extent it can be read to require the

production of equipment or other items that were produced to the U.S. government pursuant

to one or more subpoenas, this Court’s Orders, or other obligations. The BP Parties also

object that this request could be interpreted to require the production of equipment or other

items that are subject to this Court’s Orders authorizing BP to reuse, recycle, or otherwise

dispose of such equipment and other items. The BP Parties further object that this request

could be interpreted to require the production of samples of drilling mud, cement resin

(powdered cement), oil, and other items collected post-Incident that exist in limited

quantities and are subject to this Court’s preservation orders and other preservation

requirements, including letters from government entities asking one or more BP Parties to

confirm that they have preserved and will continue to preserve tangible objects relevant to

the Incident. BP is willing to make samples available for inspection and testing by parties to

this litigation, but only after such parties agree to appropriate test protocols and/or data

sharing arrangements developed through multi-party discussions or other means. The BP

Parties also object that this request seeks information or documents protected by the

attorney-client privilege or the work product doctrine and therefore protected from

discovery.

       Subject to their specific and general objections, the BP Parties will conduct a

reasonable search for non-privileged results and supporting data of any post-Incident



                                             38
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 95 of 178




physical testing performed by the BP Parties on the Macondo Well, its casing, and its casing

hanger seal assembly, and will produce responsive documents identified as a result of that

search.

          To the extent Anadarko requests seeks additional documents, the BP Parties object

on the grounds that it is overbroad, unreasonable, unduly burdensome, and seeks

information not relevant to the claims or defenses of any party.


REQUEST FOR PRODUCTION NO. 16:

      Please produce all raw data, in native format, that was input to produce the final, and
any earlier iteration, of the OLGA gas flow model discussed in BP’s September 8, 2010
Accident Investigation Report.

RESPONSE TO REQUEST FOR PRODUCTION NO. 16:

          The BP Parties object to this request to the extent it calls for documents not in the BP

Parties’ possession, custody, or control. The BP Parties further object to this request to the

extent it purports to require the BP Parties to produce documents in a form not consistent

with Pre-Trial Order No. 16.


REQUEST FOR PRODUCTION NO. 17:

       Please produce all drafts or other iterations of the OLGA gas flow model produced in
connection with the investigation that culminated in BP’s September 8, 2010 Accident
Investigation Report.

RESPONSE TO REQUEST FOR PRODUCTION NO. 17:

          Subject to their general objections, the BP Parties will conduct a search of non-

privileged documents for documents responsive to this request, and will produce responsive

documents identified as a result of that search.




                                                 39
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 96 of 178




REQUEST FOR PRODUCTION NO. 18:

       Please produce all DOCUMENTS, data, notes, tests, modeling studies or other
information, including but not limited to drafts of same, reviewed in connection with the
investigation conducted by BP that culminated in the September 8, 2010 Accident
Investigation Report.

RESPONSE TO REQUEST FOR PRODUCTION NO. 18:

       The BP Parties object to this request to the extent it calls for documents protected by

the Attorney-Client privilege, Work Product doctrine, or any other applicable privilege. The

BP Parties further object to this request to the extent it calls for the BP Parties to collect

information from persons outside of BP or identify documents not in the BP Parties’

possession, custody, or control.

       Subject to their specific and general objections, the BP Parties will produce non-

privileged documents reviewed by the BP members of its internal investigation team in

connection with their work in preparing the September 8, 2010 Accident Investigation

Report, consistent with the parties correspondence and discussions concerning the

production of internal investigation team documents.

       To the extent Anadarko’s request seeks additional documents, the BP Parties object

on the grounds that it is overbroad, unreasonable, unduly burdensome, and seeks

information not relevant to the claims or defenses of any party.


REQUEST FOR PRODUCTION NO. 19:

        Please produce all tests, data, models, measurements, results, logs,
COMMUNICATIONS, DOCUMENTS, or work, RELATED TO or done for YOU by CSI
since April 20, 2010, REGARDING the MACONDO WELL, including but not limited to
tests at actual measured bottom hole temperatures, tests on slurry strength, and numerical
models to estimate a bottom hole circulating temperature.




                                              40
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 97 of 178




RESPONSE TO REQUEST FOR PRODUCTION NO. 19:

        The BP Parties object to this request because Anadarko’s use of the phrases “all tests,

data, models, measurements, results, logs, communications, documents, or work,” “tests at actual

measured bottom hole temperatures,” “tests on slurry strength” and “numerical models to

estimate a bottom hole circulating temperature” is vague, ambiguous, and undefined.

        Subject to their specific and general objections, the BP Parties will conduct a search of

non-privileged documents for documents relating to CSI Technologies’ work for BP’s Internal

Investigation Team since April 20, 2010, and will produce responsive documents identified as a

result of that search.

        To the extent Anadarko’s request seeks additional documents, the BP Parties object

on the grounds that it is overbroad, unreasonable, unduly burdensome, and seeks

information not relevant to the claims or defenses of any party.


REQUEST FOR PRODUCTION NO. 20:

       Please produce all tests, data, models, measurements, results, logs,
COMMUNICATIONS, DOCUMENTS, or work, RELATED TO or done for YOU since
April 20, 2010, REGARDING the MACONDO WELL, including but not limited to “Well
Cat” numerical model estimations or runs of bottom hole circulating temperature.

RESPONSE TO REQUEST FOR PRODUCTION NO. 20:

        The BP Parties object to this request because Anadarko’s use of the phrases “all tests,

data, models, measurements, results, logs, communications, documents, or work” and

“‘Well Cat’ numerical model estimations or runs of bottom hole circulating temperature” is

vague, ambiguous, and undefined. The BP Parties further object to this request on the

grounds that it is overbroad and unduly burdensome to the extent that it seeks “all”

documents related to or done for BP since April 20, 2010 regarding the Macondo Well.



                                               41
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 98 of 178




       Subject to their specific and general objections, the BP Parties will conduct a

reasonable search of non-privileged documents for tests, data, models, measurements,

results, logs, communications, documents or work related to or done for BP since April 20,

2010 regarding the Macondo well and will produce responsive documents identified as a

result of that search, including documents already produced at BP-HZN-BLY00000001 to

BP-HZN-BLY00167315.

       To the extent Anadarko’s requests seeks additional documents, the BP Parties object

on the grounds that it is overbroad, unreasonable, unduly burdensome, and seeks

information not relevant to the claims or defenses of any party.


REQUEST FOR PRODUCTION NO. 21:

    Please produce all DOCUMENTS RELATING TO the potential use of the DEEP
WATER HORIZON in connection with activities on the Nile or Kaskida wells.

RESPONSE TO REQUEST FOR PRODUCTION NO. 21:

       The BP Parties object to this request on the grounds that it is overbroad in purporting

to request “all documents” relating to the “potential use” of the Deepwater Horizon in

connection the Nile or Kaskida wells.

       Subject to their specific and general objections, the BP Parties will conduct a search

of non-privileged documents for documents sufficient to show their plans with respect to the

use of the Deepwater Horizon in connection with the Nile or Kaskida wells at the time of

the April 20, 2010 incident, and will produce responsive documents identified as a result of

that search.

       To the extent Anadarko’s request seeks additional documents, the BP Parties object

on the grounds that it is overbroad, unreasonable, unduly burdensome, and seeks

information not relevant to the claims or defenses of any party.

                                              42
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 99 of 178




REQUEST FOR PRODUCTION NO. 22:

       Please produce all COMMUNICATIONS CONCERNING the Kaskida or Nile wells
during April 2010.

RESPONSE TO REQUEST FOR PRODUCTION NO. 22:

       The BP Parties object to this request on the grounds that it is overbroad in purporting

to request “all communications” concerning the Nile or Kaskida wells during April 2010.

       Subject to their specific and general objections, the BP Parties will conduct a search

of non-privileged documents for documents sufficient to show their plans with respect to the

use of the Deepwater Horizon in connection with the Nile or Kaskida wells at the time of

the April 20, 2010 incident, and will produce responsive documents identified as a result of

that search.

       To the extent Anadarko’s request seeks additional documents, the BP Parties object

on the grounds that it is overbroad, unreasonable, unduly burdensome, and seeks

information not relevant to the claims or defenses of any party.


REQUEST FOR PRODUCTION NO. 23:

        Please produce all DOCUMENTS RELATING TO the type, shipment, delivery
and/or return of the centralizers ordered from WEATHERFORD for the MACONDO
WELL in April 2010, and to YOUR decision REGARDING return of these centralizers or
their use on rigs other than DEEP WATER HORIZON.

RESPONSE TO REQUEST FOR PRODUCTION NO. 23:

       The BP Parties object to this request because Anadarko’s use of the phrases “type,

shipment, delivery and/or return of the centralizers” and “decision regarding return of these

centralizers or their use on rigs other than Deepwater Horizon” is vague, ambiguous, and

undefined.




                                              43
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 100 of 178




        Subject to their specific and general objections, the BP Parties will conduct a search of

non-privileged documents for documents relating to the fifteen centralizers ordered from

Weatherford for the Macondo Well in April 2010, and will produce responsive documents

identified as a result of that search.

        To the extent Anadarko’s request seeks additional documents, the BP Parties object

on the grounds that it is overbroad, unreasonable, unduly burdensome, and seeks

information not relevant to the claims or defenses of any party..


REQUEST FOR PRODUCTION NO. 24:

       Please produce all DOCUMENTS RELATING TO the use or potential use of Form-
aSet, Form-a-Squeeze, or any combination of the two, as a spacer in any well, including
DOCUMENTS discussing any benefits or risks associated with such use.

RESPONSE TO REQUEST FOR PRODUCTION NO. 24:

        The BP Parties object to this request on the grounds that it seeks documents likely

more readily available from other parties in the litigation, such as M-I Swaco or the

Transocean Defendants, and it purports to call for information beyond the BP Parties’

control or knowledge.        The BP Parties object to this request as overbroad and unduly

burdensome to the extent it seeks “all” documents relating to the use or potential use of

Form-A-Set, Form-A-Squeeze or any combination of the two as a spacer in any well,

regardless of location, time or well conditions.

        Subject to their specific and general objections, the BP Parties will conduct a

reasonable search of non-privileged documents for documents relating to the use or potential

use of Form-A-Set, Form-A-Squeeze or any combination of the two as a spacer at the

Macondo Well on April 20, 2010 and will produce responsive documents identified as a

result of that search, including documents previously produced in response to Request for


                                               44
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 101 of 178




Production Nos. 65, 73, 122, 143, 201 in The BP Parties’ Responses and Objections to

Plaintiffs’ Interrogatories, Requests for Production, and Requests for Admission, served on

All Counsel on December 8, 2010.

       To the extent Anadarko’s Request for Production seeks additional documents, the BP

Parties object on the grounds that it is overbroad, unreasonable, unduly burdensome, and

seeks information not relevant to the claims or defenses of any party.


REQUEST FOR PRODUCTION NO. 25:

       Please produce all DOCUMENTS RELATING TO the required method of disposal
of unused Form-a-Set or Form-A-Squeeze material.

RESPONSE TO REQUEST FOR PRODUCTION NO. 25:

       The BP Parties object to this request to the extent it seeks documents already in the

possession of Anadarko or equally available to Anadarko from sources other than the BP

Parties, including publicly available sources. The BP Parties further object to this request

on the grounds that it is overbroad and unduly burdensome in seeking “all documents

relating to” disposal of unused Form-a-Set or Form-A-Squeeze, as this request calls for

documents without limitation as to time period or location.

       Subject to their specific and general objections, the BP Parties will conduct a search

of non-privileged documents for documents relating to the required method of disposal of

unused Form-a-Set or Form-A-Squeeze in the Gulf of Mexico, and will produce responsive

documents identified as a result of that search.

       To the extent Anadarko’s Request for Production seeks additional documents, the BP

Parties object on the grounds that it is overbroad, unreasonable, unduly burdensome, and

seeks information not relevant to the claims or defenses of any party.



                                              45
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 102 of 178




REQUEST FOR PRODUCTION NO. 26:

       Please produce all DOCUMENTS, COMMUNICATIONS or directions
REGARDING the use of the mud-gas separator on any rig operated by YOU in the event of
gas flow from a well.

RESPONSE TO REQUEST FOR PRODUCTION NO. 26:

        The BP Parties object to this request on the grounds that it is overbroad and unduly

burdensome in seeking “all documents, communications or directions” regarding the use of

the mud-gas separator on any rig, as this request would call for the production of documents

throughout the entire company, without limitation as to time period, custodian or business

unit.

        Subject to their specific and general objections, the BP Parties will conduct a

reasonable search of non-privileged documents from the GoM business unit regarding the

use of the mud-gas separator on rigs operated by BP in the event of gas flow from a well,

and will produce responsive documents identified as a result of that search.

        To the extent Anadarko’s Request for Production seeks additional documents, the BP

Parties object on the grounds that it is overbroad, unreasonable, unduly burdensome, and

seeks information not relevant to the claims or defenses of any party.


REQUEST FOR PRODUCTION NO. 27:

       Please produce all DOCUMENTS or COMMUNICATIONS RELATING TO the
potential for cement contamination in the MACONDO WELL.

RESPONSE TO REQUEST FOR PRODUCTION NO. 27:

        The BP Parties object to this request because Anadarko’s use of the phrase “potential for

cement contamination” is vague, ambiguous, and undefined.

        Subject to their specific and general objections, the BP Parties will conduct a search of

non-privileged documents for documents relating to the potential for contamination of the

                                               46
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 103 of 178




cement slurry for the production interval of the Macondo Well, and will produce responsive

documents identified as a result of that search.

       To the extent Anadarko’s request seeks additional documents, the BP Parties object

on the grounds that it is overbroad, unreasonable, unduly burdensome, and seeks

information not relevant to the claims or defenses of any party.


REQUEST FOR PRODUCTION NO. 28:

       Please produce all DOCUMENTS RELATING TO THE COMMUNICATIONS
referenced in Interrogatory Nos. 1 and 2.

RESPONSE TO REQUEST FOR PRODUCTION NO. 28:

       The BP Parties object to this request as overbroad and unduly burdensome to the

extent it seeks all communications regarding whether any alarm systems on the Deepwater

Horizon were inhibited or bypassed, as well as communications regarding the functionality

of the Deepwater The BP Parties further object to this request to the extent the phrase “any

of the alarm systems on the DEEPWATER HORIZON” as used in this request is vague and

ambiguous and is subject to more than one interpretation.

       Subject to their specific and general objections, and in accordance with Federal Rule

of Civil Procedure 33(d) the BP Parties refer Anadarko to their responses to Interrogatory

No. 31 and Requests for Production No. 131, in The BP Parties Responses and Objections to

Plaintiffs’ Interrogatories, Requests for Production, and Requests for Admission, served on

All Counsel on December 8, 2010, as the burden of deriving or ascertaining the answer to

this interrogatory is substantially the same for Anadarko as it is for the BP Parties.

Additionally, subject to their specific and general objections, the BP Parties will conduct a

reasonable search of non-privileged documents that are, or are related to, communications

with BP personnel regarding inhibiting or bypassing of the alarm systems for the blowout

                                                   47
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 104 of 178




preventer, the fire and gas detection system or general alarm for the Deepwater Horizon,

and will produce responsive documents identified as a result of that search.

       To the extent Anadarko’s request seeks additional documents, the BP Parties object

on the grounds that it is overbroad, unreasonable, unduly burdensome, and seeks

information not relevant to the claims or defenses of any party.


                                  GENERAL OBJECTIONS

       The BP Parties assert the following objections to each and every one of Anadarko’s

interrogatories and requests for production including any definitions or instructions associated

therewith (collectively, “Anadarko’s Discovery Requests”).         These general objections are

incorporated by reference into each specific response set forth by the BP Parties and are neither

waived nor limited by any specific responses.

       1.     The BP Parties object to Anadarko’s Discovery Requests to the extent they call

for information, seek discovery, or attempt to impose any obligations beyond that permitted or

authorized by the Federal Rules of Civil Procedure or the Rules and Orders of this Court.

       2.     The BP Parties object to Anadarko’s Discovery Requests to the extent they call

for the production of ESI in any manner other than required under Federal Rule of Civil

Procedure 34, the Rules and Orders of the Court, and ongoing negotiations and discussions

among counsel.

       3.     The BP Parties object to Anadarko’s Discovery Requests to the extent they seek

information or documents protected by the attorney-client privilege, the work-product doctrine,

the joint defense or common interest privilege, or any other applicable privilege, exemption, or

immunity.   The BP Parties will identify specific documents withheld on these grounds in

accordance with the schedule set forth in, and provide the information required by, the Court’s


                                                48
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 105 of 178




Pretrial Order #14, and such further Orders of the Court and ongoing negotiations and

discussions among counsel. The BP Parties incorporate their forthcoming privilege logs and all

related information into this general objection to the extent necessary to preserve against any

waiver of any applicable privilege or immunity from discovery.

       4.      The BP Parties object to Anadarko’s Discovery Requests to the extent they seek

information or documents relating to the settlement or potential settlement of disputes on the

grounds that such information is not relevant to any party’s claim or defense, is not admissible at

trial and not reasonably calculated to lead to the discovery of admissible evidence, is protected

from disclosure and dissemination under Federal Rule of Evidence 408, and that discovery of

such information would be prejudicial to the efforts of the BP Parties and any opposing parties to

resolve their disputes in a fair and efficient manner.

       5.      The BP Parties object to Anadarko’s Discovery Requests to the extent they call

for information or documents not within the BP Parties’ possession, custody, or control. All

responses are made on behalf of the BP Parties only, are limited to information and documents

within the BP Parties’ possession, custody, or control.

       6.      The BP Parties object to Anadarko’s Discovery Requests to the extent they are

unduly burdensome, duplicative, premature, oppressive, and/or overbroad, including, without

limitation, as to subject matter and/or time period, and where compliance with specific requests

would be unreasonably difficult as well as prohibitively expensive or time-consuming.

       7.      The BP Parties object to Anadarko’s Discovery Requests to the extent they are

not limited to information or documents relevant to any party’s claim or defense, or to the extent

they seek discovery of information or documents not admissible at trial and not reasonably

calculated to lead to the discovery of admissible evidence, including, but not limited to, requests



                                                 49
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 106 of 178




seeking information or documents concerning other incidents, accidents, or other events at BP

facilities or locations other than the Macondo Well or that are otherwise unrelated to the

Deepwater Horizon.

       8.      The BP Parties object to Anadarko’s Discovery Requests to the extent they seek

the disclosure of information or documents that contain or constitute trade secrets, proprietary

information, or other confidential business information without appropriate restrictions on

disclosure and dissemination that are embodied in a protective order entered by the Court.

       9.      The BP Parties object to Anadarko’s Discovery Requests to the extent they seek

the disclosure of information or documents that would violate the rights of privacy of third

parties, or any similar judicially recognized protection or privilege, including, but not limited to,

restrictions imposed in connection with proceedings before the MBI, and the protections of the

Health Insurance Portability and Accountability Act (“HIPAA”), or that would result in

disclosure of any confidential information or conduct without appropriate restrictions on

disclosure and dissemination that are embodied in a protective order entered by the Court.

       10.     The BP Parties object to the requests to the extent they seek documents already in

the possession of Anadarko or equally available to Anadarko from sources other than the BP

Parties, including publicly available sources.

       11.     The BP Parties object to Anadarko’s “Definitions” to the extent they seek to

impose any meaning or interpretation onto the requests other than that evident from the plain and

ordinary meaning of the words used therein. The BP Parties further object to, and will read and

respond to, Anadarko’s “Definitions” (labeled to correspond to Anadarko’s list) as follows:

               (i)     Anadarko’s definition of “Deepwater Horizon” is vague and overbroad; it

includes any equipment used in connection with the exploration for or production of oil. The BP



                                                 50
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 107 of 178




Parties will read and respond to Anadarko’s requests with the understanding that the term

“Deepwater Horizon” means the vessel of that name and that, unless expressly otherwise

specified, concerns the operation of the Deepwater Horizon in connection with the Macondo

Well.

               (j)     Anadarko’s definition of “Macondo Well” is vague and overbroad; it

includes a broad geographic area and is not limited to any well, much less the well at issue in this

litigation. The BP Parties will read and respond to Anadarko’s requests with the understanding

that the term “Macondo Well” means the MC 252 #1 Macondo Well.

               (l)     Anadarko’s definition of “incident” is overly narrow; it is limited to the

explosion that occurred on the Deepwater Horizon. The BP Parties will read and respond to

Anadarko’s requests with the understanding that the term “Incident” means the loss of control of

the Macondo Well and the explosions and fire aboard, and resulting sinking of, the Deepwater

Horizon.

                (m)    Anadarko’s definitions of “BOP” and “blowout preventer” is vague and

overbroad; they include any equipment used to control any well. The BP Parties will read and

respond to Anadarko’s requests with the understanding that the terms “BOP” and “blowout

preventer” means a blowout preventer like the one in use at the Macondo Well at the time of the

incident.

               (n)     Anadarko’s definition of “Deepwater Horizon Blowout Preventer” is

unobjectionable.

                (o)    Anadarko’s definitions of “you,” “your,” and “BP” are extremely vague

and overbroad; they include a vast array of entities that have had no involvement whatsoever in

the events giving rise to this litigation, and confusingly and improperly sweep in hundreds of



                                                51
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 108 of 178




thousands of individuals as opposed to the corporate entities that have been named as defendants

in this litigation.   The BP Parties will read and respond to Anadarko’s requests with the

understanding that the terms you,” “your,” and “BP” mean one or more of the BP Parties, as the

context requires.

               (p, q, r,)      Anadarko’s definitions of “Cameron,” “Weatherford,” and

“Transocean,” are similarly vague, overbroad, and confusing. The BP Parties will read and

respond to Anadarko’s requests with the understanding that these terms refer to the respective

corporate entities commonly referred to by these names that have been named in this litigation

and played some role in the events relevant to this litigation.

                (s)     Anadarko’s definition of “person” is vague and overbroad; it includes any

number of things that are not people in any sense of the word. The BP Parties will read and

respond to Anadarko’s requests with the understanding that the term “person” means a person.

               (t)      Anadarko’s definition of “employee” is vague and overbroad; it includes

any number of persons who were or are not employees. The BP Parties will read and respond to

Anadarko’s requests with the understanding that the term “employee” means an employee.

               (u)      Anadarko’s definition of “government” is vague and overbroad; it

includes a bewildering array of entities as well as any number of people who are “the

government.”        The BP Parties will read and respond to Anadarko’s requests with the

understanding that the term “government” means the U.S. federal government or the government

of a U.S. state, including any branch or agency thereof.

                (v)     Anadarko’s definition of “communication” is vague and overbroad; it

includes practically everything written or said by any person, regardless of whether it was

actually communicated in any meaningful sense. The BP Parties will read and respond to



                                                 52
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 109 of 178




Anadarko’s requests with the understanding that the term “communication” means talking to

someone or sending them a message of some sort.

               (w)    Anadarko’s definition of “meeting” is vague and overbroad; it includes

any number of things that no person would reasonably conclude constitute a meeting, such as a

casual greeting exchanged in a hallway, sending an e-mail, or posting a message on a bulletin

board. The BP Parties will read and respond to Anadarko’s requests with the understanding that

the term “meeting” refers to a gathering of two or more people. It does not include electronic

communications unless specified.

               (x)    Anadarko’s definition of “document” is improper to the extent it includes

items outside the scope of Federal Rule of Civil Procedures 34(a)(1)(A). The BP Parties will

read and respond to Anadarko’s requests with the understanding that the term “document” means

the items listed in Federal Rule of Civil Procedure 34(a)(1)(A).

               (y)    Anadarko’s definition of “electronically stored information” or “ESI” is

improper to the extent it includes items outside the scope of Federal Rule of Civil Procedures

34(a)(1)(A).   The BP Parties will read and respond to Anadarko’s requests with the

understanding that the term “electronically stored information” or “ESI” means the electronically

stored information listed in Federal Rule of Civil Procedure 34(a)(1)(A).

               (z)    Anadarko’s definition of “computer” is vague and overbroad; it includes

every device that processes or stores information, including any number of things that no person

would reasonably conclude constitute a computer, such as a clock, voice recorder, camera, or cell

phone. The BP Parties will read and respond to Anadarko’s requests with the understanding that

the term “computer” means a mainframe, desktop, laptop, or tablet computer.




                                                53
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 110 of 178




                (aa)   Anadarko’s definition of “control” is improper to the extent it seeks to

impose any obligation on the BP Parties beyond that imposed under Federal Rule of Civil

Procedure 34(a)(1). The BP Parties will read and respond to Anadarko’s requests with the

understanding that the term “control” means “possession, custody, or control” as used in Federal

Rule of Civil Procedure 34(a)(1).

               (bb)    Anadarko’s definitions of “relating to,” “related to,” “regarding,”

“concerning,” and “with respect to,” are vague and overbroad; they render these and innumerable

other words void of any independent meaning.          The BP Parties will read and respond to

Anadarko’s requests with the understanding that these terms have their plain and ordinary

meaning in standard English usage.

               (cc, dd, ee)   Anadarko’s definition of “identify” is overbroad; it includes a

request for detailed information far beyond whatever may be reasonably necessary to distinguish

one individual, one document, or any ESI, from any other. The BP Parties will read and respond

to Anadarko’s requests with the understanding that the term “identify” means, in the context of

an individual, an individual’s name, and where the context reasonably requires, his or her

employer and title, and in the context of a document or ESI, a Bates number or other available

information necessary to isolate the document or ESI.

               (ff)    Anadarko’s definition of “describe” is overbroad; it includes a request for

detailed information far beyond whatever may be reasonably necessary to accurately give a

description. The BP Parties will read and respond to Anadarko’s requests with the understanding

that the term “describe” means to provide a concise description reasonably calculated to allow

the identification of a thing or its characteristics relevant for purposes of this litigation as the

context requires.



                                                54
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 111 of 178




               (gg)   Anadarko’s definition of “state” is overbroad; it includes a request for

detailed information far beyond whatever may be reasonably necessary to accurately make a

statement. The BP Parties will read and respond to Anadarko’s requests with the understanding

that the term “state” means to truthfully and accurately provide Anadarko with knowledge or

information.

               (hh)   Anadarko’s definitions of “basis,” “bases,” “sources,” “sources of

knowledge,” “sources of information,” or “source(s) of information or belief” are overbroad; it

includes a request for detailed information far beyond whatever may be reasonably necessary to

accurately identify the source or basis of a statement. The BP Parties will read and respond to

Anadarko’s requests with the understanding that the terms “basis,” “bases,” “sources,” “sources

of knowledge,” “sources of information,” or “source(s) of information or belief” mean to

identify, when possible and appropriate, the person(s) with direct knowledge about the provided

information and the identity of a corresponding document.

               (ii)   Anadarko’s definitions of “and” and “or” is vague, overbroad, and

confusing; they render the words equivalent and therefore deprive them of independent meaning

and inconsistent with standard English usage.      The BP Parties will read and respond to

Anadarko’s requests with the understanding that the term “and” means and, and the term “or”

means or.

               (jj)   Anadarko’s definition of “any” is vague, overbroad, and confusing; it

renders the word unnecessarily ambiguous and necessarily converts many of Anadarko’s

requests into nonsensical requests for duplicative information. The BP Parties will read and

respond to Anadarko’s requests with the understanding that the term “any” means any.

               (kk)   Anadarko’s definition of “including” is unobjectionable.



                                              55
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 112 of 178




               (ll)    Anadarko’s definitions of “each” and “every” is vague, overbroad, and

confusing; they render the words equivalent and therefore deprive them of independent meaning

and inconsistent with standard English usage.        The BP Parties will read and respond to

Anadarko’s requests with the understanding that the term “each” means each and the term

“every” means every.

               (mm) Anadarko’s instruction to treat all nouns and pronouns as plural nouns and

pronouns is vague, overbroad, and confusing; it renders many of Anadarko’s requests

unnecessarily nonsensical, contorted, and duplicative. The BP Parties will read and respond to

Anadarko’s requests as written, not as imagined to give the “broadest possible application.”

               (nn)    Anadarko’s instruction to treat all verbs as possessing all possible tenses is

vague, overbroad, and confusing; it renders many of Anadarko’s requests unnecessarily

nonsensical, contorted, and duplicative. The BP Parties will read and respond to Anadarko’s

requests as written, not as imagined to give the “broadest possible application.”

               (oo)    Anadarko’s instruction to treat all terms of a specific gender as referring to

all genders is vague, overbroad, and confusing; it renders many of Anadarko’s requests

unnecessarily nonsensical, contorted, and duplicative. The BP Parties will read and respond to

Anadarko’s requests as written, not as imagined to give the “broadest possible application.”

               (pp)    Anadarko’s instruction to treat all terms as if they encompass all

grammatical variations of the term is vague, overbroad, and confusing; it renders many of

Anadarko’s requests unnecessarily nonsensical, contorted, and duplicative. The BP Parties will

read and respond to Anadarko’s requests as written, not as imagined under instructions to set

aside standard English usage.




                                                56
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 113 of 178




       12.      These responses are made without waiving, in any manner, the BP Parties’ right

to object to the use of any information or documents provided in response to these requests at

any trial or evidentiary hearing on grounds of privilege, relevance, materiality, authenticity,

hearsay, or any other ground permitted by any applicable law or rule.

       13.      To the extent the BP Parties state they will produce documents in response to the

requests, the BP Parties will produce such documents on a rolling basis with such reasonable

speed as the BP Parties can locate and process them, without sacrificing a meaningful review for

responsiveness, privilege, and confidentiality, as this is the only feasible and physically possible

method given the scope and breadth of the requests.

       14.      To the extent that the BP Parties respond that they will search for and produce

responsive documents, the BP Parties are only undertaking to make a good faith effort to conduct

a reasonable search of non-privileged documents of the files and records of those individuals

likely to have meaningful information responsive to a requests as maintained in the ordinary

course of business, and/or to apply a reasonable set of search terms to similar available

collections of ESI as maintained in the ordinary course of business reasonably likely to yield a

meaningful amount of information responsive to a request. The BP Parties are not offering or

promising to search for and produce every document or piece of information that may exist in the

possession, custody, or control of any of their tens of thousands of employees and agents where

any such items are not included within the results of a reasonable search as described above.

       15.      The BP Parties object to Anadarko’s requests to the extent that they are not

limited to a reasonable time period as unreasonable, overbroad, and calling for the production of

documents with little or no relevance to this litigation or any respect for the practicalities of

resolving it.    The BP Parties will read and respond to Anadarko’s requests with the



                                                57
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 114 of 178




understanding that the term “relevant time period” means January 1, 2009 through April 20,

2010, unless: (i) the request clearly seeks specific, available, relevant information that pre-dates

January 1, 2009 (e.g., rig audits of the Deepwater Horizon); and (ii) the request clearly seeks

relevant information or documents that post-date the incident, in which case and to which extent,

the time period is, or includes as the context requires, April 20, 2010 through November 8, 2010,

or November 30, 2010, with regard to certain requests seeking information related to

environmental issues. In addition, when used in reference to the operation of the Deepwater

Horizon, the Transocean Marianas, the blowout preventer, or any other equipment that was used

in connection with work that did not involve the Macondo Well, the BP Parties will read and

respond to Anadarko’s requests with the understanding that the term “relevant time period”

means the period of time during which the rig or equipment referred to was used at the site of the

Macondo Well, prior to and including April 20, 2010 as stated above. Notwithstanding the

above, however, the BP Parties have responded to Anadarko’s requests that seek specific,

relevant, identifiable documents generated prior to the time frames set forth above, but in no

event will the BP Parties undertake to search for or produce documents generated prior to

January 1, 2006.

       16.     The BP Parties’ decision, now or in the future, to provide information or

documents notwithstanding the objectionable nature of any of the definitions or instructions, or

the document requests themselves, should not be construed as: (a) a stipulation that the material

is relevant or admissible, (b) a waiver of the BP Parties’ general objections or the objections

asserted in response to specific requests, or (c) an agreement that requests for similar information

will be treated in a similar manner.




                                                58
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 115 of 178




       17.     The BP Parties reserve the right to modify, amend, or supplement their responses,

which are made based on the current status of their knowledge, understanding, belief, and

searches for documents. The investigation of facts and information relating to these requests is

continuing, and, therefore, these responses are not intended as an admission or a representation

that additional information or documents do not exist.




                                               59
Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 116 of 178
Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 117 of 178




Dated: February 22, 2011         Respectfully submitted,

                                 AS TO RESPONSES TO INTERROGATORIES

                                 By: /s/ Bill Kirton______
                                 BP America Inc.
                                 501 Westlake Park Blvd.
                                 Houston, Texas 77079

                                 BP America Inc., BP America Production
                                 Company, and BP Exploration & Production Inc.

                                 AS TO OBJECTIONS AND TO RESPONSES
                                 TO REQUESTS FOR DOCUMENTS

                                 By: /s/ J. Andrew Langan, P.C.
                                 Richard C. Godfrey, P.C.
                                 J. Andrew Langan, P.C.
                                 Wendy Bloom, P.C.
                                 Timothy A. Duffy, P.C.
                                 Kirkland & Ellis LLP
                                 300 North LaSalle Street
                                 Chicago, IL 60654
                                 312-862-2000 (Tel)
                                 312-862-2200 (Fax)

                                 and

                                 Don K. Haycraft (Bar #14361)
                                 R. Keith Jarrett (Bar #16984)
                                 LISKOW & LEWIS
                                 701 Poydras Street, Suite 5000
                                 New Orleans, Louisiana 70139-5099
                                 Telephone: (504) 581-7979
                                 Facsimile: (504) 556-4108

                                 and

                                 Robert C. “Mike” Brock
                                 Covington & Burling LLP
                                 1201 Pennsylvania Avenue, NW
                                 Washington, DC 20004-2401
                                 202-662-5985

                                 Attorneys for BP America Inc., BP America
                                 Production Company, BP Exploration &
                                 Production Inc.


                                   61
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 118 of 178




                               CERTIFICATE OF SERVICE

       I hereby certify that the above and foregoing response has been served on All Counsel by

electronically uploading the same to Lexis Nexis File & Serve in accordance with Pretrial Order

No. 12, which will send a notice in accordance with the procedures established in MDL 2179, on

this 22nd day of February, 2011.

                                                     /s/ J. Andrew Langan, P.C.___




                                              62
    Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 119 of 178

                                                                                                        36086798



                                   UNITED STATES DISTRICT COURT                                     Feb 22 2011
                                   EASTERN DISTRICT OF LOUISIANA                                     10:56PM



In re: Oil Spill by the Oil Rig “Deepwater
                                      :                                  MDL No. 2179
       Horizon” in the Gulf of Mexico, on
                                      :
       April 20, 2010                 :                                  SECTION: J
                                      :
This Document Relates To: All Actions :                                  JUDGE BARBIER
                                                                         MAGISTRATE JUDGE SHUSHAN
                                      :
…………………………………………………... :

                  THE BP PARTIES’ RESPONSES AND OBJECTIONS TO
              DEFENDANT MOEX OFFSHORE 2007 LLC’S INTERROGATORIES
                  AND REQUESTS FOR PRODUCTION OF DOCUMENTS

           Defendants BP America Inc. (“BPA”), BP America Production Company (“BPAP”), and

BP Exploration & Production Inc. (“BPXP”) (collectively, “the BP Parties”), by their

undersigned Counsel, and, pursuant to Rules 26, 33, and 34 of the Federal Rules of Civil

Procedure, hereby submit the following responses and objections to MOEX’s Interrogatories and

Requests for Production.

                               SPECIFIC RESPONSES AND OBJECTIONS

           The BP Parties respond as follows to MOEX’s specific interrogatories and requests for

production, subject to and without waiving their general objections, each and every one of which

are specifically incorporated into each individual response below.1


INTERROGATORY NO. 1:

       Please IDENTIFY every BP EMPLOYEE or other PERSON associated with BP who
concluded that the second, or any subsequent, negative pressure test at the MACONDO WELL
on April 20, 2010, was “successful” and DESCRIBE in detail each and every reason for such
conclusion.




1
    The BP Parties’ general objections are set forth at pages 46 - 57.
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 120 of 178




RESPONSE TO INTERROGATORY NO. 1:

       The BP Parties object to this interrogatory to the extent that it purports to characterize the

BP employees involved with the negative pressure test at MC 252 #1 on April 20, 2010 as

making the ultimate decision on those tests.

       Subject to their specific and general objections, the BP Parties state that, as reported in

BP September 8, 2010 Internal Investigation Report, “[t]he Transocean rig crew and BP well site

leaders reached the incorrect view that the test was successful and that well integrity had been

established.” The Transocean rig crew involved in the decision on the negative pressure tests

included Transocean Toolpusher Jason Anderson, Transocean Driller Dewey Revette, and

Transocean OIM Jimmy Harrell. The BP well site leaders involved in the negative pressure tests

were Don Vidrine and Robert Kaluza.

       To the extent MOEX’s interrogatory seeks additional information, the BP Parties object

on the grounds that it is overbroad, unreasonable, unduly burdensome, and seeks information not

relevant to the claims or defenses of any party.


INTERROGATORY NO. 2:

        Please IDENTIFY every BP EMPLOYEE or other PERSON associated with BP who
concluded that the difference in pressure of 1400 psi between the drill pipe and the DEEP
WATER HORIZON’S BLOWOUT PREVENTER’S kill line during the second negative pressure
test on April 20, 2010 was the result of “bladder effect.”

RESPONSE TO INTERROGATORY NO. 2:

       The BP Parties object to this interrogatory to the extent that it purports to characterize the

BP employees involved with the negative pressure tests at MC 252 #1 on April 20, 2010 as

decision makers with respect to the negative tests because personnel from Transocean and others

were involved with preparing the well and rig equipment and data for those negative tests,

manipulated rig equipment during the tests, bled fluid during the tests, monitored rig equipment

                                                   2
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 121 of 178




during the tests, made decisions about those tests, and also had the ability to, and did express,

their opinions regarding the results of those tests. In addition, Transocean personnel and others

had the ability and authority to stop the job in the event they were uncomfortable with or

concerned about any aspects of those tests, including the test results. The BP Parties further

object to this interrogatory as vague, ambiguous, and potentially misleading in its phrasing in

terms of seeking the identification of BP employees or personnel “who concluded that the

difference in pressure . . . was the result of ‘bladder effect.’”

        Subject to their specific and general objections, the BP Parties state that, as reported in

BP's September 8, 2010 Internal Investigation Report, “[t]he Transocean rig crew and BP well

site leaders reached the incorrect view that the test was successful and that well integrity had

been established.” The Transocean rig crew involved in the negative pressure tests included

Transocean toolpushers Jason Anderson, Randy Ezell and Wyman Wheeler, Transocean driller

Dewey Revette, and Transocean OIM Jimmy Harrell. To the best of BP's knowledge, the term

"bladder effect" was articulated by Transocean toolpusher Jason Anderson as an explanation of

the pressure seen on the drill pipe during the negative tests. The BP well site leaders involved in

the negative pressure tests were Don Vidrine and Robert Kaluza, and well site leader trainee Lee

Lambert.

        To the extent MOEX’s interrogatory seeks additional information, the BP Parties object

on the grounds that it is overbroad, unreasonable, unduly burdensome, and seeks information not

relevant to the claims or defenses of any party.


INTERROGATORY NO. 3:

       Please IDENTIFY and DESCRIBE every policy or standard practice existing at BP prior
to April 21, 2010 that ensured that any and all of BP’s decisions about drilling operations or
temporary abandonment of deep sea wells did not favor cost or schedule considerations over
potential risks to safety.
                                                   3
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 122 of 178




RESPONSE TO INTERROGATORY NO. 3:

       The BP Parties object to this interrogatory on the grounds that MOEX’s use of the phrase

“ensured that any and all of BP’s decisions about drilling operations or temporary abandonment

of deep sea wells did not favor cost or schedule considerations over potential risks to safety” is

vague, undefined, and overbroad, especially in light of the fact that it is not limited to any subject

matter or relevant inquiry; it is argumentative; and it is duplicative and cumulative of several

other discovery requests.

       Subject to their specific and general objections, the BP Parties state that they have

produced, or will produce, their defined and recommended practices relating to drilling

operations in the Gulf of Mexico. Accordingly, the burden of deriving or ascertaining the

answer to this interrogatory is substantially the same for MOEX as it is for the BP Parties, and

the BP Parties therefore refer MOEX to these documents in accordance with Federal Rule of

Civil Procedure 33(d).

       To the extent MOEX’s interrogatory seeks additional information, the BP Parties object

on the grounds that it is overbroad, unreasonable, unduly burdensome, and seeks information not

relevant to the claims or defenses of any party.


INTERROGATORY NO. 4:

      Please IDENTIFY who at BP made the decision to displace to seawater at 3,367’ below
mud level prior to performing a negative pressure test on the MACONDO WELL, and
DESCRIBE in detail the basis of his/her/their decision.

RESPONSE TO INTERROGATORY NO. 4:

       The BP Parties object to this interrogatory as vague and ambiguous as to “decision to

displace to seawater at 3,367’ below mud level.”




                                                   4
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 123 of 178




       Subject to their specific and general objections, the BP Parties refer MOEX to their

response to Request for Production No. 7 in The BP Defendants’ Responses and Objections to

Plaintiffs’ Omnibus Discovery Requests on All Defendants, served to All Counsel on November

15, 2010, and the documents produced in connection with that response. Accordingly, the

burden of deriving or ascertaining the answer to this interrogatory is substantially the same for

MOEX as it is for the BP Parties, and the BP Parties therefore refer MOEX to these documents

in accordance with Federal Rule of Civil Procedure 33(d).

       To the extent MOEX’s interrogatory seeks additional information, the BP Parties object

on the grounds that it is overbroad, unreasonable, unduly burdensome, and seeks information not

relevant to the claims or defenses of any party.


INTERROGATORY NO. 5:

       Please IDENTIFY all PERSONS with whom Robert Kaluza or Donald Vidrine spoke by
telephone on April 20 and 21, 2010 REGARDING conditions on the DEEP WATER HORIZON
and DESCRIBE in detail the time and the substance of each such conversation.

RESPONSE TO INTERROGATORY NO. 5:

       The BP Parties object to this interrogatory on the grounds that it is comprised of multiple

discrete subparts that count as individual interrogatories under Fed. R. Civ. P. 33. The BP

Parties further object on the grounds that this interrogatory is overbroad and unduly burdensome

to the extent it requires the BP Parties to “describe in detail the time and substance of each such

conversation.” In addition, the BP Parties object to this interrogatory on the grounds that the

phrase “conditions on the DEEPWATER HORIZON” is vague and ambiguous. The BP Parties

also object to this request to the extent it calls for information not in the possession, custody or

control of the BP Parties.




                                                   5
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 124 of 178




       Subject to their specific and general objections, the BP Parties refer MOEX to the

documents identified in response to Anadarko Request for Production No. 6. To the extent that

Mssrs. Vidrine or Kaluza used any of the BP-managed phone lines on board the Deepwater

Horizon on April 20, 2010, the information identified in response to Anadarko Request for

Production No. 6 will be sufficient to identify the numbers called from the BP managed phone

lines on board the Deepwater Horizon. The BP Parties do not have access to records for

telephone lines that are not managed by the BP Parties.

       To the extent MOEX’s interrogatory seeks additional information, the BP Parties object

on the grounds that it is overbroad, unreasonable, unduly burdensome, and seeks information not

relevant to the claims or defenses of any party.


INTERROGATORY NO. 6:

     Please STATE whether YOU believe that the initial flow of hydrocarbons into the
MACONDO WELL on April 20, 2010 did or did not come through the shoe track barrier and
DESCRIBE in detail the basis for YOUR belief.

RESPONSE TO INTERROGATORY NO. 6:

       The BP Parties object to this interrogatory on the grounds that it is comprised of multiple

discrete subparts that count as individual interrogatories under Fed. R. Civ. P. 33. The BP

Parties object to this interrogatory because the phrase “initial flow of hydrocarbons” is vague,

ambiguous, and undefined.

       Subject to their specific and general objections, the BP Parties state that they have

previously produced documents detailing their contention on the flow path for the hydrocarbons

at the Macondo well at Bates Nos. BP-HZN-BLY00000001 - BP-HZN-BLY00000760; see also

BP-HZN-BLY00000001 - BP-HZN-BLY00061858. Accordingly, the burden of deriving or

ascertaining the answer to this interrogatory is substantially the same for MOEX as it is for the


                                                   6
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 125 of 178




BP Parties, and the BP Parties therefore refer MOEX to these documents in accordance with

Federal Rule of Civil Procedure 33(d).

       To the extent MOEX’s interrogatory seeks additional information, the BP Parties object

on the grounds that it is overbroad, unreasonable, unduly burdensome, and seeks information not

relevant to the claims or defenses of any party.


INTERROGATORY NO. 7:

      Please STATE whether YOU believe there was hydrocarbon flow through the seal
assembly during the INCIDENT on April 20, 2010, and DESCRIBE in detail the basis for
YOUR belief.

RESPONSE TO INTERROGATORY NO. 7:

       The BP Parties object to this interrogatory on the grounds that it is comprised of multiple

discrete subparts that count as individual interrogatories under Fed. R. Civ. P. 33. The BP

Parties object to this interrogatory because it is vague, ambiguous, and undefined.

       Subject to their specific and general objections, the BP Parties state that they have

produced documents detailing their contention on the flow path for the hydrocarbons at the

Macondo well at Bates Nos. BP-HZN-BLY00000001 - BP-HZN-BLY00000760; see also BP-

HZN-BLY00000001 - BP-HZN-BLY00061858.                  Accordingly, the burden of deriving or

ascertaining the answer to this interrogatory is substantially the same for MOEX as it is for the

BP Parties, and the BP Parties therefore refer MOEX to these documents in accordance with

Federal Rule of Civil Procedure 33(d).

       To the extent MOEX’s interrogatory seeks additional information, the BP Parties object

on the grounds that it is overbroad, unreasonable, unduly burdensome, and seeks information not

relevant to the claims or defenses of any party.




                                                   7
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 126 of 178




INTERROGATORY NO. 8:

         Please STATE why YOU did not perform a float collar test after cementing to determine
or understand whether there was a barrier, to hydrocarbons flow up the wellbore, and
DESCRIBE what procedure YOU were following (if CFR 250.404-5, please STATE what part
of this regulation YOU feel YOU fulfilled and how).

RESPONSE TO INTERROGATORY NO. 8:

       The BP Parties object to this interrogatory on the grounds that it is comprised of multiple

discrete subparts that count as individual interrogatories under Fed. R. Civ. P. 33. The BP

Parties object to this interrogatory on the grounds that MOEX’s use of the phrases “float collar

test” and “CFR 250.404-5” is vague, ambiguous, and undefined.

       Subject to their specific and general objections, the BP Parties state that the Deepwater

Horizon rig team did perform a test of the float collar after cementing the production casing.

That procedure is described in documents produced at Bates Nos. BP-HZN-BLY00000001 - BP-

HZN-BLY00000760;         see    also    BP-HZN-BLY00000001         -    BP-HZN-BLY00061858.

Accordingly, the burden of deriving or ascertaining the answer to this interrogatory is

substantially the same for MOEX as it is for the BP Parties, and the BP Parties therefore refer

MOEX to these documents in accordance with Federal Rule of Civil Procedure 33(d).

       To the extent MOEX’s interrogatory seeks additional information, the BP Parties object

on the grounds that it is overbroad, unreasonable, unduly burdensome, and seeks information not

relevant to the claims or defenses of any party.


INTERROGATORY NO. 9:

       Please DESCRIBE in detail why there was no monitoring of the mud pits on the DEEP
WATER HORIZON on April 20, 2010 during all or any part of the period of time from 13:28
hours (when the offloading to the supply vessel M/V Damon Bankston began) to 21:10 hours
(when the returns were routed overboard), and specifically IDENTIFY the period of time during
which monitoring did not occur.



                                                   8
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 127 of 178




RESPONSE TO INTERROGATORY NO. 9:

       The BP Parties object to this interrogatory to the extent that it purports to suggest that BP

either decided that there would not be monitoring of the mud pits or was aware that such

monitoring was not occurring.

       Subject to their specific and general objections, the BP Parties state that this interrogatory

is more appropriately suited to other parties in this litigation with primary responsibility for such

monitoring, including Halliburton/Sperry Sun and Transocean. The BP Parties further state as to

why there was no monitoring of the mud pits during the specified time period, to the extent that

was the case, that they were not aware of their personnel having been notified prior to the

incident by anyone on the rig with responsibility for monitoring the mud pits that such

individuals either were not monitoring the mud pits or were not able to monitor the mud pits at

the time.

       To the extent MOEX’s interrogatory seeks additional information, the BP Parties object

on the grounds that it is overbroad, unreasonable, unduly burdensome, and seeks information not

relevant to the claims or defenses of any party.


INTERROGATORY NO. 10:

     Please DESCRIBE each and every step taken to control or shut in the MACONDO
WELL on April 20, 2010, giving the time of day each such step was taken and by whom.

RESPONSE TO INTERROGATORY NO. 10:

       The BP Parties object to this interrogatory to the extent that it purports to call for

information that would not have been in the possession or first-hand knowledge of BP employees

at the time, as the well control and/or shut in procedures undertaken on April 20, 2010 would

have been undertaken by Transocean employees in the drillers’ cabin at the time that a well

control event was recognized.

                                                   9
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 128 of 178




       Subject to their specific and general objections, the BP Parties state that as reported in

BP's September 8, 2010 Internal Investigation Report: “No apparent well control actions were

taken until hydrocarbons were in the riser. The actions that were taken after that did not control

the well.” The BP Parties refer MOEX to BP’s September 8, 2010 Internal Investigation Report

for additional information with respect to the steps taken in an effort to shut in the well.

       To the extent MOEX’s interrogatory seeks additional information, the BP Parties object

on the grounds that it is overbroad, unreasonable, unduly burdensome, and seeks information not

relevant to the claims or defenses of any party.


INTERROGATORY NO. 11:

        Please IDENTIFY and DESCRIBE in detail YOUR well control and well shut-in
protocols and DESCRIBE in detail what those protocols state REGARDING how to respond to
loss of well control.

RESPONSE TO INTERROGATORY NO. 11:

       The BP Parties object to this interrogatory as vague and ambiguous in requesting BP’s

“well control and well shut-in protocols” when the BP policy documents on those topics would

not have been the operative documents on the rig setting the protocols for well control and well

shut-in at the time of the April 20, 2010 incident.

       Subject to their specific and general objections, the BP Parties refer MOEX to the

Transocean Well Control Handbook, previously produced at BP-HZN-MBI00023265 through

BP-HZN-MBI00023660, and the Transocean Deepwater Horizon Emergency Response Manuals

Volume 1 and 2, previously produced at BP-HZN-MBI00000943 through BP-HZN-

MBI00001577, as the operative documents on the Deepwater Horizon on April 20, 2010, at the

time of the incident. As to BP’s internal policies regarding well control and well shut-in

protocols, the BP Parties further refer MOEX to BP’s Well Control Manuals Volume 1-3,


                                                   10
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 129 of 178




previously produced at, inter alia BP-HZN-MBI00000001 through BP-HZN-MBI00000942, the

BP GoM Deepwater SPU Well Control Response Guide, previously produced at BP-HZN-

2179MDL00352704 through BP-HZN-2179MDL00352830, as well as the BP Group

Engineering Technical Practices regarding Well Control, previously produced at BP-HZN-

2179MDL00132031 through BP-HZN-2179MDL00132052.

       To the extent MOEX’s interrogatory seeks additional information, the BP Parties object

on the grounds that it is overbroad, unreasonable, unduly burdensome, and seeks information not

relevant to the claims or defenses of any party.


INTERROGATORY NO. 12:

        Please IDENTIFY every PERSON who made the decision on April 20, 2010 to divert
flow from the MACONDO WELL through the mud gas separator rather than the starboard
diverter and DESCRIBE in detail the basis for that decision.

RESPONSE TO INTERROGATORY NO. 12:

       The BP Parties object to this interrogatory to the extent that it purports to call for

information that would not have been in the possession or first-hand knowledge of BP employees

at the time, as the decision undertaken on April 20, 2010 to divert flow from the Macondo Well

through the mud gas separator rather than the starboard diverter would have been undertaken by

Transocean employees in the drillers’ cabin at the time that a well control event was recognized.

       Subject to their specific and general objections, the BP Parties state that as reported in

BP’s September 8, 2010 Internal Investigation Report, “at approximately 21:41 hours, the

[Transocean] rig crew diverted the flow of hydrocarbons to the MGS [mud gas separator].” The

Internal Investigation Report describes the “rig crew” as “Transocean’s rig crew leaders who

were aboard the Deepwater Horizon (senior toolpusher, toolpushers, drillers and assistant

drillers) collectively, or to the individuals in one or more of these roles, and includes personnel


                                                   11
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 130 of 178




acting at their direction.” The BP Parties refer MOEX to BP’s September 8, 2010 Internal

Investigation Report for additional information with respect to the decision to divert to the mud

gas separator.

       To the extent MOEX’s interrogatory seeks additional information, the BP Parties object

on the grounds that it is overbroad, unreasonable, unduly burdensome, and seeks information not

relevant to the claims or defenses of any party.


INTERROGATORY NO. 13:

      Please IDENTIFY who, if anyone, attempted to operate the emergency disconnect system
on April 20, 2010, prior to the first explosion on the DEEP WATER HORIZON, or after, and
DESCRIBE in detail the reasons for doing so or not doing so.

RESPONSE TO INTERROGATORY NO. 13:

       The BP Parties object to this interrogatory on the grounds that MOEX’s use of the phrase

“attempted to operate” as used in this interrogatory is vague, ambiguous, and undefined. Further,

the BP Parties object to this interrogatory as unduly burdensome to the extent it seeks a response

likely more available from other parties in the litigation, such as the Transocean Defendants,

particularly regarding the “reasons for [activating] or not [activating the EDS].”

       Subject to their specific and general objections, the BP Parties state that Christopher

Pleasant, Transocean Subsea Engineer, has testified that he pushed the EDS button on the BOP

panel after the first explosion on the Deepwater Horizon on April 20, 2010, and are presently

unaware of any attempt by anyone to function the EDS on April 20, 2010, prior to such first

explosion. The BP Parties do not presently know and cannot presume or infer the reasons that

any person had for not activating the EDS prior to the first explosion.




                                                   12
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 131 of 178




       To the extent MOEX’s interrogatory seeks additional information, the BP Parties object

on the grounds that it is overbroad, unreasonable, unduly burdensome, and seeks information not

relevant to the claims or defenses of any party.


INTERROGATORY NO. 14:

       Please IDENTIFY which of YOUR EMPLOYEES were informed of or involved with
planning for temporary-well abandonment procedures for the MACONDO WELL from March 1
through April 20, 2010, DESCRIBE in detail their roles in the planning, and DESCRIBE in
detail any changes, recommendations or misgivings about those procedures that were
communicated by or to YOUR EMPLOYEES, and by and to whom.

RESPONSE TO INTERROGATORY NO. 14:

       The BP Parties objects to this interrogatory as vague, ambiguous, overbroad and unduly

burdensome to the extent that it purports to seek the identification of all employees that were

“involved with” planning for temporary abandonment procedures for the Macondo Well, and to

the extent that the requests seeks the identification of “misgivings” on the part of their employees

or others relating to those procedures.

       Subject to their specific and general objections, the BP Parties refer MOEX to their

response to Request for Production No. 7 in The BP Defendants’ Responses and Objections to

Plaintiffs’ Omnibus Discovery Requests on All Defendants, served to All Counsel on November

15, 2010, and the documents produced in connection with that response. Accordingly, the

burden of deriving or ascertaining the answer to this interrogatory is substantially the same for

MOEX as it is for the BP Parties, and the BP Parties therefore refer MOEX to these documents

in accordance with Federal Rule of Civil Procedure 33(d).

       To the extent MOEX’s interrogatory seeks additional information, the BP Parties object

on the grounds that it is overbroad, unreasonable, unduly burdensome, and seeks information not

relevant to the claims or defenses of any party.


                                                   13
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 132 of 178




INTERROGATORY NO. 15:

        Beginning with the MACONDO WELL temporary abandonment procedures, plan and/or
steps discussed by YOUR EMPLOYEES by email or otherwise on April 12, 2010, DESCRIBE
in detail each temporary abandonment procedure, plan and/or step YOU decided upon or
changed between April 12 and the April 20th explosion on the DEEP WATER HORIZON, and
the specific reasons for and basis on which YOU changed or revised each such procedure, plan
and/or step.

RESPONSE TO INTERROGATORY NO. 15:

        The BP Parties object to this interrogatory as vague, ambiguous and potentially

misleading to the extent that is suggests that the temporary abandonment procedure was changed

subsequent to the submission on April 16, 2010 of their Form MMS-124 to the MMS, which set

forth the plan for the temporary abandonment procedure.

        Subject to their specific and general objections, the BP Parties will conduct a search of

non-privileged documents for additional documents relating to the details as to how that

temporary abandonment plan was implemented, and will produce responsive documents

indentified as a result of that search.

        To the extent MOEX’s interrogatory seeks additional information, the BP Parties object

on the grounds that it is overbroad, unreasonable, unduly burdensome, and seeks information not

relevant to the claims or defenses of any party.


INTERROGATORY NO. 16:

        Please DESCRIBE in detail all “kicks” experienced on the DEEP WATER HORIZON or
with the MACONDO WELL from February 1, 2010 through April 20, 2010; IDENTIFY each
PERSON who experienced, monitored and/or reported such kicks; and DESCRIBE in detail all
actions taken in response to such kicks.

RESPONSE TO INTERROGATORY NO. 16:

        The BP Parties object to this interrogatory as calling for information outside the

reasonable custody, possession and/or control of the BP Parties in purporting to call for the


                                                   14
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 133 of 178




identification of “each person who experienced, monitored and/or reported” kicks occurring

between February 1, 2010 through April 20, 2010, as that group of individuals would almost

certainly include numerous non-BP employees.

       Subject to their specific and general objections, the BP Parties state that the burden of

deriving or ascertaining information responsive to this interrogatory is substantially the same for

MOEX as it is for the BP Parties. In accordance with Federal Rule of Civil Procedure 33(d), the

BP Parties therefore refer MOEX to their response to Request for Production Nos. 7 and 8 in The

BP Defendants’ Responses and Objections to Plaintiffs’ Interrogatories, Requests for Production,

and Requests for Admission, served to All Counsel on December 8, 2010, and the documents

produced in connection with that response.

       To the extent MOEX’s interrogatory seeks additional information, the BP Parties object

on the grounds that it is overbroad, unreasonable, unduly burdensome, and seeks information not

relevant to the claims or defenses of any party.


INTERROGATORY NO. 17:

       Please STATE whether it has been YOUR policy or standard procedure since 2000 that
closing the annular preventer should be the first step taken during well control events on the
DEEPWATER HORIZON and on the other deepwater drilling rigs leased, contracted, or used by
YOU and, if so, DESCRIBE in detail the basis for the policy and/or procedure.

RESPONSE TO INTERROGATORY NO. 17:

       The BP Parties object to this interrogatory on the grounds that MOEX’s use of the words

“policy,” “standard procedure,” “procedure,” and “well control events” as used in this

interrogatory is vague, ambiguous, and undefined. Furthermore, the BP Parties object to this

interrogatory as overbroad, unduly burdensome and not reasonably calculated to lead to the

discovery of admissible evidence because, among other things, it seeks the identification of “all

other rigs” where closing the annual preventer is the first step taken during well control events.

                                                   15
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 134 of 178




          Subject to their specific and general objections, the BP Parties state that, under the BP

Parties’ Well Control Manual, depending on the activity occurring on the rig at the time of a well

control event, other BOP and LMRP functions may be activated before the annular preventer is

closed.            See      BP-HZN-2179MDL00336101               -     BP-HZN-2179MDL00336104.

          To the extent MOEX’s interrogatory seeks additional information, the BP Parties object

on the grounds that it is overbroad, unreasonable, unduly burdensome, and seeks information not

relevant to the claims or defenses of any party.


INTERROGATORY NO. 18:

        Please DESCRIBE in detail all follow-up steps that YOU took following YOUR 2009
audit of the DEEP WATER HORIZON (including the DEEP WATER HORIZON BLOWOUT
PREVENTER), that showed TRANSOCEAN was behind on maintenance of certain items on the
DEEP WATER HORIZON and that the BOP had not been inspected or certified for a number of
years, to ensure that the DEEP WATER HORIZON BLOWOUT PREVENTER maintenance had
been brought up-to-date and was appropriate.

RESPONSE TO INTERROGATORY NO. 18:

          The BP Parties object to this interrogatory to the extent it purports to define, interpret, or

characterize the scope, findings, conclusions or recommendations of BP’s September 2009 audit

entitled “Follow Up Rig Audit, Marine Assurance Audit and Out of Service Period” (“BP

September 2009 Audit Report”). The BP Parties also object to this interrogatory to the extent it

purports to attribute certain responsibilities or obligations to the BP Parties including any relating

to inspection, certification, or maintenance of the BOP. Further, the BP Parties object to this

interrogatory because the terms “brought up-to-date,” “appropriate,” “behind on maintenance,”

and “a number of years” as used in this interrogatory are vague, ambiguous and undefined. BP

further objects to this request on the grounds that it is overbroad, unduly burdensome and not

reasonably calculated to lead to the discovery of admissible evidence because, among other



                                                   16
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 135 of 178




things, it seeks “all follow-up steps [that BP took] to ensure that the DEEPWATER HORIZON

BLOWOUT PREVENTER maintenance had been brought up-to-date and was appropriate.”

       Subject to their specific and general objections, the BP Parties state that, as the owner and

operator of the Deepwater Horizon, Transocean was responsible for inspecting, surveying,

testing, maintaining, modifying, and altering the blowout preventer. In addition, Cameron, as

manufacturer of the blowout preventer, performed certain maintenance and repair activities on

the Deepwater Horizon blowout preventer, including changing the batteries on the control pods.

The BP Parties therefore direct MOEX to the Transocean Defendants and Cameron, who will

have additional records and information regarding this subject.

       The BP Parties are aware that Transocean conducted extensive BOP maintenance during

the out-of-service period in September 2009 and during the Deepwater Horizon’s move to the

Macondo well in January 2010. The BP Parties are also aware that the BOP successfully

completed function and pressure tests after the September 2009 Audit and before the April 20

incident. With regard to inspections, surveys, testing, maintenance, modifications, or alterations

performed on the blowout preventer of the Macondo Well prior to the incident, the BP Parties

also refer MOEX to their response to MDL Interrogatory No. 31.

       The BP Parties also state that follow-up steps taken by BP following the September 2009

Audit are recorded in electronic communications.         In addition, the burden of deriving or

ascertaining the answer to this interrogatory is substantially the same for MOEX as it is for the

BP Parties, and the BP Parties therefore refer MOEX to the following documents in accordance

with Federal Rule of Civil Procedure 33(d): BP-HZN-2179MDL00095246-BP-HZN-

2179MDL00095247; BP-HZN-2179MDL00095248-BP-HZN-2179MDL00095307; BP-HZN-

2179MDL00095308-BP-HZN-2179MDL00095366;                  BP-HZN-2179MDL00095367-BP-HZN-



                                                17
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 136 of 178




2179MDL00095425; BP-HZN-2179MDL00340713; BP-HZN-2179MDL00340714; BP-HZN-

2179MDL00340255; BP-HZN-2179MDL00340256; BP-HZN-2179MDL00349001; BP-HZN-

2179MDL00349002; BP-HZN-2179MDL00357339; BP-HZN-2179MDL00357340; BP-HZN-

2179MDL00028728; BP-HZN-2179MDL00028729; BP-HZN-2179MDL00028730; BP-HZN-

2179MDL00028731; BP-HZN-2179MDL00096163; BP-HZN-2179MDL00096164; BP-HZN-

2179MDL00096165; BP-HZN-2179MDL00096235; BP-HZN-2179MDL00096236; BP-HZN-

2179MDL00096237; BP-HZN-2179MDL00033637; BP-HZN-2179MDL00033638; BP-HZN-

2179MDL00372059-BP-HZN-2179MDL00372060.

       To the extent MOEX’s interrogatory seeks additional information, the BP Parties object

on the grounds that it is overbroad, unreasonable, unduly burdensome, and seeks information not

relevant to the claims or defenses of any party.


INTERROGATORY NO. 19:

       Please IDENTIFY the companies that provided service for any COMMUNICATIONS
devices, including but not limited to telephones, cellular phones, smart phones, and Blackberries,
that were in the possession of any PERSONS aboard the DEEP WATER HORIZON or the M/V
Damon Bankston on April 20 and 21, 2010, and the telephone numbers for each such device.

RESPONSE TO INTERROGATORY NO. 19:

       The BP Parties object to this interrogatory as overbroad to the extent that it calls for the

production of information outside the knowledge, custody or control of the BP Parties in seeking

information relating to the service companies and telephone numbers for all telephones, cellular

phones, smart phones, and Blackberries that were in the possession of all persons aboard the

Deepwater Horizon or the M/V Damon Bankston on April 20 and 21, 2010.

       Subject to their specific and general objections, the BP Parties will produce information,

to the extent it is available, relating to the service companies and phone numbers for all

telephone numbers for all telephones, cellular phones, smart phones, and Blackberries of which

                                                   18
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 137 of 178




BP is or was aware for any BP employees on the rig on April 20 and 21, 2010. The burden of

deriving or ascertaining the answer to this interrogatory is substantially the same for MOEX as it

is for the BP Parties, and the BP Parties therefore refer MOEX to these documents in accordance

with Federal Rule of Civil Procedure 33(d).

       To the extent MOEX’s interrogatory seeks additional information, the BP Parties object

on the grounds that it is overbroad, unreasonable, unduly burdensome, and seeks information not

relevant to the claims or defenses of any party.


INTERROGATORY NO. 20:

       Please IDENTIFY, for the month of April 2010, the type of device by which any of
YOUR EMPLOYEES on the DEEP WATER HORIZON communicated with anyone on shore
(wireless phone, satellite phone, Blackberries, or any similar devices), the telephone number of
that device, and the COMMUNICATIONS provider for that telephone number, and the
PERSON to whom that device belonged or was assigned.

RESPONSE TO INTERROGATORY NO. 20:

       The BP Parties object to this interrogatory to the extent that it calls for the production of

information outside the knowledge, custody or control of the BP Parties.

       Subject to their specific and general objections, the BP Parties will produce information

to the extent it is available, relating to the service providers, telephone numbers, and identifying

information (to the extent known) for all for all telephones, cellular phones, smart phones, and

Blackberries of which BP is or was aware for any BP employees on the rig during the month of

April 2010.

       To the extent MOEX’s interrogatory seeks additional information, the BP Parties object

on the grounds that it is overbroad, unreasonable, unduly burdensome, and seeks information not

relevant to the claims or defenses of any party.




                                                   19
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 138 of 178




INTERROGATORY NO. 21:

       Did YOU confirm that all relevant lab test results had been obtained and considered by
the HALLIBURTON in-house cementing engineer before cement placement proceeded at the
MACONDO WELL, and if so, DESCRIBE in detail how you performed that confirmation
including the IDENTITY of all COMMUNICATIONS or DOCUMENTS RELATED TO such
confirmation.

RESPONSE TO INTERROGATORY NO. 21:

       The BP Parties object to this interrogatory on the grounds that it is comprised of multiple

discrete subparts that count as individual interrogatories under Fed. R. Civ. P. 33. The BP

Parties object to this interrogatory on the grounds that (i) MOEX’s use of the phrases “all

relevant lab test results” and “obtained and considered” is vague, ambiguous, and undefined; and

(ii) it seeks information more readily available from other parties in the litigation, such as the

Halliburton Defendants.

       Subject to their specific and general objections, the BP Parties state that they contracted

with Halliburton for it to provide cementing services for the Macondo Well. Before the cement

job on the production interval on April 19-20, 2010, the BP Parties communicated with and met

with Halliburton on numerous occasions in March and April 2010 regarding the status of

Halliburton’s laboratory testing on the cement slurry. Halliburton, however, did not raise any

issues with the results of its testing with the BP Parties. Further, Halliburton did not provide the

BP Parties with all of its testing results. As a result, BP relied on Halliburton to provide a

suitable cement slurry and did not request additional cement testing beyond the testing

recommended by Halliburton. The March and April 2010 communications are produced, among

other places, at Bates Nos. BP-HZN-2179MDL00243096; BP-HZN-2179MDL00247602; BP-

HZN-2179MDL00247590; BP-HZN-2179MDL00249820; BP-HZN-2179MDL00250018; BP-

HZN-2179MDL00250113; BP-HZN-2179MDL00250539; BP-HZN-2179MDL00250613; BP-

HZN-2179MDL00250624; BP-HZN-2179MDL00250637; BP-HZN-2179MDL00250690; BP-

                                                20
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 139 of 178




HZN-2179MDL00250719; BP-HZN-2179MDL00250722; BP-HZN-2179MDL00250724; BP-

HZN-2179MDL00250740; BP-HZN-2179MDL00250777; BP-HZN-2179MDL00250778; BP-

HZN-2179MDL00041325; BP-HZN-2179MDL00004274; BP-HZN-2179MDL00022599; BP-

HZN-MBI00171149; BP-HZN-MBI00171150; BP-HZN-MBI00171151.                        Accordingly, the

burden of deriving or ascertaining the answer to this interrogatory is substantially the same for

MOEX as it is for the BP Parties, and the BP Parties therefore refer MOEX to these documents

in accordance with Federal Rule of Civil Procedure 33(d).

       To the extent MOEX’s interrogatory seeks additional information, the BP Parties object

on the grounds that it is overbroad, unreasonable, unduly burdensome, and seeks information not

relevant to the claims or defenses of any party.


INTERROGATORY NO. 22:

      DESCRIBE in detail what quality assurance YOU did to ensure that potential flaws and
weaknesses in the cement slurry design for the MACONDO WELL were identified.

RESPONSE TO INTERROGATORY NO. 22:

       The BP Parties object to this interrogatory because the MOEX’s use of the phrases

“quality assurance” and “potential flaws and weaknesses in the cement slurry design” is vague,

ambiguous, and undefined.

       Subject to their specific and general objections, the BP Parties state that they contracted

with Halliburton for it to provide cementing services for the Macondo well. Before the cement

job on the production interval on April 19-20, 2010, the BP Parties communicated with and met

with Halliburton on numerous occasions in March and April 2010 regarding Halliburton’s

cement slurry design on the cement slurry. Halliburton, however, did not raise any issues with

the results of its testing with the BP Parties. Further, Halliburton did not provide the BP Parties

with all of its testing results. As a result, BP relied on Halliburton to provide a suitable cement

                                                   21
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 140 of 178




slurry and did not request additional cement testing beyond the testing recommended by

Halliburton. The March and April 2010 communications are produced, among other places, at

Bates    Nos.     BP-HZN-2179MDL00243096;               BP-HZN-2179MDL00247602;          BP-HZN-

2179MDL00247590; BP-HZN-2179MDL00249820; BP-HZN-2179MDL00250018; BP-HZN-

2179MDL00250113; BP-HZN-2179MDL00250539; BP-HZN-2179MDL00250613; BP-HZN-

2179MDL00250624; BP-HZN-2179MDL00250637; BP-HZN-2179MDL00250690; BP-HZN-

2179MDL00250719; BP-HZN-2179MDL00250722; BP-HZN-2179MDL00250724; BP-HZN-

2179MDL00250740; BP-HZN-2179MDL00250777; BP-HZN-2179MDL00250778; BP-HZN-

2179MDL00041325; BP-HZN-2179MDL00004274; BP-HZN-2179MDL00022599; BP-HZN-

MBI00171149; BP-HZN-MBI00171150; BP-HZN-MBI00171151. Accordingly, the burden of

deriving or ascertaining the answer to this interrogatory is substantially the same for MOEX as it

is for the BP Parties, and the BP Parties therefore refer MOEX to these documents in accordance

with Federal Rule of Civil Procedure 33(d).

        To the extent MOEX’s interrogatory seeks additional information, the BP Parties object

on the grounds that it is overbroad, unreasonable, unduly burdensome, and seeks information not

relevant to the claims or defenses of any party.


INTERROGATORY NO. 23:

    DESCRIBE in detail what lab tests of the cement YOU reviewed and relied upon for the
MACONDO WELL, and DESCRIBE in detail why you did not ask for further tests.

RESPONSE TO INTERROGATORY NO. 23:

        The BP Parties object to this interrogatory on the grounds that it is comprised of multiple

discrete subparts that count as individual interrogatories under Fed. R. Civ. P. 33. The BP

Parties object to this interrogatory because MOEX’s use of the phrase “reviewed and relied

upon” is vague, ambiguous, and undefined.

                                                   22
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 141 of 178




       Subject to their specific and general objections, the BP Parties state that they contracted

with Halliburton for it to provide cementing services for the Macondo well. Before the cement

job on the production interval on April 19-20, 2010, the BP Parties received laboratory reports

summarizing some of the testing performed by Halliburton on March 8th, April 1st, and April

15th-19th. These laboratory reports are produced at Bates Nos. BP-HZN-2179MDL00243101;

BP-HZN-2179MDL00247592; BP-HZN-2179MDL00249842; BP-HZN-2179MDL00250616;

BP-HZN-2179MDL00250691 - BP-HZN-2179MDL00250695; BP-HZN-2179MDL00250726;

BP-HZN-2179MDL00250742; BP-HZN-2179MDL00041372; BP-HZN-2179MDL00041326.

The BP Parties reviewed and relied on at least the pump time and compressive strength testing

results communicated by Halliburton. Halliburton, however, did not raise any issues with the

results of its testing with the BP Parties. Further, Halliburton did not provide the BP Parties with

all of its testing results. As a result, BP relied on Halliburton to provide a suitable cement slurry

and did not request additional cement testing beyond the testing recommended by Halliburton.

The March and April 2010 communications are produced, among other places, at Bates Nos. BP-

HZN-2179MDL00243096; BP-HZN-2179MDL00247602; BP-HZN-2179MDL00247590; BP-

HZN-2179MDL00249820; BP-HZN-2179MDL00250018; BP-HZN-2179MDL00250113; BP-

HZN-2179MDL00250539; BP-HZN-2179MDL00250613; BP-HZN-2179MDL00250624; BP-

HZN-2179MDL00250637; BP-HZN-2179MDL00250690; BP-HZN-2179MDL00250719; BP-

HZN-2179MDL00250722; BP-HZN-2179MDL00250724; BP-HZN-2179MDL00250740; BP-

HZN-2179MDL00250777; BP-HZN-2179MDL00250778; BP-HZN-2179MDL00041325; BP-

HZN-2179MDL00004274; BP-HZN-2179MDL00022599; BP-HZN-MBI00171149; BP-HZN-

MBI00171150; BP-HZN-MBI00171151. Accordingly, the burden of deriving or ascertaining

the answer to this interrogatory is substantially the same for MOEX as it is for the BP Parties,



                                                 23
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 142 of 178




and the BP Parties therefore refer MOEX to these documents in accordance with Federal Rule of

Civil Procedure 33(d).

       To the extent MOEX’s interrogatory seeks additional information, the BP Parties object

on the grounds that it is overbroad, unreasonable, unduly burdensome, and seeks information not

relevant to the claims or defenses of any party.


INTERROGATORY NO. 24:

      DESCRIBE in detail why YOUR MACONDO WELL team allowed the cement
placement to proceed on April 19 and 20, 2010 after your review of lab tests and results.

RESPONSE TO INTERROGATORY NO. 24:

       The BP Parties object to this interrogatory because MOEX’s use of the phrases “allowed

the cement placement to proceed” and “after your review of lab tests and results” is vague,

ambiguous, and undefined.

       Subject to their specific and general objections, the BP Parties state that they contracted

with Halliburton for it to provide cementing services for the Macondo Well. Before the cement

job on the production interval on April 19-20, 2010, the BP Parties received laboratory reports

summarizing some of the testing performed by Halliburton on March 8th, April 1st, and April

15th-19th. These laboratory reports are produced at Bates Nos. BP-HZN-2179MDL00243101;

BP-HZN-2179MDL00247592; BP-HZN-2179MDL00249842; BP-HZN-2179MDL00250616;

BP-HZN-2179MDL00250691 - BP-HZN-2179MDL00250695; BP-HZN-2179MDL00250726;

BP-HZN-2179MDL00250742; BP-HZN-2179MDL00041372; BP-HZN-2179MDL00041326.

The BP Parties reviewed and relied on at least the pump time and compressive strength testing

results communicated by Halliburton. Halliburton, however, did not raise any issues with the

results of its testing with the BP Parties. Further, Halliburton did not provide the BP Parties with

all of its testing results and the BP Parties were not able to review all of the laboratory tests and

                                                   24
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 143 of 178




results. As a result, BP relied on Halliburton to provide a suitable cement slurry and did not

request additional cement testing beyond the testing recommended by Halliburton. The March

and April 2010 communications are produced, among other places, at Bates Nos. BP-HZN-

2179MDL00243096; BP-HZN-2179MDL00247602; BP-HZN-2179MDL00247590; BP-HZN-

2179MDL00249820; BP-HZN-2179MDL00250018; BP-HZN-2179MDL00250113; BP-HZN-

2179MDL00250539; BP-HZN-2179MDL00250613; BP-HZN-2179MDL00250624; BP-HZN-

2179MDL00250637; BP-HZN-2179MDL00250690; BP-HZN-2179MDL00250719; BP-HZN-

2179MDL00250722; BP-HZN-2179MDL00250724; BP-HZN-2179MDL00250740; BP-HZN-

2179MDL00250777; BP-HZN-2179MDL00250778; BP-HZN-2179MDL00041325; BP-HZN-

2179MDL00004274;         BP-HZN-2179MDL00022599;          BP-HZN-MBI00171149;         BP-HZN-

MBI00171150; BP-HZN-MBI00171151. Accordingly, the burden of deriving or ascertaining

the answer to this interrogatory is substantially the same for MOEX as it is for the BP Parties,

and the BP Parties therefore refer MOEX to these documents in accordance with Federal Rule of

Civil Procedure 33(d).

       To the extent MOEX’s interrogatory seeks additional information, the BP Parties object

on the grounds that it is overbroad, unreasonable, unduly burdensome, and seeks information not

relevant to the claims or defenses of any party.

                     REQUEST FOR PRODUCTION OF DOCUMENTS

REQUEST FOR PRODUCTION NO. 1:

     Please produce all DOCUMENTS reviewed by YOU in connection with preparation of
YOUR responses to each of the Interrogatories set forth above.

RESPONSE TO REQUEST FOR PRODUCTION NO. 1:

       The BP parties object to this request on the grounds that it is unreasonable, vague,

overbroad, and unduly burdensome in that it seeks the production of every document identified


                                                   25
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 144 of 178




in connection with the BP Parties extensive efforts to preserve, collect, and review information

regardless of the content of such documents, and that it seeks documents that are either being

produced in response to other specific requests or documents that are necessarily irrelevant, not

responsive to any specific request, and/or for which the BP Parties have stated objections to

producing in either their general objections on in response to specific requests.


REQUEST FOR PRODUCTION NO. 2:

       Please produce all DOCUMENTS RELATING TO required or recommended practices to
prevent or minimize pollution during the course of drilling or operating a well.

RESPONSE TO REQUEST FOR PRODUCTION NO. 2:

        The BP Parties object to this request on the grounds that it is overbroad and unduly

burdensome to the extent that it seeks the production of “all” documents related to recommended

practices to prevent or minimize pollution during the course of drilling or operating a well. The

BP Parties object to this request as overbroad and unduly burdensome to the extent that it seeks

documents without limitation to the location of the well, time the well was drilled or well

conditions.

        Subject to their specific and general objections, the BP Parties will conduct a reasonable

search of non-privileged documents for documents relating to required or recommended

practices to prevent or minimize pollution that were applicable to the drilling and operation of

the Macondo Well, and will produce responsive documents identified as a result of that search,

including documents previously produced in response to Request for Production Nos. 54, 142,

153, and 166 in The BP Parties’ Responses and Objections to Plaintiffs’ Interrogatories,

Requests for Production, and Requests for Admission, served on All Counsel on December 8,

2010.



                                                26
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 145 of 178




        To the extent MOEX’s request seeks additional documents, the BP Parties object on the

grounds that it is overbroad, unreasonable, unduly burdensome, and seeks information not

relevant to the claims or defenses of any party.


REQUEST FOR PRODUCTION NO. 3:

       Please produce all DOCUMENTS RELATING TO planned activities, and activities
undertaken, on the DEEP WATER HORIZON during the period from April 14 through April 25,
2010.

RESPONSE TO REQUEST FOR PRODUCTION NO. 3:

        The BP Parties object to this request to the extent that it purports to call for documents in

the possession of other parties.

        Subject to their specific and general objections, the BP Parties will conduct a search of

non-privileged documents for documents relating to planned drilling and operation activities, and

drilling and operation activities undertaken, on the Deepwater Horizon during the period from

April 14, 2010, through April 25, 2010, and will produce responsive documents identified as a

result of that search.

        To the extent MOEX’s request seeks additional documents, the BP Parties object on the

grounds that it is overbroad, unreasonable, unduly burdensome, and seeks information not

relevant to the claims or defenses of any party.


REQUEST FOR PRODUCTION NO. 4:

        Please produce all DOCUMENTS reflecting, or considered by YOU in connection with,
pre-cement job evaluation of the design and volume of cement to be used for the final production
casing string.




                                                   27
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 146 of 178




RESPONSE TO REQUEST FOR PRODUCTION NO. 4:

       The BP Parties object to this request on the grounds that MOEX’s use of the phrases

“pre-cement job evaluation” and “design and volume of cement” is vague, ambiguous, and

undefined.

       Subject to their specific and general objections, the BP Parties will conduct a search of

non-privileged documents for documents reflecting Halliburton cement recommendations,

Opticem reports, laboratory reports and correspondence for the production interval of the

Macondo Well, and will produce responsive documents identified as a result of that search.

       To the extent MOEX’s request seeks additional documents, the BP Parties object on the

grounds that it is overbroad, unreasonable, unduly burdensome, and seeks information not

relevant to the claims or defenses of any party.


REQUEST FOR PRODUCTION NO. 5:

       Please produce all DOCUMENTS reflecting, or considered by YOU in connection with,
pre-cement job evaluation of the potential for contamination of the cement job for the final
production casing string.

RESPONSE TO REQUEST FOR PRODUCTION NO. 5:

       The BP Parties object to this request on the grounds that MOEX’s use of the phrases

“pre-cement job evaluation” and “potential for contamination of the cement job” is vague,

ambiguous, and undefined.

       Subject to their specific and general objections, the BP Parties will conduct a search of

non-privileged documents for documents reflecting Halliburton cement recommendations,

Opticem reports, laboratory reports and correspondence for the production interval of the

Macondo Well, and will produce responsive documents identified as a result of that search.




                                                   28
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 147 of 178




       To the extent MOEX’s request seeks additional documents, the BP Parties object on the

grounds that it is overbroad, unreasonable, unduly burdensome, and seeks information not

relevant to the claims or defenses of any party.


REQUEST FOR PRODUCTION NO. 6:

       Please produce all DOCUMENTS reflecting, or considered by YOU in connection with,
pre-cement job evaluation of the amount of time that should elapse in order to permit the cement
job on the final casing string to strengthen before commencing further operations on the
MACONDO WELL.

RESPONSE TO REQUEST FOR PRODUCTION NO. 6:

       The BP Parties object to this request on the grounds that MOEX’s use of the phrases

“pre-cement job evaluation” and “permit the cement job on the final casing string to strengthen”

is vague, ambiguous, and undefined.

       Subject to their specific and general objections, the BP Parties will conduct a search of

non-privileged documents for documents reflecting Halliburton cement recommendations,

Opticem reports, laboratory reports and correspondence for the production interval of the

Macondo Well, and will produce responsive documents identified as a result of that search.

       To the extent MOEX’s request seeks additional documents, the BP Parties object on the

grounds that it is overbroad, unreasonable, unduly burdensome, and seeks information not

relevant to the claims or defenses of any party.


REQUEST FOR PRODUCTION NO. 7:

       Please produce all DOCUMENTS reflecting policies, practices or procedures for when
(and under what circumstances) and how a float collar should be tested to determine whether it
has converted properly or has been damaged during conversion attempts.




                                                   29
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 148 of 178




RESPONSE TO REQUEST FOR PRODUCTION NO. 7:

        The BP Parties object to this request on the grounds that MOEX’s use of the phrases

“policies, practices or procedures” and “how a float collar should be tested to determine whether

it has converted properly or has been damaged during conversion attempts” is vague, ambiguous,

and undefined.

        Subject to their specific and general objections, the BP Parties will conduct a search of

non-privileged documents for BP defined or recommended practices relating to float equipment,

and will produce responsive documents identified as a result of that search.

        To the extent MOEX’s request seeks additional documents, the BP Parties object on the

grounds that it is overbroad, unreasonable, unduly burdensome, and seeks information not

relevant to the claims or defenses of any party.


REQUEST FOR PRODUCTION NO. 8:

        WITH RESPECT TO the MACONDO WELL, please produce all DOCUMENTS
reflecting discussion, or evaluation, of whether there was, or would be, sufficient differential
pressure between the cement in the final casing string and the fluid in the annulus to determine
whether the float collar was properly converted.

RESPONSE TO REQUEST FOR PRODUCTION NO. 8:

        The BP Parties object to this request on the grounds that MOEX’s use of the phrase

“sufficient differential pressure between the cement in the final casing string and the fluid in the

annulus” is vague, ambiguous, and undefined.

        Subject to their specific and general objections, the BP Parties will conduct a search of

non-privileged documents for documents reflecting Halliburton cement recommendations,

Opticem reports, laboratory reports and correspondence, and will produce responsive documents

identified as a result of that search.



                                                   30
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 149 of 178




       To the extent MOEX’s request seeks additional documents, the BP Parties object on the

grounds that it is overbroad, unreasonable, unduly burdensome, and seeks information not

relevant to the claims or defenses of any party.


REQUEST FOR PRODUCTION NO. 9:

        Please produce all DOCUMENTS reflecting policies, practices or procedures
REGARDING displacement of kill weight mud to seawater before a well has successfully passed
a negative test.

RESPONSE TO REQUEST FOR PRODUCTION NO. 9:

       The BP Parties object to this request to the extent that it purports to call for documents in

the possession of other parties.

       Subject to their specific and general objections, the BP Parties will conduct a search of

non-privileged documents for documents reflecting policies, practices or procedures regarding

displacement of mud to seawater, and will produce responsive documents identified as a result of

that search.

       To the extent MOEX’s request seeks additional documents, the BP Parties object on the

grounds that it is overbroad, unreasonable, unduly burdensome, and seeks information not

relevant to the claims or defenses of any party.


REQUEST FOR PRODUCTION NO. 10:

        Please produce all DOCUMENTS reflecting policies, practices or procedures in
connection with, or concerns or issues REGARDING, the conduct of simultaneous activities on a
rig, MODU or platform that might interfere with or prevent monitoring of fluid gains or losses in
a well.

RESPONSE TO REQUEST FOR PRODUCTION NO. 10:

       The BP Parties object to this request to the extent that it purports to call for documents in

the possession of other parties. The BP Parties further object to this request as vague and


                                                   31
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 150 of 178




ambiguous in calling for the production of information reflecting “concerns or issues regarding”

these topics.

       Subject to their specific and general objections, the BP Parties will conduct a search of

non-privileged documents for documents reflecting policies, practices or procedures in

connection with the conduct of simultaneous activities on a rig, MODU platform, including

where those activities might interfere with or prevent monitoring of fluid gains or losses in a

well, and will produce responsive documents identified as a result of that search.

       To the extent MOEX’s request seeks additional documents, the BP Parties object on the

grounds that it is overbroad, unreasonable, unduly burdensome, and seeks information not

relevant to the claims or defenses of any party.


REQUEST FOR PRODUCTION NO. 11:

      Please produce all of YOUR temporary abandonment plans, and drafts of such plans, for
any DEEPWATER WELL in the Gulf of Mexico during the last ten years.

RESPONSE TO REQUEST FOR PRODUCTION NO. 11:

       The BP Parties object to this request on the grounds that it is overbroad and unduly

burdensome in calling for the production of drafts of all temporary abandonment plans for any

deepwater well in the Gulf of Mexico during the last ten years.

       Subject to their specific and general objections, the BP Parties will produce those

temporary abandonment procedures filed with the Bureau of Ocean Energy Management,

Regulation and Enforcement (BOEM) from 2005 through 2010 for deepwater wells in the Gulf

of Mexico (BP-HZN-OSC-00005668 - BP-HZN-OSC-00006249).

       To the extent MOEX’s request seeks additional documents, the BP Parties object on the

grounds that it is overbroad, unreasonable, unduly burdensome, and seeks information not

relevant to the claims or defenses of any party.

                                                   32
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 151 of 178




REQUEST FOR PRODUCTION NO. 12:

      Please produce all DOCUMENTS discussing, or reflecting, evaluation by YOU of a
change from a long string design to a tie-back with liner during the course of drilling any
DEEPWATER WELL in the Gulf of Mexico during the last ten years.

RESPONSE TO REQUEST FOR PRODUCTION NO. 12:

       The BP Parties object to this request on the grounds that it is overbroad and unduly

burdensome to the extent that it seeks the production of “all” documents discussing or reflecting

evaluation of a change from a long string design to a tie-back with liner during the course of

drilling any Deepwater Well in the Gulf of Mexico during the last ten years.

       Subject to their specific and general objections, the BP Parties will conduct a reasonable

search of non-privileged documents related the evaluation of casing design options during the

course of drilling the Macondo Well, and will produce documents identified as a result of that

search, including documents previously identified in response to Anadarko Petroleum

Corporation’s Interrogatories and Requests for Production of Documents (“Anadarko’s

Discovery requests”) Interrogatory No. 8.

       To the extent MOEX’s request seeks additional documents, the BP Parties object on the

grounds that it is overbroad, unreasonable, unduly burdensome, and seeks information not

relevant to the claims or defenses of any party.


REQUEST FOR PRODUCTION NO. 13:

       Please produce all DOCUMENTS discussing, reflecting or RELATING TO YOUR
decision not to conduct a cement bond log for the MACONDO WELL and DOCUMENTS
RELATING TO or IDENTIFYING any PERSONS involved in that decision




                                                   33
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 152 of 178




RESPONSE TO REQUEST FOR PRODUCTION NO. 13:

         The BP Parties object to the extent that this request for production attempts to ask them to

identify persons, a request that is only proper in the form of an interrogatory under Fed. R. Civ.

P. 33.

         Subject to their specific and general objections, the BP Parties will conduct a search of

non-privileged documents for documents addressing whether to conduct a cement bond log for

the production interval of the Macondo Well, and will produce responsive documents identified

as a result of that search.

         To the extent MOEX’s request seeks additional documents, the BP Parties object on the

grounds that it is overbroad, unreasonable, unduly burdensome, and seeks information not

relevant to the claims or defenses of any party.


REQUEST FOR PRODUCTION NO. 14:

       Please produce all DOCUMENTS evidencing or RELATING TO YOUR internal rules
and procedures for deepwater drilling of wells.

RESPONSE TO REQUEST FOR PRODUCTION NO. 14:

         The BP Parties object to this request on the grounds that MOEX’s use of the phrase

“internal rules and procedures for deepwater drilling of wells” is vague, undefined, and

overbroad, especially in light of the fact that it is not limited to any subject matter or relevant

inquiry; it is argumentative; and it is duplicative and cumulative of several other discovery

requests.

         Subject to their specific and general objections, the BP Parties state that they have

produced, or will produce, their defined and/or recommended practices for drilling operations in

the Gulf of Mexico.



                                                   34
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 153 of 178




       To the extent MOEX’s request seeks additional documents, the BP Parties object on the

grounds that it is overbroad, unreasonable, unduly burdensome, and seeks information not

relevant to the claims or defenses of any party.


REQUEST FOR PRODUCTION NO. 15:

         Please produce all DOCUMENTS, including invoices, RELATING TO YOUR response
activities RELATED TO the spill resulting from the INCIDENT.

RESPONSE TO REQUEST FOR PRODUCTION NO. 15:

       The BP Parties object to this request on the grounds that it is unreasonable and unduly

burdensome to the extent it can be read to request "all documents" that were generated in any

way "related to" the spill response.

       Subject to their specific and general objections, the BP Parties will conduct a reasonable

search of non-privileged documents for documents sufficient to show the costs incurred for

response activities, and will produce responsive documents identified as a result of that search.

       To the extent MOEX’s request seeks additional documents, the BP Parties object on the

grounds that it is overbroad, unreasonable, unduly burdensome, and seeks information not

relevant to the claims or defenses of any party.


REQUEST FOR PRODUCTION NO. 16:

       Please produce all DOCUMENTS RELATING TO training of YOUR engineers who
design DEEPWATER WELLS, including but not limited to training required before being hired
by BP as well as training given by or at BP after hire.

RESPONSE TO REQUEST FOR PRODUCTION NO. 16:

       The BP Parties object to this request on the grounds that it is overbroad and unduly

burdensome to the extent that it seeks the production of “all” documents relating to training of




                                                   35
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 154 of 178




BP engineers who design Deepwater Wells without any limit as to location, time or well

condition.

       Subject to their specific and general objections, the BP Parties will conduct a reasonable

search of non-privileged documents relating to training of BP engineers who were involved in

the design of the Macondo Well and will produce responsive documents identified as a result of

that search, including documents previously produced in response to Request for Production

Nos. 18, 142, 144, and 160 in The BP Parties’ Responses and Objections to Plaintiffs’

Interrogatories, Requests for Production, and Requests for Admission, served on All Counsel on

December 8, 2010.

       To the extent MOEX’s request seeks additional documents, the BP Parties object on the

grounds that it is overbroad, unreasonable, unduly burdensome, and seeks information not

relevant to the claims or defenses of any party.


REQUEST FOR PRODUCTION NO. 17:

       Please produce all DOCUMENTS RELATING TO training of YOUR personnel who act
as well site leaders on DEEPWATER WELLS, including but not limited to training required
before being hired by BP as well as training given by or at BP after hire.

RESPONSE TO REQUEST FOR PRODUCTION NO. 17:

       The BP Parties object to this request on the grounds that it is overbroad and unduly

burdensome to the extent that it seeks the production of “all” documents relating to training of

well site leaders on Deepwater Wells without any limit as to location, time or well condition.

       Subject to their specific and general objections, the BP Parties will conduct a reasonable

search of non-privileged documents relating to training of BP well site leaders who were

involved in the design of the Macondo Well and will produce responsive documents identified as

a result of that search, including documents previously produced in response to Request for


                                                   36
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 155 of 178




Production Nos 18, 142, 144 and 160 in The BP Parties’ Responses and Objections to Plaintiffs’

Interrogatories, Requests for Production, and Requests for Admission, served on All Counsel on

December 8, 2010.

       To the extent MOEX’s request seeks additional documents, the BP Parties object on the

grounds that it is overbroad, unreasonable, unduly burdensome, and seeks information not

relevant to the claims or defenses of any party.


REQUEST FOR PRODUCTION NO. 18:

       Please produce all DOCUMENTS RELATING TO training of YOUR personnel who act
as well team leaders on DEEPWATER WELLS, including but not limited to training required
before being hired by BP as well as training given by or at BP after hire.

RESPONSE TO REQUEST FOR PRODUCTION NO. 18:

       The BP Parties object to this request on the grounds that it is overbroad and unduly

burdensome to the extent that it seeks the production of “all” documents relating to training of

well team leaders on Deepwater Wells without any limit as to location, time or well condition.

       Subject to their specific and general objections, the BP Parties will conduct a reasonable

search of non-privileged documents relating to training of BP well team leaders who were

involved in the design of the Macondo Well and will produce responsive documents identified as

a result of that search, including documents previously produced in response to Request for

Production Nos. 18, 142, 144 and 160 in The BP Parties’ Responses and Objections to Plaintiffs’

Interrogatories, Requests for Production, and Requests for Admission, served on All Counsel on

December 8, 2010.

       To the extent MOEX’s request seeks additional documents, the BP Parties object on the

grounds that it is overbroad, unreasonable, unduly burdensome, and seeks information not

relevant to the claims or defenses of any party.


                                                   37
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 156 of 178




REQUEST FOR PRODUCTION NO. 19:

        Please produce all DOCUMENTS RELATING TO the qualifications of YOUR
personnel who designed the MACONDO WELL or modified its design during drilling, or acted
as well site leaders or well team leaders.

RESPONSE TO REQUEST FOR PRODUCTION NO. 19:

       The BP Parties object to this request on the grounds that it is overbroad and unduly

burdensome to the extent that it seeks the production of “all” documents relating to qualifications

of personnel who designed the Macondo Well, modified its design during drilling or acted as

well site leaders or well team leaders.

       Subject to their specific and general objections, the BP Parties will conduct a reasonable

search of non-privileged documents relating to qualifications of BP personnel who designed the

Macondo Well, modified its design during drilling or acted as well site leaders or well team

leaders and will produce responsive documents identified as a result of that search, including

documents previously produced in response to Request for Production Nos. 18, 142, 144 and 160

in The BP Parties’ Responses and Objections to Plaintiffs’ Interrogatories, Requests for

Production, and Requests for Admission, served on All Counsel on December 8, 2010.

       To the extent MOEX’s request seeks additional documents, the BP Parties object on the

grounds that it is overbroad, unreasonable, unduly burdensome, and seeks information not

relevant to the claims or defenses of any party.


REQUEST FOR PRODUCTION NO. 20:

       Please produce all DOCUMENTS RELATING TO the specific training of YOUR
personnel, before or after hire by BP, who designed the MACONDO WELL or modified its
design during drilling, or acted as well site leaders or well team leaders.




                                                   38
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 157 of 178




RESPONSE TO REQUEST FOR PRODUCTION NO. 20:

       The BP Parties object to this request on the grounds that it is overbroad and unduly

burdensome to the extent that it seeks the production of “all” documents relating to the training

of the personnel who designed the Macondo Well, modified its design during drilling or acted as

well site leaders or well team leaders. The BP Parties object to this request to the extent it is

duplicative of Request for Production Nos. 16, 17 and 18.

       Subject to their specific and general objections, the BP Parties will conduct a reasonable

search of non-privileged documents relating to the training of BP personnel who designed the

Macondo Well, modified its design during drilling or acted as well site leaders or well team

leaders and will produce responsive documents identified as a result of that search, including

documents previously produced in response to Request for Production Nos. 18, 142, 144 and 160

in The BP Parties’ Responses and Objections to Plaintiffs’ Interrogatories, Requests for

Production, and Requests for Admission, served on All Counsel on December 8, 2010.

       To the extent MOEX’s request seeks additional documents, the BP Parties object on the

grounds that it is overbroad, unreasonable, unduly burdensome, and seeks information not

relevant to the claims or defenses of any party.


REQUEST FOR PRODUCTION NO. 21:

        Please produce all telephone logs or records that YOU have, or have obtained from the
companies that provided service, for the month of April 2010 that relate to any
COMMUNICATIONS devices used by any of YOUR EMPLOYEE on the DEEP WATER
HORIZON to communicate with anyone on shore (wireless phone, satellite phone, Blackberries,
or any similar devices).

RESPONSE TO REQUEST FOR PRODUCTION NO. 21:

       Subject to their specific and general objections, the BP Parties will conduct a search of

non-privileged documents for communications made to or from the Deepwater Horizon from


                                                   39
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 158 of 178




April 1, 2010 to April 20, 2010, and will produce responsive documents identified as a result of

that search. Further, the BP Parties refer MOEX to the documents identified in response to

Anadarko Request for Production No. 6.

       To the extent MOEX’s request seeks additional documents, the BP Parties object on the

grounds that it is overbroad, unreasonable, unduly burdensome, and seeks information not

relevant to the claims or defenses of any party.


REQUEST FOR PRODUCTION NO. 22:

        Please produce all DOCUMENTS that are or RELATE TO internal discussions
(including emails) about what YOU would be or would not be telling MOEX OFFSHORE,
MOEX USA or ANADARKO about the drilling process, conditions, changes, progress, or
problems at the MACONDO WELL, prior to May 1, 2010.

RESPONSE TO REQUEST FOR PRODUCTION NO. 22:

       The BP Parties object on the grounds that this request is overbroad, unduly burdensome,

vague, and ambiguous, especially with respect to the phrases “RELATE TO” and “drilling

process.” The BP Parties also object that this request is argumentative especially with respect to

the phrase “what YOU would or would not be telling MOEX OFFSHORE, MOEX USA or

ANADARKO.”


REQUEST FOR PRODUCTION NO. 23:

        Please produce all DOCUMENTS that are or RELATE TO “stop the job” incidents
called for by BP EMPLOYEES or by other workers on MODU rigs used, leased, or contracted
by BP that RELATED TO well kicks, to movement of mud on the rig (either between pits or
overboard).

RESPONSE TO REQUEST FOR PRODUCTION NO. 23:

       The BP Parties object to this request on the grounds that it is vague, ambiguous,

overbroad, and unduly burdensome in that it calls for the production of all documents relating to



                                                   40
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 159 of 178




“stop the job” incidents called for by BP employees or by other workers on MODU rigs used,

leased, or contracted by BP.

          Subject to their specific and general objections, the BP Parties will conduct a search of

non-privileged documents for documents relating to instances in which individuals onboard a rig

exercised their ability to stop the job in connection with simultaneous activities on the rig,

including the movement of mud on the rig, and will produce responsive documents identified as

a result of that search.

          To the extent MOEX’s request seeks additional documents, the BP Parties object on the

grounds that it is overbroad, unreasonable, unduly burdensome, and seeks information not

relevant to the claims or defenses of any party.


REQUEST FOR PRODUCTION NO. 24:

        WITH RESPECT TO YOUR December 8, 2010 response to PLAINTIFFS’ Interrogatory
No. 29, please produce all DOCUMENTS that are or RELATE TO internal discussions
(including emails) YOU had REGARDING “BLOWOUT PREVENTER[s] that did not seal a
well as intended” (whether RELATING TO the Ixtoc I well, the Silvertip well, the AC 901 well,
the WR 543 well, or any other well that had issues with BLOWOUT PREVENTERS).

RESPONSE TO REQUEST FOR PRODUCTION NO. 24:

          The BP Parties object to this request as vague and ambiguous to the extent it references

Plaintiffs’ Interrogatory No. 29, which relates to cementing, not blowout preventers.            For

purposes of this response, the BP Parties infer that this request refers to Plaintiffs’ Interrogatory

No. 30.

          The BP Parties also object to this request as overbroad, unduly burdensome and not likely

to lead to the discovery of admissible evidence to the extent it seeks all correspondence or

documents relating to such correspondence regarding a blowout preventer that failed to seal a

well as intended regardless of whether such incident was related to a blowout that resulted in a


                                                   41
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 160 of 178




loss-of-well-control event. The BP Parties further object to this request because the phrase

“issues with blowout preventers” as used in this request is vague, ambiguous, and undefined, and

could call for many different interpretations.

         Subject to their specific and general objections, the BP Parties will conduct a reasonable

search of non-privileged documents for documents relating to the failure of the blowout

preventer to work as intended for the Ixtoc I exploratory well, the Silvertip well, the AC 901

well, and the WR 543 well, and will produce documents as a result of that search. BP, however,

notes that it was not the operator for any of these wells.

         To the extent MOEX’s request seeks additional documents, the BP Parties object on the

grounds that it is overbroad, unreasonable, unduly burdensome, and seeks information not

relevant to the claims or defenses of any party.


REQUEST FOR PRODUCTION NO. 25:

        Please produce all DOCUMENTS that RELATE TO other DEEPWATER WELLS
drilled by YOU in the last 10 years in which YOU displaced to seawater before locking down the
hanger.

RESPONSE TO REQUEST FOR PRODUCTION NO. 25:

         The BP Parties object to this request on the grounds that it is overbroad to the extent that

it purports to call for the production of information from worldwide operations for the last ten

years.

         Subject to their specific and general objections, the BP Parties will produce temporary

abandonment procedures which BP has previously produced to the National Commission on the

BP Deepwater Horizon Oil Spill and Offshore Drilling, namely those temporary abandonment

procedures filed with the Bureau of Ocean Energy Management, Regulation and Enforcement




                                                   42
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 161 of 178




(BOEM) from 2005 through 2010 for deepwater wells in the Gulf of Mexico (BP-HZN-OSC-

00005668 through BP-HZN-OSC-00006249).

         To the extent MOEX’s request seeks additional documents, the BP Parties object on the

grounds that it is overbroad, unreasonable, unduly burdensome, and seeks information not

relevant to the claims or defenses of any party.


REQUEST FOR PRODUCTION NO. 26:

     Please produce all DOCUMENTS that are or RELATE TO approval YOU obtained from
MMS to displace to seawater and set a cement plug at about 8367 feet (+/-3300’ BML) WITH
RESPECT TO the MACONDO WELL.

RESPONSE TO REQUEST FOR PRODUCTION NO. 26:

         Subject to their specific and general objections, the BP Parties will produce their

temporary abandonment application to the MMS and the approval from the MMS thereof.

         To the extent MOEX’s request seeks additional documents, the BP Parties object on the

grounds that it is overbroad, unreasonable, unduly burdensome, and seeks information not

relevant to the claims or defenses of any party.


REQUEST FOR PRODUCTION NO. 27:

        Please produce all DOCUMENTS that are or RELATE TO requests YOU have made to
MMS to displace to seawater and set a cement plug at +/-3300 feet BML WITH RESPECT TO
any DEEPWATER WELL YOU have drilled other than the MACONDO WELL, including but
not limited to any denials of such requests.

RESPONSE TO REQUEST FOR PRODUCTION NO. 27:

         The BP Parties object to this request on the grounds that it is overbroad to the extent that

it purports to call for the production of information from worldwide operations for the last ten

years.




                                                   43
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 162 of 178




       Subject to their specific and general objections, the BP Parties will produce temporary

abandonment procedures which BP has previously produced to the National Commission on the

Deepwater Horizon Oil Spill and Offshore Drilling, namely those temporary abandonment

procedures filed with the Bureau of Ocean Energy Management, Regulation and Enforcement

(BOEM) from 2005 through 2010 for deepwater wells in the Gulf of Mexico (BP-HZN-OSC-

00005668 through BP-HZN-OSC-00006249).

       To the extent MOEX’s request seeks additional documents, the BP Parties object on the

grounds that it is overbroad, unreasonable, unduly burdensome, and seeks information not

relevant to the claims or defenses of any party.


REQUEST FOR PRODUCTION NO. 28:

       Please produce all DOCUMENTS pertaining to who has authority on YOUR MODU
operations to deviate from YOUR written drilling plans or procedures.

RESPONSE TO REQUEST FOR PRODUCTION NO. 28:

       The BP Parties object to this request on the grounds that MOEX’s use of the terms

“authority,” “deviate” and “written drilling plans or procedures” is vague, ambiguous and

undefined as no particular drilling plan or procedure is identified in the request and on the

grounds that the request is overbroad and unduly burdensome to the extent it could be read to

include the documents generated or maintained by, one or more third parties, such as the

Transocean Defendants, the owner and operator of the Deepwater Horizon.

       Subject to their specific and general objections, the BP Parties will conduct a reasonable

search of non-privileged documents for documents setting forth guidelines, processes and/or

procedures relating to Memorandum of Change “MOC” and/or dispensation protocols that apply

to MODU drilling operations in the Gulf of Mexico, and will produce responsive documents

identified as a result of that search. The BP Parties will also conduct a reasonable search of non-

                                                   44
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 163 of 178




privileged documents for documents maintained through an electronic MOC system known as

BizFlow reflecting any BP approved significant change(s) from one or more of the BP Parties’

standard procedures or established plans generated on or for the Deepwater Horizon or the

Macondo well related to drilling operations at the Macondo well, and will produce responsive

documents identified as a result of that search.

       To the extent MOEX’s request seeks additional documents, the BP Parties object on the

grounds that it is overbroad, unreasonable, unduly burdensome, and seeks information not

relevant to the claims or defenses of any party.


REQUEST FOR PRODUCTION NO. 29:

        Please produce any and all interview notes reflecting statements by Mark Hafle following
the INCIDENT, including but not limited to interviews conducted by or on behalf of the BP
investigation team.

RESPONSE TO REQUEST FOR PRODUCTION NO. 29:

       The BP Parties object to this request to the extent it seeks documents protected by the

Attorney-Client privilege or Work Product doctrine. The BP Parties further object to the extent

this request seeks documents not in the BP Parties’ possession, custody, or control.

       Subject to their specific and general objections, the BP Parties will conduct a search of

non-privileged documents for notes of interviews of Mr. Mark Hafle, and will produce

responsive documents identified as a result of that search.

       To the extent MOEX’s request seeks additional documents, the BP Parties object on the

grounds that it is overbroad, unreasonable, unduly burdensome, and seeks information not

relevant to the claims or defenses of any party.




                                                   45
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 164 of 178




REQUEST FOR PRODUCTION NO. 30:

        To the extent not previously produced, please produce any DOCUMENTS RELATING
TO any activities at or affecting the MACONDO WELL, including but not limited to, any
investigations; observations; instructions; assessments; development of protocols, procedures, or
“lessons learned” analyses; audits; self-evaluations; summaries of activities, logs, and guidance
documents.

RESPONSE TO REQUEST FOR PRODUCTION NO. 30:

       The BP Parties object to this request to the extent it seeks documents protected by the

attorney-client privilege or work-product doctrine. The BP Parties further object to this request

as overly broad, unduly burdensome, and lacking particularity in that it calls for the production

of all documents relating to any “activities” at or affecting the Macondo well without any

reasonable limitation, and regardless of whether conducted by the BP Parties. The BP Parties

further object to this request as lacking particularity to the extent it calls for the BP Parties to

make a determination that a particular activity has “affected” the Macondo well.

       Subject to their specific and general objections, the BP Parties have previously produced

their September 8, 2010 Accident Investigation report and related materials at Bates ranges BP-

HZN-MBI00172348 through BP-HZN-MBI 00172394.

       To the extent MOEX’s request seeks additional documents, the BP Parties object on the

grounds that it is overbroad, unreasonable, unduly burdensome, and seeks information not

relevant to the claims or defenses of any party.


                                   GENERAL OBJECTIONS

       The BP Parties assert the following objections to each and every one of MOEX’s

interrogatories and requests for production including any definitions or instructions associated

therewith (collectively, “MOEX’s Discovery Requests”).             These general objections are




                                                   46
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 165 of 178




incorporated by reference into each specific response set forth by the BP Parties and are neither

waived nor limited by any specific responses.

       1.      The BP Parties object to MOEX’s Discovery Requests to the extent they call for

information, seek discovery, or attempt to impose any obligations beyond that permitted or

authorized by the Federal Rules of Civil Procedure or the Rules and Orders of this Court.

       2.      The BP Parties object to MOEX’s Discovery Requests to the extent they call for

the production of ESI in any manner other than required under Federal Rule of Civil Procedure

34, the Rules and Orders of the Court, and ongoing negotiations and discussions among counsel.

       3.      The BP Parties object to MOEX’s Discovery Requests to the extent they seek

information or documents protected by the attorney-client privilege, the work-product doctrine,

the joint defense or common interest privilege, or any other applicable privilege, exemption, or

immunity.    The BP Parties will identify specific documents withheld on these grounds in

accordance with the schedule set forth in, and provide the information required by, the Court’s

Pretrial Order #14, and such further Orders of the Court and ongoing negotiations and

discussions among counsel. The BP Parties incorporate their forthcoming privilege logs and all

related information into this general objection to the extent necessary to preserve against any

waiver of any applicable privilege or immunity from discovery.

       4.      The BP Parties object to MOEX’s Discovery Requests to the extent they seek

information or documents relating to the settlement or potential settlement of disputes on the

grounds that such information is not relevant to any party’s claim or defense, is not admissible at

trial and not reasonably calculated to lead to the discovery of admissible evidence, is protected

from disclosure and dissemination under Federal Rule of Evidence 408, and that discovery of




                                                47
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 166 of 178




such information would be prejudicial to the efforts of the BP Parties and any opposing parties to

resolve their disputes in a fair and efficient manner.

       5.      The BP Parties object to MOEX’s Discovery Requests to the extent they call for

information or documents not within the BP Parties’ possession, custody, or control.           All

responses are made on behalf of the BP Parties only, are limited to information and documents

within the BP Parties’ possession, custody, or control.

       6.      The BP Parties object to MOEX’s Discovery Requests to the extent they are

unduly burdensome, duplicative, premature, oppressive, and/or overbroad, including, without

limitation, as to subject matter and/or time period, and where compliance with specific requests

would be unreasonably difficult as well as prohibitively expensive or time-consuming.

       7.      The BP Parties object to MOEX’s Discovery Requests to the extent they are not

limited to information or documents relevant to any party’s claim or defense, or to the extent

they seek discovery of information or documents not admissible at trial and not reasonably

calculated to lead to the discovery of admissible evidence, including, but not limited to, requests

seeking information or documents concerning other incidents, accidents, or other events at BP

facilities or locations other than the Macondo well or that are otherwise unrelated to the

Deepwater Horizon.

       8.      The BP Parties object to MOEX’s Discovery Requests to the extent they seek the

disclosure of information or documents that contain or constitute trade secrets, proprietary

information, or other confidential business information without appropriate restrictions on

disclosure and dissemination that are embodied in a protective order entered by the Court.

       9.      The BP Parties object to MOEX’s Discovery Requests to the extent they seek the

disclosure of information or documents that would violate the rights of privacy of third parties,



                                                 48
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 167 of 178




or any similar judicially recognized protection or privilege, including, but not limited to,

restrictions imposed in connection with proceedings before the MBI, and the protections of the

Health Insurance Portability and Accountability Act (“HIPAA”), or that would result in

disclosure of any confidential information or conduct without appropriate restrictions on

disclosure and dissemination that are embodied in a protective order entered by the Court.

        10.    The BP Parties object to the requests to the extent they seek documents already in

the possession of MOEX or equally available to MOEX from sources other than the BP Parties,

including publicly available sources.

        11.    The BP Parties object to MOEX’s “Definitions” to the extent they seek to impose

any meaning or interpretation onto the requests other than that evident from the plain and

ordinary meaning of the words used therein. The BP Parties further object to, and will read and

respond to, MOEX’s “Definitions” (labeled to correspond to MOEX’s list) as follows:

               (i)    MOEX’s definition of “Deepwater Horizon” is vague and overbroad; it

includes any equipment used in connection with the exploration for or production of oil. The BP

Parties will read and respond to MOEX’s requests with the understanding that the term

“Deepwater Horizon” means the vessel of that name and that, unless expressly otherwise

specified, concerns the operation of the Deepwater Horizon in connection with the Macondo

well.

               (j)    MOEX’s definition of “Macondo well” is vague and overbroad; it includes

a broad geographic area and is not limited to any well, much less the well at issue in this

litigation. The BP Parties will read and respond to MOEX’s requests with the understanding that

the term “Macondo well” means the MC 252 #1 Macondo well.

               (k)    MOEX’S definition of “Deepwater Well” is unobjectionable.



                                               49
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 168 of 178




               (l)      MOEX’s definition of “incident” is overly narrow; it is limited to the

explosion that occurred on the Deepwater Horizon. The BP Parties will read and respond to

MOEX’s requests with the understanding that the term “Incident” means the loss of control of

the Macondo well and the explosions and fire aboard, and resulting sinking of, the Deepwater

Horizon.

                (m)     MOEX’s definitions of “BOP” and “blowout preventer” is vague and

overbroad; they include any equipment used to control any well The BP Parties will read and

respond to MOEX’s requests with the understanding that the terms “BOP” and “blowout

preventer” means a blowout preventer like the one in use at the Macondo well at the time of the

incident.

               (n)       MOEX’s definition of “Deepwater Horizon Blowout Preventer” is

unobjectionable.

                (o)     MOEX’s definitions of “you,” “your,” and “BP” are extremely vague and

overbroad; they include a vast array of entities that have had no involvement whatsoever in the

events giving rise to this litigation, and confusingly and improperly sweep in hundreds of

thousands of individuals as opposed to the corporate entities that have been named as defendants

in this litigation.   The BP Parties will read and respond to MOEX’s requests with the

understanding that the terms you,” “your,” and “BP” mean one or more of the BP Parties, as the

context requires.

               (p, q, r, s, t, u)    MOEX’s      definitions   of   “Anadarko,”   “Transocean,”

“Cameron,” “MOEX Offshore,” “MOEX USA,” and “Halliburton,” are similarly vague,

overbroad, and confusing. The BP Parties will read and respond to MOEX’s requests with the

understanding that these terms refer to the respective corporate entities commonly referred to by



                                               50
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 169 of 178




these names that have been named in this litigation and played some role in the events relevant to

this litigation.

                   (v)    MOEX’s definition of “Plaintiffs” is unobjectionable.

                   (w)    MOEX’s definition of “person” is vague and overbroad; it includes any

number of things that are not people in any sense of the word. The BP Parties will read and

respond to MOEX’s requests with the understanding that the term “person” means a person.

                   (x)    MOEX’s definition of “employee” is vague and overbroad; it includes any

number of persons who were or are not employees. The BP Parties will read and respond to

MOEX’s requests with the understanding that the term “employee” means an employee.

                   (y)    MOEX’s definition of “communication” is vague and overbroad; it

includes practically everything written or said by any person, regardless of whether it was

actually communicated in any meaningful sense. The BP Parties will read and respond to

MOEX’s requests with the understanding that the term “communication” means talking to

someone or sending them a message of some sort.

                   (z)    MOEX’s definition of “meeting” is vague and overbroad; it includes any

number of things that no person would reasonably conclude constitute a meeting, such as a

casual greeting exchanged in a hallway, sending an e-mail, or posting a message on a bulletin

board. The BP Parties will read and respond to MOEX’s requests with the understanding that

the term “meeting” refers to a gathering of two or more people. It does not include electronic

communications unless specified.

                   (aa)   MOEX’s definition of “document” is improper to the extent it includes

items outside the scope of Federal Rule of Civil Procedures 34(a)(1)(A). The BP Parties will




                                                  51
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 170 of 178




read and respond to MOEX’s requests with the understanding that the term “document” means

the items listed in Federal Rule of Civil Procedure 34(a)(1)(A).

               (bb)   MOEX’s definition of “electronically stored information” or “ESI” is

improper to the extent it includes items outside the scope of Federal Rule of Civil Procedures

34(a)(1)(A). The BP Parties will read and respond to MOEX’s requests with the understanding

that the term “electronically stored information” or “ESI” means the electronically stored

information listed in Federal Rule of Civil Procedure 34(a)(1)(A).

               (cc)   MOEX’s definition of “computer” is vague and overbroad; it includes

every device that processes or stores information, including any number of things that no person

would reasonably conclude constitute a computer, such as a clock, voice recorder, camera, or cell

phone. The BP Parties will read and respond to MOEX’s requests with the understanding that

the term “computer” means a mainframe, desktop, laptop, or tablet computer.

               (dd)   MOEX’s definition of “control” is improper to the extent it seeks to

impose any obligation on the BP Parties beyond that imposed under Federal Rule of Civil

Procedure 34(a)(1).    The BP Parties will read and respond to MOEX’s requests with the

understanding that the term “control” means “possession, custody, or control” as used in Federal

Rule of Civil Procedure 34(a)(1).

               (ee)   MOEX’s definitions of “relating to,” “related to,” “regarding,”

“concerning,” and “with respect to,” are vague and overbroad; they render these and innumerable

other words void of any independent meaning. The BP Parties will read and respond to MOEX’s

requests with the understanding that these terms have their plain and ordinary meaning in

standard English usage.




                                                52
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 171 of 178




               (ff, gg, hh)   MOEX’s definition of “identify” is overbroad; it includes a request

for detailed information far beyond whatever may be reasonably necessary to distinguish one

individual, one document, or any ESI, from any other. The BP Parties will read and respond to

MOEX’s requests with the understanding that the term “identify” means, in the context of an

individual, an individual’s name, and where the context reasonably requires, his or her employer

and title, and in the context of a document or ESI, a Bates number or other available information

necessary to isolate the document or ESI.

               (ii)    MOEX’s definition of “describe” is overbroad; it includes a request for

detailed information far beyond whatever may be reasonably necessary to accurately give a

description. The BP Parties will read and respond to MOEX’s requests with the understanding

that the term “describe” means to provide a concise description reasonably calculated to allow

the identification of a thing or its characteristics relevant for purposes of this litigation as the

context requires.

               (jj)    MOEX’s definition of “state” is overbroad; it includes a request for

detailed information far beyond whatever may be reasonably necessary to accurately make a

statement. The BP Parties will read and respond to MOEX’s requests with the understanding

that the term “state” means to truthfully and accurately provide MOEX with knowledge or

information.

               (kk)    MOEX’s definitions of “basis,” “bases,” “sources,” “sources of

knowledge,” “sources of information,” or “source(s) of information or belief” are overbroad; it

includes a request for detailed information far beyond whatever may be reasonably necessary to

accurately identify the source or basis of a statement. The BP Parties will read and respond to

MOEX’s requests with the understanding that the terms “basis,” “bases,” “sources,” “sources of



                                                53
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 172 of 178




knowledge,” “sources of information,” or “source(s) of information or belief” mean to identify,

when possible and appropriate, the person(s) with direct knowledge about the provided

information and the identity of a corresponding document.

               (ll)   MOEX’s definitions of “and” and “or” is vague, overbroad, and

confusing; they render the words equivalent and therefore deprive them of independent meaning

and inconsistent with standard English usage. The BP Parties will read and respond to MOEX’s

requests with the understanding that the term “and” means and, and the term “or” means or.

               (mm) MOEX’s definition of “any” is vague, overbroad, and confusing; it renders

the word unnecessarily ambiguous and necessarily converts many of MOEX’s requests into

nonsensical requests for duplicative information. The BP Parties will read and respond to

MOEX’s requests with the understanding that the term “any” means any.

               (nn)   MOEX’s definition of “including” is unobjectionable.

               (oo)   MOEX’s definitions of “each” and “every” is vague, overbroad, and

confusing; they render the words equivalent and therefore deprive them of independent meaning

and inconsistent with standard English usage. The BP Parties will read and respond to MOEX’s

requests with the understanding that the term “each” means each and the term “every” means

every.

               (pp)   MOEX’s instruction to treat all nouns and pronouns as plural nouns and

pronouns is vague, overbroad, and confusing; it renders many of MOEX’s requests unnecessarily

nonsensical, contorted, and duplicative. The BP Parties will read and respond to MOEX’s

requests as written, not as imagined to give the “broadest possible application.”

               (qq)   MOEX’s instruction to treat all verbs as possessing all possible tenses is

vague, overbroad, and confusing; it renders many of MOEX’s requests unnecessarily



                                                54
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 173 of 178




nonsensical, contorted, and duplicative. The BP Parties will read and respond to MOEX’s

requests as written, not as imagined to give the “broadest possible application.”

               (rr)    MOEX’s instruction to treat all terms of a specific gender as referring to

all genders is vague, overbroad, and confusing; it renders many of MOEX’s requests

unnecessarily nonsensical, contorted, and duplicative. The BP Parties will read and respond to

MOEX’s requests as written, not as imagined to give the “broadest possible application.”

               (ss)    MOEX’s instruction to treat all terms as if they encompass all

grammatical variations of the term is vague, overbroad, and confusing; it renders many of

MOEX’s requests unnecessarily nonsensical, contorted, and duplicative. The BP Parties will

read and respond to MOEX’s requests as written, not as imagined under instructions to set aside

standard English usage.

       12.     These responses are made without waiving, in any manner, the BP Parties’ right

to object to the use of any information or documents provided in response to these requests at

any trial or evidentiary hearing on grounds of privilege, relevance, materiality, authenticity,

hearsay, or any other ground permitted by any applicable law or rule.

       13.     To the extent the BP Parties state they will produce documents in response to the

requests, the BP Parties will produce such documents on a rolling basis with such reasonable

speed as the BP Parties can locate and process them, without sacrificing a meaningful review for

responsiveness, privilege, and confidentiality, as this is the only feasible and physically possible

method given the scope and breadth of the requests.

       14.     To the extent that the BP Parties respond that they will search for and produce

responsive documents, the BP Parties are only undertaking to make a good faith effort to conduct

a reasonable search of non-privileged documents of the files and records of those individuals



                                                55
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 174 of 178




likely to have meaningful information responsive to a requests as maintained in the ordinary

course of business, and/or to apply a reasonable set of search terms to similar available

collections of ESI as maintained in the ordinary course of business reasonably likely to yield a

meaningful amount of information responsive to a request. The BP Parties are not offering or

promising to search for and produce every document or piece of information that may exist in the

possession, custody, or control of any of their tens of thousands of employees and agents where

any such items are not included within the results of a reasonable search as described above.

       15.     The BP Parties object to MOEX’s requests to the extent that they are not limited

to a reasonable time period as unreasonable, overbroad, and calling for the production of

documents with little or no relevance to this litigation or any respect for the practicalities of

resolving it. The BP Parties will read and respond to MOEX’s requests with the understanding

that the term “relevant time period” means January 1, 2009 through April 20, 2010, unless: (i)

the request clearly seeks specific, available, relevant information that pre-dates January 1, 2009

(e.g., rig audits of the Deepwater Horizon); and (ii) the request clearly seeks relevant information

or documents that post-date the incident, in which case and to which extent, the time period is, or

includes as the context requires, April 20, 2010 through November 8, 2010, or November 30,

2010, with regard to certain requests seeking information related to environmental issues. In

addition, when used in reference to the operation of the Deepwater Horizon, the Transocean

Marianas, the blowout preventer, or any other equipment that was used in connection with work

that did not involve the Macondo Well, the BP Parties will read and respond to MOEX’s

requests with the understanding that the term “relevant time period” means the period of time

during which the rig or equipment referred to was used at the site of the Macondo Well, prior to

and including April 20, 2010 as stated above. Notwithstanding the above, however, the BP



                                                56
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 175 of 178




Parties have responded to MOEX’s requests that seek specific, relevant, identifiable documents

generated prior to the time frames set forth above, but in no event will the BP Parties undertake

to search for or produce documents generated prior to January 1, 2006.

       16.     The BP Parties’ decision, now or in the future, to provide information or

documents notwithstanding the objectionable nature of any of the definitions or instructions, or

the document requests themselves, should not be construed as: (a) a stipulation that the material

is relevant or admissible, (b) a waiver of the BP Parties’ general objections or the objections

asserted in response to specific requests, or (c) an agreement that requests for similar information

will be treated in a similar manner.

       17.     The BP Parties reserve the right to modify, amend, or supplement their responses,

which are made based on the current status of their knowledge, understanding, belief, and

searches for documents. The investigation of facts and information relating to these requests is

continuing, and, therefore, these responses are not intended as an admission or a representation

that additional information or documents do not exist.




                                                57
Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 176 of 178
Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 177 of 178




Dated: February 22, 2011         Respectfully submitted,

                                 AS TO RESPONSES TO INTERROGATORIES

                                 By: /s/ Bill Kirton___________________
                                 BP America Inc.
                                 501 Westlake Park Blvd.
                                 Houston, Texas 77079

                                 BP America Inc., BP America Production
                                 Company, and BP Exploration & Production Inc.

                                 AS TO OBJECTIONS AND TO RESPONSES
                                 TO REQUESTS FOR DOCUMENTS

                                 By: /s/ J. Andrew Langan, P.C.
                                 Richard C. Godfrey, P.C.
                                 J. Andrew Langan, P.C.
                                 Wendy Bloom, P.C.
                                 Timothy A. Duffy, P.C.
                                 Kirkland & Ellis LLP
                                 300 North LaSalle Street
                                 Chicago, IL 60654
                                 312-862-2000 (Tel)
                                 312-862-2200 (Fax)

                                 and

                                 Don K. Haycraft (Bar #14361)
                                 R. Keith Jarrett (Bar #16984)
                                 LISKOW & LEWIS
                                 701 Poydras Street, Suite 5000
                                 New Orleans, Louisiana 70139-5099
                                 Telephone: (504) 581-7979
                                 Facsimile: (504) 556-4108

                                 and

                                 Robert C. “Mike” Brock
                                 Covington & Burling LLP
                                 1201 Pennsylvania Avenue, NW
                                 Washington, DC 20004-2401
                                 202-662-5985

                                 Attorneys for BP America Inc., BP America
                                 Production Company, BP Exploration &
                                 Production Inc.

                                   59
 Case 2:10-md-02179-CJB-DPC Document 1965-4 Filed 04/15/11 Page 178 of 178




                               CERTIFICATE OF SERVICE

       I hereby certify that the above and foregoing response has been served on All Counsel by

electronically uploading the same to Lexis Nexis File & Serve in accordance with Pretrial Order

No. 12, which will send a notice in accordance with the procedures established in MDL 2179, on

this 22nd day of February, 2011.

                                                     /s/ J. Andrew Langan, P.C.___




                                              60
